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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
CHARLESTON DIVISION
CIVIL ACTION NO. 2:13-cv-4178

KATHERINE JEAN HARTUNG,

Plaintiff,

VS.

REGINALD KENNETH YELVERTON and
ADVANTAGE TANK LINES, LLC d/b/a ATL
LEASING, INC., an Ohio Corporation,

Defendants.

MAY 20, 2014

Oral deposition of SCOTT L. TURNER, taken
pursuant to notice, was held at BEST WESTERN PLUS
MORRISTOWN INN, 270 South Street, Morristown, New
Jersey, commencing at 10:13 a.m. on the above date,
before GINA A. FAROLDI, a Certified Court Reporter
of the State of New Jersey.

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Cc.

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Testimony of: SCOTT L. TURNER
By: Mr. Montgomery 5
By: Ms. Raines 244

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D Transcript excerpts 86
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Original exhibits B through E attached

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SC OT T L. TURNER,
63 Wishing Well Road, Columbia, New Jersey 07832,
sworn, testifies as follows:
BY MR. MONTGOMERY:

Q. Good morning, Mr. Turner. My name is
Tim Montgomery. We were introduced previously.
We're here today to take your deposition as a result
of an expert report that you have filed in the case
of Katherine Hartung versus Advantage Tank Lines,
Inc., Reginald Kenneth Yelverton, which has been
filed in the United States District Court for the
Southern District of West Virginia.

I am assuming you have probably had

your deposition taken prior to today.

A. I have.

Q. How many times, roughly, if you could
estimate?

A. Maybe a dozen?

QO. There are a couple of ground rules

that I would like to go over before we start taking
the deposition. I am sure you probably heard these
before. I think that we need to be consciously
aware of them so that the court reporter can take
down everything we are saying with accuracy and

clarity.

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1 First, I am going to ask that you let

2 me finish asking my questions before you start to

3 answer. We tend to probably get conversational. It

4 is human nature to do so. At the same time, I will

5 try and extend that same courtesy to you and let you

6 finish answering before I start asking. If we start

7 talking over each other, the court reporter is not

8 going to be able to take down what we say.

9 The second thing, I am going to ask
10 that you please keep all of your responses verbal.
11 You cannot nod your head, um-hum, things of that
12 nature. "Yes" and "No" is the appropriate method of
13 answering guestions when there is someone
14 transcribing what we are saying.

15 Third, if you need to take a break at
16 any point in time, just please let me know. This is
17 not a test of your endurance or mind, although from
18 what you were telling me earlier, you shouldn't have
19 an issue with sitting here for an extended period of
20 time. Like I said, if you do need a break, please
21 let me know. I can certainly afford that to you.

22 Mr. Turner, you authored a report in
23 this matter on March 25, 2014. Correct?

24 A. Yes, sir.

25 Q. Did you, at some point in time, also

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1 provide your CV to plaintiff's counsel?
2 A. I did.
3 MR. MONTGOMERY: I am going to go
4 ahead and mark, as Exhibit A, Mr. Turner's CV.
5 (Exhibit A, Curriculum vitae, marked
6 for identification.)
7 Q. Mr. Turner, I am handing you what has

8 been marked as Exhibit A. Is that a copy of your

9 CV?
10 A. It is. It's not the most current.
11 But, it is -- it is, nonetheless, a copy of my CV.
12 Q. Is it possible to get an updated
13 version of that?
14 A. You bet.
15 Q. If you can give that to counsel, she
16 can give it to me. That would be great.
17 A. Yes, Sir.
18 Q. With respect to your background,
19 could you give me the highest level of education
20 that you have achieved?
21 A. Yes, Sir.
22 It was -- I graduated high school.
23 No college education.
24 Q. No college or any graduate school or

25 anything of that matter?

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A. No, Sir.
My -- all my training is relative to
commercial motor vehicles predominantly. Commercial

motor vehicles in one respect or another, whether
safety or, you know, things of that nature.

Q. Let's focus in on that. What
training have you had with respect to commercial
motor vehicles?

A. Well, one of the things that's not on
the current -- it's not on this version of the CV
here is NATMI, which is North American
Transportation Management Institute. I completed
their course on supervisors and also transportation
director for -- under NATMI. Again, North American
Transportation Management Institute.

I've also attended a week long
program by the Institute of Technology & Management,
which is out of Jacksonville, Florida on commercial
motor vehicle crash investigation. They get into
reconstruction aspects and so forth and that.

A plethora of courses through New
Jersey State Police, where actually I've been an
FMCSA trained individual for roadside inspections.
So, I'm trained essentially to the level of when

you're driving down a highway and you see a trooper

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underneath a truck with a creeper inspecting the
brakes and so forth, I'm trained to that level.

Also, that involves post crash, as well on
commercial manufactures.
I'm trained as a -- that's level one

FMCSA, by the way, which is the highest level with
respect to roadside inspections.

Also trained under -- as a hazmat
inspector. Roadside hazmat inspector. So, checking
cargo on trucks for compliance with the PHMSA,
Pipeline and Hazardous Materials Safety
Administration.

Also weights and measures. I've been
trained under the weights and measures master, which
involves with dealing with truck weights, as well as
widths of vehicles -- legal widths and so forth.
Lengths of vehicles.

Been also trained as a cargo tank
truck specialist. Also, I was a 11 year instructor
-- lead instructor with the New Jersey State Police
for cargo tank truck emergency disasters and
response and incidents. So, dealing with any type
of -- with respect to MC 306/DOT 406 cargo tank
trucks, which is petroleum carriers. I also trained

a lot of the aspects of -- which would be similar to

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this type tank truck here. MC 307/D0T 407, which

are chemical carriers. Although this tank truck
that was involved in this incident here, to the best
of my knowledge, was a nonspec cargo tank, which
would not meet any of those requirements. But, you
still, nonetheless, would have slosh and surge
factors and things of that nature that applied to
it. And rollover factors.

University of Findlay advanced
emergency response of cargo tank truck. I've been
trained on that, as well out of Ohio.

University of Medicine & Dentistry
hazardous waste site investigation, which I'm not
gonna talk about the nonrelevant courses.

QO. Let me ask you that.
A. Well, there's one last one, which I

think is important.

QO. Please.
A. Smith System. Smith System driver
training. I'm an instructor in that, as well.

We're training individuals on the Smith System on
proper and safe methodologies of operating
commercial and/or fleet type vehicles.

Q. Out of the training that you just

talked about on the record, can you identify which

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areas that you just discussed were applied in your
investigation of this matter?

A. I think it really is kind of a
combination of all of them for the most part. At
one point in time or another, in the training and/or
being an instructor --

QO. For instance, you talked about
rollover prevention. I don't know that that
necessarily would be applicable to this crash.

A. No. It wouldn't -- it would not be
-~- no. It wouldn't be applicable to the crash.

Not only that, you're dealing with a
material for slosh and surge factors. You're
dealing a material that's very viscus. So, you're
not going to have the slosh or surge factors that
you would have with say like gasoline or something
to that effect. Because it's an elevated
temperature material. Meaning that it's rather
thick, if you will.

Probably, the course that would stand
out most would be Institute of Police Technology &
Management, IPTM. That has a lot to do with it.
Commercial motor vehicle crash inspection
investigation. That has a lot to do with it. So,

FMCSA level one would have a lot to do with it.

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1 Also, one other one would be, not

2 listed on the CV, NATMI training, getting into

3 investigation of crashes -- post crash incidents.

4 Q. You mentioned the IPTM training as

5 being applicable and specific to the opinions you

6 formed in this crash. Correct?

7 A. It would be relative. Yes.

8 QO. When did you go to the IPTM school?

9 Do you remember?
10 A. I would say probably -- I'm gonna
il take a guess and say maybe three, four years ago.
12 This is all, obviously, in addition
13 to the excessive experience -- the considerable
14 experience that I have in dealing with crashes over
15 the 20 plus years.
16 QO. Sure. I think you mentioned earlier
17 that the IPTM school has actually taught you how to
18 do a post crash analysis.
19 A. It was more -- not necessarily -- I'm
20 not going to say not teaching me. But, it's more or
21 less affirming a lot of the things I already knew
22 based on the experience of 20 plus years. A lot of
23 it is just commonsense that now is more or less
24 defined in words in a book, if you will.
25 Q. Did you receive any sort of

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certification for attending the IPTM class?

A. I did.

Q. Do you currently have that
certification?

A. I do.

Q. Do you remember who your instructors
were at the IPTM?

A. They were two fellas from down in
Georgia. Georgia and I think Jacksonville. I can't
place their names. Actually, I went out -- I took

them out to dinner on the last day. We got to know
each other pretty well. But, I don't recall their
names offhand. It's been three or four years now I
guess it's been.

Q. Do you remember who the author of the

materials that were used for the IPTM course were?

A. One of the instructors is one in the
same. He was also the author of the book that we
utilized.

QO. Do you remember what his name was?

A. No. Again, I don't remember the

instructors' names.
Q. Did you ever, at any point in time --
was the name Steve Rickard mentioned? Does that

name ring a bell at all?

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A. I'm -~- not offhand. I don't -- I
don't believe so.

Q. The reason why I ask, I will relay
this to you, he is our -- we are using him as an
expert in this case. I know that he teaches at IPTM
quite extensively and frequently. I know that he
has authored a lot of the materials. I was just
wondering if there was any sort of connection there.

A. Well, IPTM has a lot of instructors.

There's a lot of adjunct instructors that are

involved over there. I just don't -- I don't
recall. I don't believe he was. I don't believe
that he was. You know, I could be mistaken. But,

I'm pretty sure he wasn't.

Q. Maybe not on that particular day. I
can relate to you that he is involved extensively --
University of North Florida IPTM course. Is that
what we are talking about?

A. Yeah. It's a big program. It's
actually considered to be one of the lead programs
in the country.

So, they've got a lot of adjunct
instructors similar to what I have done as an
instructor with the New Jersey State Police. There

was probably about 24 of us that were, you know,

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teaching.
I've trained folks from New York City
fire and hazmat, New York emergency -- ECU -- ECS.

You know. Boston and, you know, Philadelphia and so
forth. So, it's somewhat similar in that regard I
guess.

Q. When you were at IPTM, did they teach
you the principals of say accident reconstruction?

A. Yes. There were -- there was
training issues on that.

QO. At IPTM, were you trained on

perception-reaction time?

A. There was -- it was part of it. I'm
not going to say -- it certainly was not the entire
course. But, to the best of my recollection, that

was part of it.

Q. They taught you about how to apply
perception-reaction to an automobile accident such
as this one?

A. Yes. But, I don't do cars. TIT dontt
get involved with reaction times of cars and stuff.
I get involved with the react -- I shouldn't say
reaction time of cars. But, I don't get involved
with accident reconstruction with car on car.

Strictly it's -- it has to have a commercial motor

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vehicle involved for me to get involved.

QO. Did you actually do a reconstruction
of this accident? A formal reconstruction.

A. I wouldn't call it necessarily a
formal reconstruction. I did a-- I dida
reconstruction as looking at it and breaking it down
into 15 second increments coming in to the -- I
believe it was 15 second increments coming in to the
crash. I don't recall exactly -- well, I -- iff you
look at the electronic tachograph, the electronic
tachograph actually breaks it down into intervals
that I utilized in order to be able make
determinations of where the trucks were at what
point in times and so forth.

Q. When you say "where the trucks were,"
you mean where the truck and the car were or just
the truck?

A. Where the truck was.

QO. Did you take into consideration the

actions of the driver of the motor vehicle at any

point?
A. I did.
MS. RAINES: Objection to form.
A. I did. But, more on a rudimentary

level. I didn't get into the break it down into

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what she was doing. I don't, quite frankly, as
every other expert in this matter, doesn't know if
she had a vehicle to her left-hand side. So, I
couldn't make a determination if she was able to
safely make that left hand -- lane change. So, I
just didn't -- there was no witnesses that came
forward to say that she looked like she was
attempting to make that left-hand lane change. So,

I didn't get into details on that.

Q. Did you read Ms. Hartung's deposition
transcript?

A. I did. It was quite some time ago,
though.

QO. Did you read the section where she

was asked whether there were vehicles to her
left-hand side?

A. Honestly, I don't recall that part.

Q. I am just wondering if -- because you
said that you didn't take that into consideration.
Her testimony was that there weren't any vehicles to
her left-hand side. Is that something that you
would have considered in your report?

MS. RAINES: Object to form. Maybe a

little bit of mischaracterization.

A. Again, I don't -- I don't get

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involved with the car -- the activities of the car.
IT more or less look at it from an FMCSR standpoint,
what the truck did and did not do. So, I did not
break down the car issues, if you will.

Q. We are getting into this well ahead
of where I initially planned to in the deposition.
But now that we are talking about it, is it your
testimony that really your analysis was with respect
to what the truck driver did or didn't do and you
really didn't take into consideration what the
driver of the motor vehicle did or did not do when
formulating your opinion?

MS. RAINES: Objection to form.

A. I think that's pretty well reflected
in my report. I did not get into what Ms. Hartung
did or did not do. My focus was what Mr. Yelverton,
from a commercial motor vehicle operator, did or did
not do.

I did, from a lesser standpoint, make
some degree of consideration about Ms. Hartung.
But, not in depth.

Q. But that consideration that you just
testified about, is that -- where in your report can
you point to where you made that consideration?

A. No. No. In my mind. I'm not saying

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in the report.

Q. So you made that consideration in
your mind. But, you didn't include any
consideration of what Ms. Hartung did or did not do
wrong in your report?

A. That's correct.

Q. Have you been trained in human
factors at all?

A. Human factors, just to the extent
that if they were brought up in training programs.
Were there specific training courses that I took on
human factors? No, sir. I'm not a human factors
expert.

Q. You personally couldn't make any sort
of commentary on Mr. Edwards' report then?

MS. RAINES: Object to the form.

A. Well, there is a -- bringing up Mr.
Edwards' report, I mean, I really couldn't --
there's two issues that I would bring up on Mr.
Edwards' report, one of which is --

QO. I'm asking if you could comment on it

A. On the human factors aspects, no.
But, I do have some comments with respect to Mr.

EFdwards' report.

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Q. Have you also had an opportunity to
review Mr. Richter's report?
A. I did.
Q. I am assuming you also feel that you

have specialized knowledge that would allow you to

comment on that report?

A. Yes, sir.

Q. Have you had any engineering
training?

A. No, sir.

QO. Are you a certified accident

reconstructionist?
A. I don't belong to ACTAR or anything
like that. No, Sir.
THE WITNESS: A-C-T-A-R.
Q. Do you ever act aS an instructor in

any capacity in the field of accident

reconstruction?

A. No, Sir.

QO. Obviously, not in human factors
either?

A. No, sir.

QO. How about truck -- tractor trailer

inspections?

A. I have trained on that. Yes. But,

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am I a -- is -- am I an active instructor in it?
No, Sir.
Q. Do you hold any state licenses in
accident reconstruction or -- IT will quit asking
that.

Do you have any state licenses in
tractor trailer inspections?

A. There is no -- that I'm aware of,
there is no such thing as a state license. You go
through -- it's MCSAP, M-C-S-A-P, which is -- it's
funding that -- funds for instructors -- excuse me.
Not instructors. But, personnel to investigate
and/or inspect commercial motor vehicles roadside.
That gets in to the FMCSA. So, it's a federal level
rather than a state level.

Q. So you are a trained MCSAP
instructor?

A. T'm trained in the FMCSA level one.

OQ. Level one.
Is that -- a MCSAP inspection, FMCSA
level one inspection, that's -- tell me if I am
mischaracterizing it. That is more or less a

mechanical inspection to make sure that the motor

vehicle -- the tractor trailer is compliant with the

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Federal Motor Carrier Safety regulations.
MS. RAINES: Object to form.
A. Yeah. Essentially what it does, it

takes apart 393 and 396 out of the FMCSR and applies
mechanical aspects. But, at the same time, it
teaches you out of service issues. You learn about
out of service. What conditions would make a
commercial motor vehicle considered to be out of
service by the regulations.

So, taking all that into
consideration, you're -- you take that information
and do post crash inspections and be able to make
determinations.

For example, if it was a truck crash
involved with a braking matter and the truck ran in
to the rear end of another truck and there were skid
marks showing that the driver was awake or, you
know, he did try some evasive maneuvers or what have
you, you can then take that commercial motor vehicle
and check the brakes on it to make sure that the
brakes were in compliance and that 20 percent or
greater of these brakes were not out of service.

Out of spec I should say.
Q. You look for things like conspicuity

tape being proper?

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A. Correct.

If it was a rear end on the truck in
front, was there conspicuity markings -—-tape on the
vehicle, itself? Were the lights working on the
vehicle? Was he on the shoulder? Did he have his
four way flashers on, things of that nature. Did he
have his triangles out?

So, it's kind of a combination of a
bunch of different things that bring me to that
conclusion when I'm investigating a crash.

So, it's in part, the FMCSA training,
in part of over a thousand crashes in my career, and
in part, the IPTM training in addition to other
training throughout my years.

OQ. As an FMCSA level one MCSAP
inspector, after a crash happens, your role in that
particular investigation is more or less looking at
the truck in terms of the physical or mechanical
characteristics of what was happening with the truck
at the time of the accident. Is that accurate?

MS. RAINES: Object to form.

A. Yeah. What was happening with the
truck -- also, looking at reaction times of a driver
-~- of a commercial motor vehicle driver and looking

at the 1.5 second reaction time and so forth, you

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know, looking at evidence such as brake -- skid
marks. Skid marks are going to tell me that the
driver wasn't necessarily on his -- dialing his cell

phone, or looking down at a cup of coffee, or
changing his CD player, or something to that effect,
or even fatigue related matters where the driver
fell asleep behind the wheel. If you see no skid
marks, that's going to tell you that the driver, in
all probability -- especially if you look at the
circadian rhythm. That the driver may have fallen
asleep at the wheel at 3:30 in the morning. So,
it's taking a whole combination of these variables
and, you know, kind of coming up with an opinion.
Q. Let's say reaction time that you
mentioned before, that's more from your training at
IPTM in accident reconstruction rather than your

FMCSA level one MCSAP inspector's hat so to speak?

A. It is. But, not to say that in the
FMCSA training, that it wasn't covered. Because it
certainly was covered. It was discussed. Was it

discussed to the extent that it was trained in the
TPTM? No.

In addition -- I mean, not
necessarily is all of my education on certifications

and on my CV. I spent a lot of time, you know,

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studying this stuff and reading this stuff, as well,
through the years. So, self-taught I guess you
might say to a large extent, as well.

Q. Have you ever given testimony in any
case where you have done a full accident
reconstruction with perception-reaction and done the
mathematical calculations that go along with that?

A. When it gets into things like the
mathematical calculations and the crush factors and
so forth, that's not really my area of expertise as
far as reconstruction is concerned. Reaction times
and so forth, yeah. I mean, drag factors, things of
that nature, crash factors I don't get involved
with. But, taking and breaking down the reaction
time, looking at the half second, that lag time for
a commercial motor vehicle air brake system, you
know, incorporating all of that into what occurred
with that commercial motor vehicle before that crash
occurred, yes. I do get involved with that.

But do I get involved to the extent
of the mathematical applications that -- no, I
don't.

QO. In what cases have you testified
where you have given that kind of analysis?

A. Oh. I -- I --

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QO. If you want, I have a list of cases
where you have given testimony in the past. Maybe
that -- if you look at that, it would help --
A. Yeah. It depends on how current that
1S, too
QO. We will mark this as Exhibit B. To

the extent that it is not current, I would

appreciate if you could give a current version to

counsel.
A. sure.
(Exhibit B, Case list, marked for
identification.)
A. Actually, I have some current cases
that I'm, working -- as a matter of fact, one is in

West Virginia right now that I'm dealing with that.
IT have some current cases, unfortunately, right now
that I can't disclose. Let me continue looking at
this list and I'll try to give you a more firm
answer as to what --

Q. Not to be confrontational, but why
wouldn't you be able to disclose any current cases
that you have given testimony in?

A. Without counsel's approval on the
other side, I'm not gonna sit here in deposition and

talk about opinions and --

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Q. An ongoing matter?
A. Right. Exactly.

I'm gonna put a checkmark next to the
ones that I think may be involved with what the
subject matter is. Not a hundred percent certain.
Just going back on my recollection.

QO. Okay.
A. Or I'll maybe highlight it.

Highlight or check? What would you like?

Q. Highlight works just fine.
A. And again, this is going back on
recollection. I'm not a hundred percent certain,

though. I'll send you off on a wild goose chase
now.
Well, here's one here, this Arkady

Frekhtman, F-r-e-k-h-t-m-a-n. There was never a
report generated and it was never actually filed in
the suit because I walked away based on the
findings. I explained to the attorney that you
don't have a case or it's a nonstarter. So, never
filed a case. He walked away from it, as well.

QO. What was the name?

A. Sure. Arkady Frekhtman. That's the
attorney. F-r-e-k-h-t-m-a-n. There was nothing

in-depth. But, I did some analysis on it, to make a

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determination what happened, what the driver did and

so forth. It was a crash and burn on a CMV.
Here's one down in Texas. Terry

McCartney. It was a crash and burn, as well.

Again, there was some degree of -- some degree of

reconstruction that was applied on these, as well.
Q. Just so I am clear, you don't do
reconstructions in cases involving motor vehicles.
You only do them when there is a commercial motor
vehicle involved.
A. Right. That's correct.

Chris Karounos, there was some
reconstruction that was done on that one. That's
K-a-r-o-u-n-o-s. Again, I highlighted that one, as
well.

Q. I want to follow up on that while we
are still on the topic.

Is there a particular reason why you
don't get involved doing reconstructions in cases
involving motor vehicles? Is it because you haven't

been trained in that --

A. No. It's just something that I
prefer not to do. If I'm not real good at
something, I don't do it. I consider myself to be

really good at commercial motor vehicle crashes, and

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investigating the truck, and investigating the
circumstances around the crash, why it happened and
so forth. But, I don't get involved with the
aspects that necessarily are something that I -- if
I don't feel that I'm 110 percent on it, right, if
I'm 99.9 percent on it, I'm not going to do it. I
get asked to do cases quite often in truck related
work that I just won't do because I just don't -- I
don't want to spend my time dealing with something
like that.

Q. But you -- my question is then, you
do know how to apply perception-reaction time to a
motor vehicle crash such as this one?

A. I do.

Q. Is there any reason why you didn't do
that in your analysis in this matter?

A, Again, I was -- my focus was on the
commercial motor vehicle. You know. All my
information shows I'm a commercial motor vehicle
expert. So, I'm looking at more from a regulatory
standpoint, what the truck did or did not do. And
now if I felt that Ms. Hartung was -- was the lead
cause on the crash, then I certainly would have
added it into there. JI would have at least put some

kind of footnote in there, if you will. But, you

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know, I didn't feel as though she was. My focus was
on the truck and Mr. Yelverton's actions.
OQ. T understand that. But, there were

two vehicles involved in the crash.

A. I understand.

QO. Ms. Hartung rear-ended Mr.
Yelverton's vehicle. Is that not how this crash
happened?

A. Mr. ->

Q. Answer my question.

A. Well, I deserve the right to go --

other than just a yes or no.
MS. RAINES: Objection.

QO. Did Ms. Hartung's vehicle strike the
rear of Mr. Yelverton's tractor trailer?

A. Well, of course she did.

Q. But you didn't take any consideration
-- you didn't take into consideration whether she
could have avoided the accident by looking ahead?

A. I'm not saying that there may have
been opportunity for her to cut left to get around

that crash. All right? I don't know that fora

fact. I was not in the vehicle. I don't know her
actual speed. You know. I know she testified I
believe to 65 miles per hour. So, I -- I just

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didn't opine on that. I based my information on
facts that I have and the facts that I have is she
slammed into essentially a parked -- for all intents
and purposes, a parked tractor trailer on the
interstate highway. You know? And there were no --
there was no attempt to get to the shoulder. There
was -~- you know, as far as four-ways are concerned,
four-way hazard lights, I don't believe that Mr.
Yelverton put the four-ways on. You know.

As far as his distraction that he had
on his cell phone --

Q. We read your report. We'll talk
about the report.
A. Right. Okay.

Let me keep going through these
here -- these list of past cases here.

I believe I did on this one, Paul
Zerola too. I did or I'm -- I'm putting a question
mark next to that one.

I also put a question mark next to
Karounos and Laskin.

And again, you'll notice under
Frekhtman, that the case was never filed. I just --
I did that in an attempt to understand exactly what

had occurred on that crash.

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Q. What happened on that crash that you
were talking about that you walked away from?

A. Oh. I probably turned down --
there's -- that's just an example. I probably
turned down 25 percent of work that calls in to my
office that I just don't -- 'cause I just don't feel

like dealing with it. It's a case that I don't want

to deal with. I get called on railroad incidents
just choose not to do it. I'm very well experienced
in railroad crashes. I've handled some of the most

notorious crashes in current history around the
country. Handled from a management standpoint
on-site. You know. I can do jet crashes. But, do
I choose to do jet crashes? It would have to depend
on the circumstances of the crash, itself.

QO. Do you ever choose not to handle a
case because someone's come to you and said hey,
give me your opinion on this and say they represent
a particular party and you say, I can't find fault
with the other party?

A. Oh. Absolutely. Matter-of-fact,
that was the one that I gave you earlier, is Arkady
Frekhtman. I refused to handle that case because of
the simple fact that it was a case that I just felt

that it was a loser. I only sign on to the side

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that I think is right.

Q. Has an attorney ever come to you in a
rear-end collision and you said that I can't handle
this case because I can't find fault with the --
with your driver?

A. Repeat that again, please?

Q. Has an attorney ever come to you ina

rear-end accident where you have turned down the

case because you couldn't find fault with the other

party?

A. I really don't -- IT don't recall, to
be honest with you. I mean, I don't make notes in
the cases that I turn down. I mean, you know, if

I'm handling 40 cases a year, that means I'm turning

down 10 to 12, maybe 15 -- well, more than that.
Yeah. 10 to 12 cases a year. So, I don't remember
back -- you know, in recollection looking back three

years ago that I had a conversation with, you Know,
a specific attorney and, you know, he wanted me to
handle a rear-end crash. TI just don't -- I don't
recall.
Let me finish on this real quick here
so I can get my thoughts out.
Q. Sure. I am making you multitask

right now.

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A. I know where that's going.
I think that might be about it.
There may be some others in here. Again, it's just
not coming to my recollection.
There -- yeah. That's about it. I

highlighted them and I put some question marks next
to the ones that may or may not have been. But,
there was, I believe, perception and reaction issues
in those particular highlighted cases.

Q. Let me ask you this.

As far as this list 1s concerned,
have you ever -- are any of these cases rear-end
accidents where you found fault with the striking
vehicle? Have you ever given testimony or written a
report in a case like that?

A. I don't -- I just don't recall. TI
mean, I don't, offhand, recall. I mean, I certainly
could get back to you on that. But, I just don't
recall. Not back to you. But, back to Ms. Raines.

QO. Let me look through some of these
brief case descriptions here. Not that I am saying
you are being evasive or anything like that. It
might refresh your memory. I remember Looking
through here, I saw some. For instance, "Rizzuto

versus Coastal. Car driver rear-ended into 306."

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It's 2/28/12.
A. Can I see that one?
QO. Sure.
A. Okay. Yeah. This matter here may

still be open. I haven't heard anything from the --

actually, I believe it's still open. It was a car
that ran into a truck on the roadside. It was --
there was ice on the road. [It was coming down a

hill. And the driver panicked on the hill because

there was ice -—- there was snow -- it was a slippery
condition.

Q. Which driver?

A. The truck driver. He panicked on the

road and he stopped his truck in the middle of the
road.
And I was on the plaintiff's side,
the side with the car that came up and rear-ended.
Now, I do not -- no. There was a

report on that one actually. Again, that's Soltis.

S-o-l-t-i-s. I don't know if there was
perception-reaction put into there. But, that was a
rear-end on a -- it was an MC 306 gasoline cargo

tank truck in Upstate, New York.
QO. "PAK-AM Transit, Inc. and Akinwole

Foster. Car into tractor trailer on I-87." Do you

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remember the details of that accident?

A. Can you show me that one, please?

Q. Yes. That is Michelle Laskin, the
attorney.

A. Yeah. That's why I highlighted that
one.

Yeah. If I remember correctly, this
was a -- again, it was a snowy condition. The
driver should have taken his vehicle off the
roadway. And I believe he -—- he jackknifed going
down a mountain. I believe he applied his Jake
brake, which is a no-no with commercial motor
vehicles on icy roads or wet conditions. And I
believe that the car came in to the side of his
commercial motor vehicle.

And I was also plaintiff on that
case, too.

Q. How about "Nancy Nolan Rosado, et al.
Four time fatal New Jersey Turnpike"? You testified
for the defense in that matter. Do you remember how
that accident occurred?

A. Yeah. My opinions on that matter
were strictly with respect to the load securement,
part 393.100. Under the FMCSR. And dealing with

load securement of the truck. The truck had rolled

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over and the freight came off the truck and there
was five people killed on that one. So, I -- that
was a -- that was a -- that was more of a load

securement matter than anything else.

Q. "Tractor trailer wheels off truck,
struck car." Those are always interesting.
A. Oh. They're fun. Nine times out of

ten, the same things over and over again.

I'm not gonna say what it is because
that will come up in a later point.

QO. How about this 12/6/2012? "Crizaldo,
plaintiff Larry Wilson. Burdick versus Lambland."
It says you testified for the defense in that case.
Do you remember the details of that accident?

A. You know, that one is completely
drawing a blank.

QO. "Teeter, Michael" --

A. Oh. Crizaldo. I'm sorry.

That one there is drawing a complete
blank. I don't -- I just don't -- honestly do not
remember what that was. I don't recall.

My guess is that it probably may not
have gone forward because I just don't remember
authoring a report on this. A report, I would like

-- very likely remember. And I just do not recall

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authoring a report. Oh. You know what? That's
right. I didn't. I want to say that this was in
Arizona. I'm not a hundred percent certain. But, I
—- this one here, it was what I call a nonstarter.
Nonstarter meaning, you know, I'm not gonna work

this matter because I can't help you.

Q. What were the details of that crash?

A. I just -- it --

QO. Was it a rear-end accident?

A. I don't believe so. I -- I just
don't recall. I just don't -- I really just don't
recall.

QO. I am going to mark that one with a

star just for my edification.
A. sure.

QO. How about this November 22, 2012 case
for "Roger Turk, Rodriguez versus Coca-Cola"? It
says "Coca-Cola into car at intersection."

A. Yeah. He was -- if I remember

correctly, the truck was making a left-hand turn.

He was -- I believe the truck was -- the truck was
making a left-hand turn and the car had -- I believe
the car collided in to it. I just don't remember

the details on it, though. I try to keep all my

memory bank space that's available for current cases

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and get rid of the junk.
QO. What I am really trying to get at
here -- it's relevant.
A. I understand.
Q. -~- if you've handled a case where you

have given an opinion for a plaintiff that was rear-
ended.
A. sure.

Q. Because obviously, that's very

Similar to the case we have here.
A. sure.

QO. I am thinking that there is a good
likelihood that at some point in time, you may have.
I am just trying to go through what I have in front
of me just to potentially explore all of --

A. I completely understand.

Q. -~- the potential cases that at least
I know about.

How about 1/31/2013? Robert Mixson
was the attorney. You have "Tractor crash defense."
Do you remember the details of that case?

A. Yeah. It was a tractor trailer -- it
was a tractor trailer involved with a car or a
U-Haul if I remember correctly. You know. It was a

tractor trailer involved with a U-Haul. The detaiis

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on it, I never -- I don't recall the specific
breakdown of that case, though.

QO. How about the next one here,

"4/15/2013, Mark L. Levinson"? You have "Carrington
versus Truck-Rite." That is a "Truck versus bus."
You testified for the defense in that case. Do you
remember the details of that accident?

A. No. Unfortunately, I don't.

Q. Looking at this list of cases in
which you have listed for us as far as your
testimony or issued a report, you do testify for the
defense sometimes. Would it be safe to say that the
majority of your work is plaintiffs' oriented?

MS. RAINES: Object to the form.

A. No. Actually, it used to be. As
you're looking at the -- my list there. It used to
be predominantly plaintiff. I would say about a
65/35 mix, if you will. The weight being to the
plaintiffs' side. But, over the last -- the last
year, I have been getting a plethora of calls from
defense attorneys and reason being is a lot of it is
repeat work.

QO. Okay.

How about this 4/28/2013? You

testified for Kevin Connolly in the matter of

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Hussain versus Five Star Carting. "Car versus
garbage truck" is what you have as the description.
You testified for the defense there. Do you
remember the details of that accident?

A. If I remember correctly, that was a
truck in a scrap facility and -- if I remember that
one correctly. And I don't believe a report was
rendered on that case. There was -- there was
something to do with a scrap facility. Again, if
I'm recollecting correct. A scrap facility that --
there was an accident or something to that effect.
I don't remember the details, though.

QO. We are almost through this list. We

will be moving on.

A. Okay.

Q. I don't mean to belabor the point.

A. No. It's guite all right.

QO. How about "Craig Prosmushkin, Candice

Rienzo, Hazan Ayaz versus Roma Granite"? Do you

remember the details of that case?

A. Oh. You know what that was? Yeah.
This was -- yeah. This was a load securement issue.
Yeah. That was load securement. I'm pretty sure it

was load securement.

Q. IT wanted to talk about the next one

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then, which would've been the "Carrasco versus
Reliable Wood." Do you know the details of that
case?

A. Can I see it?
Q. It is the next one there.
A. My -- oh. You know what? Okay. No.

This was a pedestrian crossing the roadway and he
got run over by a truck. It was a fatal. And as
far as --~ I don't believe that I rendered a report
on this. And the reason is that I told the
attorneys that there -- they better sharpen their
pencil. Defense. Yeah. I'm 99.9 percent certain I
did not render a report on that one.

That would be one of those examples

that -- you know, where I reviewed the documents and
got back to counsel and -- for -- what happens
sometimes is, T'll get a phone call on a case. The

attorney tells me about it over the phone and I say
I'm sorry. I can't help you. In this particular
case here, you know, maybe everything was not --
they were not a hundred percent forthright of what
had happened. I looked at the documents on this and
I got back to them and said I cannot render an
opinion on this for you. I can't help you.

QO. Did you, at any point, doa

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1 perception-reaction analysis in the Carrasco case?
2 A. Is that the one we were just talking
3 about?
4 QO. That was the one. I believe so.
5 A. Yeah. I believe it was. Yeah. It
6 was a Peruvian woman.
7 It would have been just from a -- the
8 standpoint of a blind turn. So, is it -- I just

9 don't recall if I broke it down. I know that I
10 didn't put it down on the record. So, anything that

11 might exist from that is gone. So, I just don't --

12 you know. Nothing would've been written.

13 Q. I am just trying to get a general

14 sense. Was that a case where you didn't render an
15 opinion because the driver of the motor vehicle

16 failed to perceive and react to stimulus or a

17 Situation in front of them and failed to stop in

18 time?

19 A. It would've been that in combination

20 with the blind turn. So, all of these things

21 combined together to try to come up with that

22 opinion. So, yeah. I would have, to a rudimentary
23 level. I would not have gotten into, you know,

24 extreme depth with it. But, there was too many

25 factors that were against the trucking company on

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this and it was not worth the fight.

Q. When you say that in combination with
a blind turn, you mean the failure to perceive and
react in combination with the fact that the truck

driver was making a blind turn made him more liable?

A. No. It was at nighttime. Woman was
wearing a dark clothing. There was a lot of
variables involved with it. But, at the same time,

you know, I just felt, in my opinion, at that point,
there was enough lighting -- artificial lighting in
the area. It was well lit up. There was a gas
station right there at the corner. There was street
lights. And she came out from behind a sign,
started crossing the highway, and the truck driver

made a right-hand turn on to the roadway from a stop

-- a full stop -- presumably full stop. There was
no ECM data downloaded. So, I don't -- I can't say
for certain. I'm just going on testimony. So, you

know, I utilized whatever information that TIT had to
come up with an opinion that I couldn't defend that
case for them.

And I believe it was shortly
thereafter that they settled the case, too, based on
my -- my preliminary findings.

QO. How about this “Andrew Christman,

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Clinton and Stephanie Montgomery versus E&M Oil
Company, Inc."? You testified for the defense.
There's no description.

A. Yeah. That was a tanker explosion.
That's down in Oklahoma. I'm actually involved in
that one right now.

Q. The next one, attorney "Matt Rosek,

Billy E. Williams, Junior and CéW Fuels."

A. Right.

QO. You testified for the defense in that
matter?

A. That was a fire in the loading rack.

A driver got severely burned.

QO. The last one is 10/18/2013. You
testified for a "David A. Yavil. Matyi versus
Transport Intermodal, Balit Singh, et al." Do you

remember the details of that case?

A. Yes, Sir. Now we're getting to more
current days. So, I can remember these things.
Three years ago, I'm kind of lost.

Yeah. That one there was a
suspension related matter, where -- a Posi-Lock,
P-o-s-i hypen L-o-c-k. An alleged failure of the
Posi-Lock of the truck. So, it had -- there was no

crash related issues here.

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Q. If you could -- if you have an
updated version of case testimony, we would
appreciate that.

Having gone through that document, I
think it's probably a good time to stop real quickly
if that is okay with everybody.

(Recess.)

QO. Mr. Turner, have you published any
articles on tractor trailer inspections or accident
reconstruction in your career?

A. There's been some. But, there —--
they're more blogs, if you will. You know. There's
not a dealing with -- not necessarily in-depth
reconstruction. But, dealing with brake
applications and so forth of commercial motor
vehicles and things of that nature. Transportation
cargo tank trucks, bus crashes, you know, motor
coach crashes and things to that effect. Nothing
from -- I've done some from magazines, too. But,
they're not -- they're more dealing with the
regulations, themselves, rather than reconstruction.

Q. What magazines have you been
published in?

A. Over the years? Bulk Transport. I

think it's called Bulk Transport or Bulk Carrier.

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Many years ago. That was dealing with cargo tank
truck crashes. That was probably I'm gonna say 15,
maybe 18 years ago.

I just recently did an article
dealing with bus crashes. It's an electronic
magazine, if you will. I can't remember what the
name -- it's called Bus something or other. Bus
Industry Magazine or something to that effect.

QO. What was the nature of that --

A. It was about bus crashes and it was
not perception-reaction. It was with regulatory
issues.

Q. You said something about blogs? Do
you have a blog?

A. Yeah. But, the blog -- it doesn't
get involved with accident reconstruction.

Q. What is the name of the blog?

A. truckcrashblotter.com.

Q. You just got a new reader.

A. I kind of figured that. There's
nothing there really.

Q. Can you identify specifically what
scientific literature treatises that you depended on
when formulating your opinions that you have

rendered in this matter?

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MS. RAINES: Object to the form.

A. Essentially, I mean, I -- the Federal
Motor Carrier Safety regulations, the Motor Fleet
Safety Supervisors of NATMI. They're listed on my
report. On the back of my report here. Whatever
else I utilized.

Q. We will go through that line by line
in a minute.

A. Okay.

MR. MONTGOMERY: I am going to go
ahead and mark, as Exhibit C, a copy of Mr. Turner's
report that he has authored in the matter.

(Exhibit C, 3/25/14 expert report,
marked for identification.)

I will note, for purposes of the
record, that this report does not have the CV
attached, which was I think the form I got it in.
For the purposes of deposition today --

Q. I will have you look at it and state
that this is a full, complete, and accurate version
of the report that you authored in this matter.

A. Yeah. And there is one thing that I
~~ when you asked me about Ms. Hartung. It just
jogged my memory.

About my opinions as to her actions.

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I just -- I did put something in the report and I
just -- at the time we were talking about it, I
didn't recall.

QO. What was that?

A. It was essentially talking about her
-- the short time span that she had the ability to
react to essentially a parked 80,000 pound or there
-- close to 80,000 pound commercial motor vehicle on
an interstate highway. So, that really was an
opinion. But, it wasn't a breaking down of the acts
from an accident reconstruction standpoint. So, I
did offer an opinion. But, it was not necessarily a
breakdown of, you know, timeliness and so forth.

Q. If you could point to me, in that
report, where you did do that, that would be
helpful. = don't remember any commentary,
whatsoever, on her driving actions or inactions.

A. Sure. Yeah. I'm almost positive I
did. Let me verify that this is an original here
first and then I will go ahead and go over my copy
and find that for you.
Yeah. This appears to be a copy of
my Original.
Q. And you have a copy of it right in

front of you. It is the same as my copy. Correct?

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A. Yes, sir.

QO. Just while we are on the topic. If
you could, please, point to me in the report where
you have done some analysis with regard to Ms.
Hartung's inactions or actions.

A. Again, it was not a, you know,
scientific analysis. It was just a -- it was a

statement that I had. And this is just a

recollection. I don't remember specifically where
it is. But, give me a minute and I'll find it for
you.

Q. Just so I am clear, your testimony

before was that you didn't consider Ms. Hartung's
actions when you formulated your opinion. Now are
you changing that --

A. No. No. No. I -- I made a -- what
I'm saying is that it is my opinion that Ms.
Hartung -- in the closing speech, she would've
recognized the vehicle somewhere around 500 feet or
400 feet, somewhere in that area. Did that give her
enough time to react in an evasive manner? I don't
know for certain. But, I know that it was -- it was
-- she did make an attempt to get around the
commercial motor vehicle or the tanker. The tank

truck.

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Q. But you have been trained in
perception-reaction time. Correct?

A. Yes.

Q. Why wouldn't you have applied
perception-reaction time to this accident?

A. Again, my main focus was dealing with
the commercial motor vehicle.

Q. But you have made the conclusion that

the sole contributing factor of the crash was the

actions of Reginald Yelverton. Is that accurate?
A. We'd have to go through my opinions.
QO. I am not trying to be difficult, but

you gave them.

A. I understand. But I want to reflect
on my opinions that I wrote -- you know. JI wrote
these opinions back on March of 2014. So, I just

want to make sure that I have the language correct.
I think that's pretty important.

Q. T think so, too.

Did you review your report before you

testified today?

A. I did. I reviewed it last night,
amongst some other documents I've got here. You can
see I've got literally a couple thousand pages here

that I've reviewed. I took a look at not everything

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last night, but things that I felt were of
importance today.
But, if you will give me a minute, I

will review this real quick.

Q. sure.

A. And by the way, the instructor that
was from IPTM, I believe the one guy's last name
began with an H. Hol something or other. H-o-l

something or other, if I'm not mistaken. Again, I

don't recall Rickard. I'm not a hundred percent
certain, though. But, the main instructor was the
same guy who wrote the book, itself. You know.

But, then again, you know, you go to training
courses, I can't tell you how many times I've had
instructors from other training courses in my --~
sitting as students in courses that I've taught,
too, for the State Police. So --

You know, I can't locate it right
now. But, during a break, I could take a look at it
for the benefit of time. But, I'm almost positive
that I said something to the effect of timeliness
with Ms. Hartung. I'd have to double check on that.

Q. IT think it's real important -- I
prefer if you take the time right now. I have read

the report. I am going to relate to you that there

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is no such commentary in the report.

A. Okay.

MS. RAINES: If IT may, can we look at
opinion number one?
MR. MONTGOMERY: Sure.

A. Yeah. I -- it -- where she has a
reasonable expectation to be able to travel down
Interstate 77 and not have to be faced with a
commercial motor vehicle essentially parked. I
mean, that's not exactly what it says. But, the
interpretation of it.

Q. Right. But there is no perception-
reaction analysis?

A. No. No. Well, I prefaced this whole
conversation with saying that there's no perception-
reaction time analysis. But, there is a point where
I put -- it did put into the report that, you know,
she has that expectation to be able to drive safely
down the highway and not have a parked commercial
motor vehicle sitting on the -- in the right-hand
lane.

Q. But in that analysis, you don't talk
about her obligations or duties as a driver of a
private motor vehicle --

A. No.

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Q. -- at all. Correct?
A. No. That's correct.
Q. So basically, there's no

consideration of the inaction or actions of Ms.
Hartung as it relates to your opinions that have
been rendered in this accident?
MS. RAINES: Objection to form.

A. Repeat that again, please?

QO. Essentially, there has been no
consideration of the actions or inactions of Ms.
Hartung as they contributed to this crash with

respect to the opinions that you formulated in this

case?
MS. RAINES: Object to the form.
A. I didn't take a -- an extensive look
at what she had done in -- as to involvement with

the crash.

QO. I think now I am going to go ahead
and go through the stuff that you have laid out here
on the table as being the contents of your file. I
will identify, for the record, the documents. If
you could copy them and send them along to us, I
would appreciate it.

A. sure.

QO. What I have here is the "Kenan

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Transport Company driver accident report form." Did
you review and analyze this in the formulation of
your opinions rendered in this matter?
A. Yes.

If there's anything that has either
tabs on it or highlights in it would indicate that I
reviewed it.

The only things that I typically
don't review, typically, is going to be medical
related and/or insurance related. Sometimes I do,
sometimes I don't. But, on a typical basis, I don't
get involved with those two aspects.

So, anything else you see here on the
table with exception to -- I don't believe there's
any medical here. There is some insurance here that
I did not review. But, with respect to everything
else, it's all been reviewed. So, it would be a
combination of these things that helped me to
formulate my opinions.

QO. IT have here the "State of West
Virginia uniform traffic crash report." Did you
review and analyze this in the formulations of your
opinions rendered in this matter?

A. I did.

QO. While we are on the topic, did you

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note in this report where Ms. Hartung was issued
with a citation for failure to remain in control of
her vehicle in violation of 17C-6-1 of the West
Virginia code?

A. I believe that I did. I believe I
did put that in my report. Yes. And --

Q. Well, that is not in your report.

A. I thought that I had mentioned it in
my report.

Q. If you could show me, in your report,
where you mentioned that Ms. Hartung was cited as a
result of this accident, I would appreciate that.

A. Okay. What I had said in here was
about the -- with the West Virginia State Police
report was about the fact that it was not a hazmat.
All right?

Q. Is the police report something you

typically consider in the formulations of your

opinions --
A. Yes.
Q. ~~ when asked to do so?
And you did consider this State
Police report. Correct?
A. Yes, I did.
QO. But you didn't mention that Ms.

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Hartung was issued a citation for failure to remain

in control anywhere in your report?

A. You know. I --

Q. Yes or no?

A. Well, it's not a yes or no answer.
Q. Well, I am asking if it's in your

report or not.

MS. RAINES: Let me object. Please
let him finish his answer to your request.

MR. MONTGOMERY: It was a yes or no
question.

Q. I am not trying to be difficult. Did
you mention in your report that Ms. Hartung was
cited for failure to remain in control? Yes or no?

A. Again, there's no such thing as a yes
or no answer. When I give depositions, I prefer to
make sure that I have yes, with explanation or no,
with explanation.

Q. Then answer no and explain.

A. Okay.

No, it was not written in here.

And the -- but, when I do deal with
Situations like this often -- and I should have --
matter-of-fact, I would probably supplement the

report based on my past experience. Normally, what

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I do is, I look into whether the West -- in this
case here, West Virginia State Trooper was actually
an FMCSA trained individual. Because often, they're
just standard troopers, if you will. No insult to
them. They're standard troopers that are not FMCSA
trained. They have no accident reconstruction
training to an extent of a commercial motor vehicle.
So, they often will not address issues that are in
the FMCSR when they write the citation.

So, does that trooper necessarily
know that the vehicle has certain requirements under
part 383.111 under the FMCSR, which is required
knowledge of the driver? You know. Does the
trooper necessarily know that under 390.3, general
requirements, that the driver has to understand the
Federal Motor Carrier Safety regulations, therefore
a CDL is not just enough to drive a truck?

So, that I would amend or I would
supplement my report based on that. Because it's
something that I feel that should've been put in to
the report but for whatever reason, it was
overlooked.

Q. It should have been put in your

A. Yes.

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Q. --— that Ms. Hartung was cited?

A. Tt should have been put in my report
that Ms. Hartung was cited and that Ms. Hartung or
the trooper that cited her cited her with the basis
of not understanding the obligations of a commercial
motor vehicle operator.

Q. Okay.
And you said that this is an ordinary
statement --

A. Let me just make a note real quick on
supplementing that.

QO. You said this is not a -- this is
just an ordinary State Trooper. Do you know the

State Troopers that investigated this accident?

A. Again, that's what IT said. I would
look into that. For some reason, that escaped my --
QO. IT thought your statement was that

they were not FMCSR trained?

AY No. I said they're often not.
There's a lot of troopers that I know that are MCSAP
trained. There's —-- the majority of them are not
MCSAP trained. The large majority of them. So, I
would look into that to find out if this trooper, in
fact, was or was not MCSAP trained and if he was,

then he would have -- it would be a little bit more

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believable to me that -- you know, the violation
that he wrote up. Because if he's not a MCSAP
trained officer, he cannot write federal violations.
He cannot write violations out of the FMCSR. He can
only write state violations under West Virginia.

Q. But we are talking about Ms.
Hartung's ticket, which isn't a federal violation?

A. Right.

But, here the issue is that -- what
your issue is that Ms. Hartung was the only one to
receive a violation.

Q. That's not what my question was. I
asked if she was cited or not.

A. But, that's where you are going with
this.

QO. I don't know that you know where I'm
going with anything, to be quite frank with you.

I'm asking you whether or not Ms.
Hartung was cited and whether it's mentioned in your
report. I apologize I gave you the platform to
discuss the federal regulations and things of that
nature, which in my opinion, is not responsive to my
questions.

My question was simple. What was she

cited, did you consider it, and did you put it in

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your report?

MS. RAINES: Objection. Asked and
answered, argumentative, as well. I believe we have
covered that.

Q. You mentioned before if officers are
MCSAP trained, that that would provide more weight
in your opinion to the conclusions reached in that
report?

A. It would provide a littie bit more
weight. Sure. I mean, I would look at that and say
Okay, he gave her a violation.

If he is an enforcement officer under
MCSAP, then did he -- he would be able to write
violations under Title 49.

QO. So if one of the officers that
investigated this crash is an enforcement officer or
a MCSAP officer, then you would take more -- there
would be more credence to the fact that Ms. Hartung
was cited?

MS. RAINES: Object to the form as
hypothetical and also to the relevancy considering
that the citation was dismissed.

You can answer.

MR. MONTGOMERY: Thanks for the

speaking objection.

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Q. Go ahead.
A. Again, repeat the question, please.
Q. If there was an FMCSA inspector ora

MCSAP inspector that was involved in this
investigation, you would give more weight to the
fact that Ms. Hartung was cited?
MS. RAINES: Same objection.
A. Well, if the violation stood, you
know, then I would look at it and say there may be a
little more weight. However, it still doesn't
change my opinions of what Mr. Yelverton did or did
not do to cause this crash.
MR. MONTGOMERY: Counsel, I am going
to ask that you keep your objections to form.
MS. RAINES: Because that is an
admissibility issue, it had to be rendered.
Q. This is the training hazardous
materials HM-126 and security HM-232. This isa
Kenan Advantage Group, Inc. document. Did you

review these documents --

A. I did.
Q. I believe actually appended to this
is Mr. Yelverton's driver's qualification file. Did

you review his driver's qualification file in

rendering your opinions in this matter?

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A. I did.

QO. Do you remember when Mr. Yelverton's
driver's qualification file dates back to as far as
his driving history?

A. No. I don't specifically recall his
driving history, as far as how long he's been
driving a commercial motor vehicle. JI just don't
recall.

Q. You make mention of it in your
report. I believe that you state that it goes back
to 2005. Does that refresh your memory?

A. Yeah. That's what I'm reviewing
right now.

Well, he began his driving stint with
ATL/KTC March of 2010.
Q. When did he begin his driving career?

’

Under "5.1, Driver's qualification," you note "His
employment application filed with ATL/KTC dated back
to November 2005, whereas most of his driving career
was operating CMVs with semivan trailers." That is
the first paragraph under 5.1.

A. Right. All right. I got you. Yep.

QO. So you reviewed Mr. Yelverton's
driver's qualifications?

A. That the's -- I didn't have my

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glasses on. I'm sitting here squinting at it. I'm
not -- I see it now very clearly.
All right. Go ahead.
QO. Did you review -- the question was,

did you review Mr. Yelverton's driving history from
2005 until at least the point of the accident?

A. Whatever was provided to me in
discovery.

Q. I notice in here that you didn't note
any other motor vehicle accidents or citations.
Correct?

A. Not that I'm aware of. Not to say
that they didn't exist. But, not that I'm aware of.

Q. I have here a copy of plaintiff's
complaint with civil cover sheet. You reviewed and
analyzed that in the formulation of your opinions in
this matter?

A. I did.

Q. Then I have here an FOIA request for
records for Advantage Tank Lines, LLC d/b/a ATL
Leasing, Inc. Did you review these in the
formulation of your opinions rendered in this
matter?

A. Yes. It's on my -- it's on my

document -- documents reviewed section 9.0, "FOIA

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request for records PSCWV, January 28, 2013."
Q. Did you make any commentary on these
records in your report?
A. I would say likely not because of the

fact that there's no flags at pages there. So, it's
possible that I did not use -- although not to say
that it didn't -- it didn't go into the total sum of
my thought process.

Q. How did it go into the total sum of
your thought process?

A. I could not give you a specific
answer. I mean, it may have given me some guidance
as --

Q. How so? It is your report. You
reviewed the documents. How did it give you
guidance?

A. There's nothing that's highlighted in
there. There's no pages that are flagged. So, I
can't specifically point to one thing.

Can I see the document, please?

QO. Sure.

A. Here's -- yeah. There is actually
some highlighted sections in here. There was
violations -- looking at violations of the motor

carrier, FMCSA, the driver vehicle examination

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reports. So, just looking at some of the violations
that were inoperable. Required one of five cab
lights inoperable, things of that nature. It
essentially tells me about a motor carrier and what
their habits are and how they conduct themselves
from a driving standpoint from roadside inspections.
Here you have ABS malfunction circuit. Are these
things contributory to the crash? No. Are they
things that tell me about the motor carrier that I
can kind of put in my thought process? Sure.

Q. Did you mention the review of those

reports anywhere --

A. No.

QO. -- in your report?

A. No, sir.

QO. Tf I am correct, those reports are
concerning Advantage Tank Lines. Right?

A. That's correct. It's not specific to

the driver.
Q. Do you know who Mr. Yelverton's
employer was and under whose authority he was

operating on the day of the accident?

A. That -- I just -- that's why I
referred to ATL/KTC as the motor carrier. Because
-- excuse me. Advantage Tank Lines, I belleve was

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the primary player here. Then it was Kenan
Transport. Excuse me. Kenan Transport was primary
and Atlantic tank -- Advantage Tank Lines is the
owner of the tank line being transported by
Yelverton. And Kenan Transport Company is a motor
carrier and employer of Yelverton.

QO. Who would be responsible for the
maintenance of this tractor trailer?

MS. RAINES: Object to the form.

A. Who would be responsible for the

tractor trailer, or the tractor or trailer? They're
two specific distinctly different units.
QO. Well, the tractor.
A. Okay.
Well, the owner of the cargo tank is

Advantage Tank Lines. It depends on --

QO. We are talking about the tractor
trailer.

A. Well, that is part of the tractor
trailer. You're saying tractor trailer. So, I'm

giving you the trailer. All right?

The tractor presumably is owned by

Kenan Transport. I didn't see evidence one way or
the other.
Q. Then I guess you can answer you don't

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know.
A. Again, that's the reason I put in
ATL/KTC, in order to cover both aspects of it.
O. Let me ask you this.
You haven't made any commentary in

this case concerning Advantage Tank Lines' program

of maintaining their vehicles. Correct?
A. No, Sir.
QO. You haven't made any commentary in

this case with respect to Kenan Transport's program

for maintaining their vehicles. Correct?
A. No, Sir.
QO. T have here "Driver vehicle

examination report" --

A. I believe that might be the same as
this here.

Q. These very well could be duplicative,
just not having the cover letter on it so we will

move along.

A. Right.
Q. Then the "Business auto
declarations." Did this formulate in to your

opinions in this matter at all?
A. No, sir.

Q. It is essentially the insurance

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sheet.
These would be your documents that

you have provided -- is this your bill?

A. It is.

Q. That wouldn't have gone in to your
consideration?

A. No. No, sir.

Q. Then I see here a letter from myself
to Mrs. Raines labeled -- dated September 13, 2013.

"Responses to plaintiff's requests for admission of
defendant, Reginald Kenneth Yelverton."

Did you incorporate this in to your

opinion?

A. Let's take a look at the document if
I could.

Q. Sure.

A. IT would say no.

For simplicity purpose, maybe we can
just stack everything up we've gone through already.
Q. I didn't know if you had that
organized for your own ability to look through it.
A. No. All the things that I don't need
to go over later, I can stack up here.
Q. Then I have here the driver training

manual for Kenan Advantage Group. You reviewed this

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driving manual?

A. Well, there's a lot of red flags on
there. So, I would say that I certainly did review
it. What was applicable -- there's a lot of red
flags on there. So, there may be some issues on
there.

Q. You would have reviewed that and

incorporated the information in there in to your

opinions --
A. Yes.
Q. ~~ that you rendered in this matter?
A. Yes, sir.

I mean, I did mention in the report
that Yelverton was Smith System trained. Okay?

Q. Here, we have the "Repair order
detail, Kenan Advantage Group." I guess you didn't
really render an opinion with regard to the
Maintenance on this tractor trailer. Would you have
incorporated these documents in to your opinion?

A. Anything outside of the -- anything

outside of the turbo issue, the direct related issue

here, I didn't -- I did not go in to detail of --
Q. A program or anything like that?
A. Yeah. Maintenance issues. Correct.
Q. When you say "the turbo issue," what

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did you review as far as information related to the
-- as you described it, "the turbo issue" in this
matter?

A. Just the fact that it was taken to a
different facility and that different facility, from
the original record -- they transported it off to a
different facility. And that facility had effected
the repairs on turbo, which apparently, they were --
yeah. I'm not quite sure -- there was a record
invoice and that record invoice reflected the fact
that it was taken to a different facility, where it
was repaired -- the turbo, itself, was repaired.

QO. From those records that you are
talking about, you can continue to look for them as
we ask these questions, did it say what was wrong
with the turbo? Do you know?

A. No. Based on -- based on what
Yelverton said, it was a pop sound. Essentially,
the turbo blew up. And here you have the various
parts and so forth that were replaced on it. It was
"Turbo seals and turbine are bad." This is -- I'm
quoting from the repair order detail from Kenan
Advantage Group. And it's "Replace turbo and MTG
kit." I'm not sure what that is. "Calibrated the

turbo." So, essentially, my interpretation of this

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is the turbo failed. It blew up.
Q. Have you ever done any work in your
career as an auto mechanic?

A. Other than working on my own trucks.
IT had -- I owned a fleet of tractor trailers back
some years ago. I also was a driver for many -- not
many years. But, for a few years. Driving 18
wheelers. So, I did all of my own mechanical work.

Q. Now that we are on the subject, you
owned a hazmat response team for a while there.

A. I did.

Q. Do you ever remember being called
upon by Kenan Advantage Group to respond to spills?

A. I'm pretty sure we have. Yean. I'm
pretty sure we have.

Q. Does that at all affect your ability
-- did you gain any information from that prior
relationship with Kenan Advantage Group that
affected your -- the opinions that you have rendered
in this case?

A. Oh. No, sir. I vaguely even
remember doing work for them. But, I know that —-
I'm pretty sure that we had done some work with them
over the years.

QO. This is repair order 9601-0018789

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that you had previously talked about. You reviewed
this --

A. I did.
QO. -- and it factored in to your

opinions that you rendered in this matter.
Then I have here the June 15, 2011
tractor preventative maintenance. Did you review

this document and consider this document --

A. Yes, Sir.

Q. -- in the formulation of your
opinions?

A. Yes.

Q. We have some photographs here. Who

provided these photographs to you?
Do you know who took those
photographs? Let me ask you this photograph first.
A. I got these from Mrs. Raines. And I
believe that these were taken by Mr. Yelverton.
QO. Again, we have the State Police crash
report.
Then there are some additional
photographs -- I believe --
MR. MONTGOMERY: Are those the State
Police photos?

MS. RAINES: Yes.

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A. Yes. State Police photographs.
Q. For the record, the photos that we
just discussed were the color copies of the State

Police photographs?

A. Correct. These are from the State
Police.

Q. I am going to hand you a copy of
black-and-white photos. Did you review those in the

formulation of your opinions in this matter?

A. I did.
Q. Do you know who took those
photographs?
A. These appear just to be the same.
Just a different -- just black-and-white versus
color.
Yeah. These are the same pictures.

Just black-and-white versions evidently.

QO. They are?
A. Yeah. Appear to be.
QO. The next set of documents we have

here are "Defendants' supplemental and rebuttal Rule
26(a)(2)(B) disclosures. Did you review these
documents in the formulations of your opinions in
this matter?

A. I did.

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Well, actually, I received these --

these were received after my report.

Q. Correct.
A. so, I -- you know, I -- in my mind, I
have some opinions on it. But, these are received

post report.

QO. What we have right here is the ETOG
data from the Kenan Transport tractor trailer. Did
you review this data in the formulation of your
opinions?

A. I sure did.

QO. I believe attached to this are some
calculations that appear to be your calculations.

Is that accurate?

A. Yes, sir.

Q. What are these numbers based off of?

A. They're based off of 15 second
increments on the -- on the graph, itself. On the
ETOG. So, it's breaking down approximate 15 second

increments of activities of the commercial motor
vehicle of Yelverton's truck leading up to the
crash.

Q. Why was that important to do in your
analysis?

A. To demonstrate that Yelverton

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1 essentially, for all intents and purposes, parked --
2 you know, parked his commercial motor vehicle on the
3 highway. Broke down on the highway. But,

4 essentially, was parked on the highway.

5 Q. I think in your report, you note that
6 he was still moving.

7 A. There's no absolute conclusive

8 evidence that says that he was definitely moving.

9 There's also -- I believe that he may have come to a
10 complete stop. I gave him some latitude in saying
11 that it may have been five miles per hour. But,

12 I've also looked at it and said that looking at the
13 ETOG, there is at one point here where he comes to a

14 complete stop.

15 Q. His speed is obviously important to
16 your --~ to the opinion that you have rendered.

17 Correct?

18 A. Sure. Because it was an indicator to
19 him that there's something wrong with my truck and I

20 better get it off the highway.

21 QO. Did you take into consideration, when
22 formulating your opinions in this matter, the speed
23 of the Hartung vehicle at all?

24 A. I think we've already covered that

29 and that's -- I didn't get into the breakdown

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Hartung's vehicle.
QO. Did you take into consideration
closing distance with respect to the Hartung vehicle

based on her speed and Mr. Yelverton's speed?

A. Well, say asked and answered. Right?
Q. Is that a no?

A. That's ano.

O. What we have here is just an

additional ETOG data with some handwritten notes on
it. Did you take into consideration this data in
the formulation of your opinions that you have

rendered in this matter?

A. I did.

Q. Again, additional ETOG data.

A. Yeah. That's multiple copies in
there. The same.

Q. IT have here some handwritten notes --

A. They're field notes when I was ata
crash -- at the crash site.

Q. When did you visit the crash site?

A. January 24, 2014.

Q. Do you remember what approximate time

you visited the crash site?
A. Tt was later in the afternoon. Tt

was around 4 -- about 4 o'clock.

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1 Q. While we are on the topic, did one of
2 the things that you observed at the crash site ——

3 would one of the things you observed at the crash

4 site have been Ms. Hartung's line of sight as she

5 approached the accident scene?

6 A. Did I observe that?

7 Q. Yes.

8 A. Well, I ran the stretch of the

9 highway a couple times.

10 Q. Were there any obstructions --

il A. No, sir.

12 Q. Let me ask.

13 Were there any obstructions in Ms.

14 Hartung's line of sight as she approached the

15 accident site?

16 MS. RAINES: Objection to

17 hypothetical, form.

18 A. Other than the potential of a vehicle
19 being in front of her, to the best of my knowledge,
20 no.

21 QO. Again, you reviewed Ms. Hartung's
22 deposition testimony.
23 A. Yes.

24 Q. Do you recall her mentioning any sort
25 of vehicle in between her and the tractor trailer?

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A. I don't recall her saying one way or
the other.
QO. Would that be something that would be
important to your analysis in this matter?
A. Oh. Sure it would. If you have a

box truck in front of you and he makes that quick
adjustment and evasive maneuver and leaves a parked
tractor trailer sitting right in front of you at 65
miles an hour, sure. That would make -- that would
be a significant event.

Q. But you don't know whether that
happened or not?

A. There is no testimony either way. As
far as -- to the best of my recollection, there's no
testimony either way. And again, I reviewed that
deposition, you know, quite some time ago. But, I
just don't recall there being any -- any testimony
to that effect.

Q. Now that we are on the topic, I am
going to go ahead and take that out.
MR. MONTGOMERY: Let's take a quick
break.
(Recess. )
MR. MONTGOMERY:

QO. We went off the record. T had asked

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you a question about whether you had taken into
consideration Ms. Hartung's line of sight inability

to perceive the tractor in to your consideration

formulating your opinion. You said you didn't know
if there was any information on that. Is that
correct?

MS. RAINES: Object to the form.

A. There is no -- as far as if there was
no vehicle in front of her, then there would be
nothing affecting her line of sight. If there were
a vehicle in front of her, then there would be an
effect of her line of sight and reaction time.

QO. I think you testified earlier, too,
that you didn't consider Ms. Hartung's actions or
inactions because you didn't know whether there was
a vehicle to her left that would have affected her
ability to turn and things of that nature. Is that
correct?

A. That's correct.

I just don't recall, in her
testimony, whether she had stated that there was a
vehicle to her left -- or she didn't know. I don't
recall.

QO. TF there were not vehicles to her

left, would that have factored in to your analysis

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with regard to her ability to changing lanes and
avoid striking the --

A. Let's put it this way. If there were
a vehicle that was just trailing her but in the left
lane, it may have affected her judgment time, her
time of reaction. So, in other words, as she's
driving along doing 65 miles an hour, she closes
into about 500 feet of that vehicle -- of the
commercial motor vehicle parked in the left -- in
the right lane and if there was a vehicle just
trailing her and she looked in her mirror, saw that
vehicle, that would account for a few seconds of her
making that quick reaction decision to cut left.
Now, she makes that left-hand -- that left lane
change cut. In the process of that, she strikes the
commercial motor vehicle. Is that a possibility?
Tt is. Was there any mention of a trailing vehicle
behind her? I don't believe that there was.

O. Tf there were no vehicles, does that
affect your analysis?

A. Her reaction may have be more swift.
May have been.

Q. In your professional opinion, what
should her reaction have been to perceive and react

to the tractor trailer in front of her? How much

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time before -- from when she perceived the potential
danger to when she should have changed lanes should
have elapsed?

MS. RAINES: Object to the form.

A. Perception and reaction -- reaction
is gonna be approximately 1.5 to 1.6 seconds. All
right? Looking at an average. So, if you have a
1.5 to 1.6 seconds, 65 miles an hour, at 95 feet per
second, so you immediately lose 150 feet
approximately. 150 to 160 feet.

So now if she has that vehicle --
like I said, if there was a trailing vehicle but in
the left lane right behind her, that could consume
another two seconds on that decision making process
and we have no idea whether there was or there
wasn't. We don't have -- and I believe that there

was no testimony as to a vehicle being in front of

her.

Q. Let's do the analysis without a
vehicle.

A. Okay.

Q. How many seconds would it take for

her to perceive the tractor trailer in front of her
-- how much time would elapse between when she

perceived the tractor trailer in front of her

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1 slowing down to when she could have changed lanes?

2 How much time would elapse?

3 MS. RAINES: Object to form.

4 A. Perception to reaction?

5 Q. Yes?

6 A. 1.5 to 1.6 seconds roughly. Barring
7 no other vehicles were in the area, as you said.

8 Q. Do you know what the -- a looming

9 threshold is?

10 A. Sure. That's that closing point as
Ll to which she has that decision to make.

12 QO. How many feet would have been between
13 her and the Kenan Advantage tractor trailer when she
14 realized that she needed to move?

15 MS. RAINES: Object to the form.

16 A. About --

17 QO. Or hit her brakes?

18 A. About 500 feet. From the point of

19 reaction. It would be between 400 and 500 feet
20 roughly.
21 QO. Do you know -- you didn't do this
22 analysis in your report. I understand. Do you know
23 what the closing speed was at that point in time?
24 A. Well, she was traveling at
25 approximately 65 miles per hour. I believe she

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testified at about 65 miles per hour. So, 65 miles
per her, again, is 95 feet per second.

QO. Not if the tractor trailer is moving
at 5 or 10 miles an hour. Correct?
A. Yeah. But, I don't believe that the

tractor trailer is moving.

Based on the evidence of the ETOG,
the tractor trailer, to me, because -- because there
is a point as to which the tractor trailer comes to
a complete stop at zero miles per hour. Then he is
struck. And that's just before 6/29/11. Then he is
struck. And then he takes another 15 seconds to get
-- to limp his commercial motor vehicle off the
roadway on to the shoulder.

Q. So your opinion that you are giving
me here today was that he was stopped when he was
hit?

A. I believe that he was stopped. But,
I've given him some degree of latitude on my report
in saying that possibly up to five miles per hour.
Something in terms of that language.

QO. Whether he was moving at 5 miles an
hour, 10 miles an hour, or stopped, that would have
an affect on the amount of distance that she was

closing on him. Correct?

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MS. RAINES: Object to the form.

A. Tt would be nominal. Your five miles
an hour to 65 miles an hour. So, your closing speed
is now 60 miles an hour. If it were, in fact, 5
miles per hour.

Q. Your testimony, sitting here today,
900 feet from the tractor trailer she should have
perceived that there was a danger and began an
evasive maneuver?

MS. RAINES: Object to the form.

A. I believe I said 4, 500 feet.
Barring no vehicles in the immediate area.

Q. Did you take into consideration the
duration of time that Ms. Hartung first perceived
the tractor trailer to when the accident happened in
your analysis?

A. Well, I don't know how many feet back
that she actually did perceive it. But, assuming 4,
500 feet. That's all we can go off of.

Q. Well, as something that you learned
at the University of North Florida, did they talk
about when a closing vehicle would perceive that
there was a potential danger in a situation like
this?

A. Well, she could see the -- you know,

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a vehicle possibly out a thousand feet. Or even
greater.

Q. I am talking about the point that she
would have realized that there was an imminent
collision or the potential for a collision.

A. Again, that would be that 4 or 500
feet.

Q. I am going to introduce here Exhibit
D.

(Exhibit D, Transcript excerpts,
marked for identification.)

Q. This is the deposition testimony of

Ms. Hartung which you have reviewed in this matter.
Tf you could, read into the record the parts that I
highlighted there or underlined rather.

A. Okay. It's -- starts out a question
on page 108-11.

"Question: Now in the 40 seconds,
you know, the 40 second time period from which when
you first observed the tractor trailer to the point
of impact, were you paying attention to what you
were doing? Were you paying attention to the
traffic around you and the tractor trailer?"

She replies: "Yes."

"Question: And was there any other

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traffic in the area at the time?
Answer: No.
Question: So basically it was just

your vehicle and the tractor trailer on the road?

Answer: Correct."
Q. The next page, it continues on.
A. Page 109, line l.
"Question: So there would have been

nothing there to distract you?

Answer: No.

Question: Since there were no other
vehicles on the road, then there was nothing to your
left that would have prevented you from switching
lanes and avoiding the tractor trailer?

Answer: Had I had noticed that there
was a tractor --

Question: My question was, there was
no vehicles to your left that would have stopped you

from switching lanes and hitting the tractor

trailer?"
And Ms. Bowles’ objection to form.
"Answer: There were no vehicles to
my left."
©. Does that change or alter your

analysis with respect to Ms. Hartung's perception-—

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reaction as it relates to this collision?
MS. RAINES: Object to the form.
A. Slightly. But, not necessarily
incomplete. The reason I say that is because she

said you're speaking to her about a vehicle
immediately to her left. Again, if there was a
vehicle trailing her to the left-hand lane, that may
have given her a split-second decision to make that
decision to make that cut to the left lane.

Q. So you are taking the answer -- the
question "So basically it was just your vehicle and
the tractor trailer on the road? Answer: Correct"
to mean that there's still potentially another
vehicle behind her that would've distracted her?

A. At 10 o'clock in the morning heading
towards Charleston, West Virginia, I find it highly
improbable that there were no other vehicles within
sight distance. I just find that highly improbable.

Q. So you are saying that Ms. Hartung's
testimony is incorrect?

A. No. No.

MS. RAINES: Object to the form.

A. I'm not saying her testimony is

incorrect. I'm saying that once she crashed, maybe

at that point in time, the shock of the situation

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and so forth, she's medivac'td out, all right, that
that possibly could've skewed her mindset and her
thinking. All right? There was -- I'm just saying
if there was -- if there was a vehicle that was left
of her, behind her, that's not a vehicle next to
her, as she testified.

QO. As an expert, you have to look at the

information that is available to you.

A. Facts.

Q. The facts.

A. Correct.

Q. Her testimony is factual testimony in

this matter.

A. That's correct. But, it does not say
the vehicle -- it says vehicle next to her.

Q. But you just said to me "if there was
another vehicle" in the area. Now aren't you making

assumptions that aren't necessarily supported by the
evidence?
MS. RAINES: Object to the form.
A. Again, I'm saying -- I'm saying if.
And it's a big if.
Q. If what? If there was another
vehicle, it might have affected her perception-

reaction. But, is there any information that there

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was another vehicle in the area? Yes or no?
MS. RAINES: Object to the form.
A. No. Based on her testimony, no.
Q. It is your opinion that going to

Charleston at 10 o'clock in the morning, you don't
believe that her testimony is accurate?

MS. RAINES: Object to the form.

A. I'm not saying that her testimony is
inaccurate. I'm saying that there is a possibility
that she was not -- at that point in time, after the

crash, as a result of the traumatic experience that
she suffered, that there could've been a vehicle
that was not next to her, as I said, a vehicle
that's further back.

If the question was asked was there a
vehicle at your 5 o'clock position, 12 o'clock being
Straight ahead -- excuse me. Your 8 o'clock
position. That question wasn't asked. All right?
Is there any other vehicles on the highway? I find
it improbable that there were no other vehicles
within sight distance. Is it possible? Yeah. Sure
it's possible.

QO. Again, the question was "So basically
it was just your vehicle and the tractor trailer on

the road?" She says "Correct.

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Question: There were no vehicles to
the left that would've stopped you from switching

lanes to avoid you from hitting the tractor trailer?

Answer: There were no vehicles to my
left?"

I'm just reading the testimony.

A. I understand.

I'm certainly not entitled to my own
facts. The facts are the facts.

What she testifies to, I have to -- I
have to believe what she's saying. But, also, there
is a traumatic crash that occurred here. This woman
is severely injured. You know. Is it possible that

that affected her decision making process just
before she was making that cut to that left lane?
It's possible. But, again, that's just something
that I'm saying. Was there a vehicle directly in
front of her that cut out in front of her? I don't
know the answer to that either.

Q. But you are not here to talk about
what's possible.

A. Right.

Q. You are here to render opinions
within a reasonable degree of accident

reconstruction certainty. Correct?

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A. Correct.

Q. If you were doing a perception-
reaction analysis with respect to the Hartung,
vehicle based on this testimony, you wouldn't
consider any distraction behind her. Is that
accurate?

MS. RAINES: Object to the form.
A. That's correct.
Q. Right here, that's another bill. I

am not concerned with that.

A. Well, I am.

MS. RAINES: That one is for you.

Q. You have here a "Capability of heavy
truck electronic control module ECM data." Describe
to me what these documents are.

A. Sure. This is in relation to
Edwards' testimony -- excuse me. Edwards' report.
Where he didn't visit the site. But, he renders
opinions as to what happened on this crash scene.
And one of the things here in this component
document here, "Capability of heavy truck electronic
control module, ECM data," there's a statement that
says "ECM data can be quite valuable in analysis and
reconstruction of heavy truck accident. However,

the physical evidence is also important and relying

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exclusively on ECM data can lead to incorrect or
unreliable conclusions."

So my point is and the reason this
was brought forth was that Mr. Edwards never visited
the site to the best of my knowledge. All right?
And he used photographs to make determinations of
what occurred. In addition, a couple other issues
if you'd like, since this is the next document, we
can kind of tie them in together.

Q. Let's stick with that. Then we'll
move on to that.

A. sure.

©. Had Mr. Edwards visited the site,
would that have changed any opinion that you have
with regard to his conclusions?

A. tT -- if he was at the site, the
opinions may hold a little bit more water.

Q. What is it that you -- what
information are you relying on to believe that he
didn't visit the site?

A. It wasn't in his report, to the best
of my knowledge. The best of my recollection I
should say.

MR. MONTGOMERY: I am going to mark

this as Exhibit E. This is the report of Mark Lee

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Edwards.
(Exhibit E, 1/14/14 expert report,
marked for identification.)

Q. If he did visit the site, how would
that have changed your opinions regarding his
conclusions?

A. Well, very -- variables of the site.
I mean, the lane widths. I don't believe he made

mention of there being 11 foot lanes, whereas also

Rickard said 12 foot lanes. The consideration of
slopes of the roadway. Inclines of the roadway and
so forth. Line of vision. You know. Taking it off
my information rather than -- rather than actually

having facts of his own.

Q. Did you form an opinion with regard
to Mr. -- Dr. Edwards' opinions?
A. No. I got his -- again, I got his

report after.

Q. I know you haven't authored a report
on it. As you sit here today and I ask you the
question do you have an opinion with respect to the
conclusions reached by Mr. Edwards, could you tell
me what those opinions are?

A. Well, there's a couple of them.

Number one is that he's critical of my terminology

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of inattention blindness. And he comes out and
calls it a -- oh, boy. In intentional blindness.
Correct. Where my phraseology is inattention
blindness. He would have to argue that point with
National Safety Council 'cause National Safety
Council calls it inattention blindness, not an in
intentional blindness. That's one.

And two would be that on his report,
he has calculations as to closing speed and so forth

and what Ms. Hartung should have done as far as

being evasive of this crash. He refers to the ECM
data. I never received any ECM data to even
consider his comments. There's no ECM data
available.

Q. I think he is making reference to the
ETOG data.

A. Well, I can't make that assumption at
this point.

He put down ECM. ECM is a component
on the truck, which is essentially the brain of the
truck.

ETOG is something by CADEC,
C-A-D-E-C, which is managed outside of the -- at the
corporate office by a desktop. They can look at a

driver and see what that driver is doing.

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So, he took either the wrong
information or information that was not available to
me to come up with his conclusions.

Q. Other than that and the fact that he
didn't visit the site, is there any other issues you
take with his report?

A. No, Sir.

Q. Did he use the correct looming
threshold in his report?

MS. RAINES: Objection to form.

A. I would say approximately 65 miles
per hour roughly. Yes.

Q. I believe his was 506 feet.

A. Well, I said between 4 and 500 feet JI
think it was.

Q. When you say between 4 and 500 feet
is the looming threshold, what scientific
literature, treatise, or authority are you using to
come up with 4 to 500 feet?

A. It was 65 miles per hour. He was
traveling 65 miles per hour -- she was traveling 65
miles per hour, 95 feet per second.

Q. What treatise says it's 400 to 500
feet if it's 65 miles an hour?

A. I don't have reference to that.

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He puts 506 feet looming threshold.

QO. Is that right?

A. Yeah. It sounds about right. Yes.
That's where I said earlier 4 to 500 feet.

Q. I am wondering where the four is
coming from. Is there something you are relying on
that I need to look at that says that 400 feet at 65
miles an hour is the looming threshold?

A. It's gonna be on an individual basis.
I mean, you can't nail down exactly 506 feet and say
that you, Counselor, at 506 feet are going to see
something that I may see at 400 feet. Ms. Raines
may see at 450 feet.

Q. When you are doing an accident
reconstruction, you have to use numbers that -- and

data that are generally accepted by the scientific

community. The accident reconstruction community.
Correct?

A. Right. But, it is a variable number.
Tt's not a concrete number. At 65 miles per hour on

a roadway with no visual impairments and anything
blocking the view or blind turns or what have you at
65 miles per hour, that speed is going to be -- you
can't nail down say it's going to be five -- all

professional -- excuse me. All expert opinions and

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all treatises and so forth would say that it is an

approximate. Just like, for example -- stopping
distance. It's going to depend on certain
variables. All right? Reaction time. They say an

average reaction time is gonna be 1.5 seconds, 1.6

seconds. They don't say that reaction time is
concrete for everybody at 1.5 seconds. It's an
average. Some older folxks' reaction time may not be

but 3.3 seconds.

Q. But we are doing a reconstruction.
We have to use a number. What we use are the
generally accepted numbers like the ones that you
learned at IPTM. Correct?

A. Yes.

Q. Would 506 feet at 65 miles per hour
be an accepted number?

A. Certainly. I'm not arguing with 506
feet.

Q. My question to you is, what analysis
did you use or what authority or treatise did you
use to come up with 4 to 500 feet?

A. I don't -- I don't recall. I mean, I
don't have it listed on my report as documents
reviewed or documents reviewed -- references.

Q. Prior to sitting here today, did you

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say 4 to 500 feet or did you not even consider that
when doing your report?

MS. RAINES: Object to the form.

A. Well, no. IT didn't consider it
because I didn't have Mr. Edwards' report at that
time. So, it's not included in my report. It's
nothing that I -- that I had added into my report
because I didn't have -- was not available to his
report at this given time. I received it after the
fact.

Q. Just for the sake of clarification, I
am going to introduce Dr. Edwards' report as Exhibit
BE. I am going to point you to the "Materials
reviewed" page. If you look at the third builet
point down, did Dr. Edwards, in fact, inspect the
scene of the accident?

A. Apparently. Yes. "Materials
reviewed, inspection of collision site."

Okay. I missed that. Again, I just
reviewed this report recently. I did not see what
he actually reviewed.

Q. You said before if he had inspected
the report, that you would give more weight to his
opinions?

A. Well, the 500 feet does not change.

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All right? There's the 506 feet. No. I'm not
changing that opinion at all.

What I am -- what I am concerned
about is the fact that he is using ECM data that I
was not privy to at the time of authoring my report.
And I'm not going to comment on something that I
have not reviewed. All right?

Q. There is no ECM data. I am telling
you it is the ETOG data. It may be a difference in
terminology. Certainly, today at some point in
time, I am going to call something something that
you don't call it. But I am telling you right now,

there is no ECM data.

A. Well, it's all that I have to base it
on, is that he wrote his report. He authored his
report on ECM data. So, I really can't -- I can't

oh point on that because of the fact that I don't
have access to ECM data. I cannot make an
assumption. As you well know, I can't make an
assumption that he went off of ETOG.
Q. Sure. Okay.

The next item we have here that you
looked at, reviewed, and considered in formulating
your opinions would be the deposition of Ms.

Hartung. Correct?

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A. That's correct.

Q. And then the videotaped deposition of
Reginald Yelverton.

A. Yes, sir.

Q. Did you actually look at the
videotape or did you just review the transcript?

A. Just the transcript.

Q. The next item would be the videotaped
deposition of Mark Follett.

A. Yes, Sir.

Q. What 1s your understanding as to what
Mr. Follett's role in this matter is?

A. Corporate representative of KTC-ATL.

Q. Then you considered the deposition of

Roger Yelverton.

A. His father. That's correct.
O. We have here the depositions of Dr.
Biundo Hubbard. I am assuming you didn't pay too

much attention to those.
A. No, sir. I didn't.

oO. Then we have "Answers to plaintiff's
first set of interrogatories, requests for
production of documents, and requests for admission
to defendant, Advantage Tank Lines, d/b/a ATL

Leasing, Inc." Did you review and consider this

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document in formulating your opinions?

A. Yeah. Essentially just for motor
carriers' name. There was nothing of significant
relevance that I had taken out of here.

Q. How about answer to "Plaintiff's

first set of interrogatories, request for admissions

to Reginald Yelverton"? Did you consider this

document -- these documents in formulating your
opinion?
A. I did. And what it was -- and I go

back on an answer that I had responded to prior
about Yelverton's driving history as it pertains to
crashes. In October of 2011, and I took
consideration -- it says under number nine, on this
document, "Defendant was involved in a motor vehicle
accident where his vehicle was struck by pulling out
of a parking lot by at fault vehicle in October
2011."
Not that it has any significant

weight or anything. But, it was Just something I
did take into consideration.

QO. Other than that accident, you don't
recall any accidents while he was driving a
commercial motor vehicle?

A. No, sir. To the best of my

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knowledge. No.

Q. Here we have some documents State
Farm Insurance Company issue tod Susan B.
Rawlinitis, ETOG data, cell phone records. Did you
take this into consideration?

A. I did.

It just demonstrated to me that Ms.
Hartung was not on her cell phone at the time of the
crash.

QO. Did you take into consideration the
responses to plaintiff's request for admissions to
defendant, Reginald Yelverton or did we already
cover this?

A. Hold on a second. I have something
here highlighted. I did. "Cause there's two -- it
says "It is admitted that Mr. Yelverton began
experiencing engine problems before the accident.
It is further admitted that his speed decreased
before his trailer was struck by plaintiff."

So, that tells me that he had plenty
of advanced warning, up to five minutes, that he was
having --

Q. How does that sentence right there
tell you that he had five minutes?

A. Well, I'm taking that information and

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combining that along with the ETOG data. That
demonstrates to me that his commercial motor vehicle
began experiencing some kind of mechanical issue
about five minutes before there. ‘Cause I drove
that stretch of the highway and it was a stretch of
highway that did not have any aggressive mountains
that would have called for such low drops in speed.
QO. Did you take into consideration Mr.

Yelverton's testimony about the engine issue?

A. Well, yeah. But, I didn't take --
you know. I think -- I believe he's a -- he lacks
credibility. His credibility issues really -- once

I start seeing things from a credibility standpoint,
I take that information and I kind of put that in my
mind when I'm developing a report and wonder if this
person is being truthful with further questions or
answers.
Q. Do you have a degree in psychology,
or psychiatry, or other scientific background?
MS. RAINES: Object to form.
A. No.
I have 52 years of being able to
determine if somebody -- I have 52 years of common
logic of being able to determine if somebody is not

being truthful. I have employed literally hundreds

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and hundreds of people, and interviewed, and so
forth.

So, no. Certainly I have no degree
in psychology. But, you know, I think it's -- I
think my years of experience in being able to
determine if somebody is lying to me and whether
it's being untruthful in a deposition or, you know,
one-on-one basis, I don't think I need a psychology
degree to understand that.

Q. Have you ever rendered an opinion
with respect to somebody's credibility in a court of
law?

MS. RAINES: Object to form.

A. No, Six.

MR. MONTGOMERY: What is the
objection to that?

MS. RAINES: Because it was just a
hypothetical question.

MR. MONTGOMERY: He is talking about
the credibility of Mr. Yelverton. I am asking if he
has ever rendered an opinion in a court of law with
respect to credibility. That's a very plain and
simple question.

A. Right. My response is no.

If you look at the few things that

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concern me as to Yelverton's credibility, it is he's
on his cell phone and he says -- he testifies he
doesn't drive and talk on his phone. He says that
he doesn't drive and talk on his phone. When you
look at his cell phone records, he's engaged in a
plethora of conversations prior to this point in
time of the crash.

In addition, he says that he did not
-- now here's a man who is a truck driver that
drives the interstate system on a daily basis and I
don't know any interstate system that doesn't have
an improved shoulder. And he says that he didn't
take his commercial motor vehicle off of the travel
lane portion of the highway because he didn't want
to drive off the mountain. So, iS it realistic that
he doesn't believe that there is a shoulder
available for him to escape to as at least a safe
refuge or even the interchange just prior to the
crash at 106?

Q. My issue really is, you were retained
to give an opinion with respect to who was at fault
for the accident. Not necessarily to make a
commentary on someone's credibility, which is up to
the jury to do. You understand that?

A. sure.

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But, I don't believe that the jury's
gonna be taking depositions in the back and making a
determination.

Q. I don't think you are going to be
able to comment on his credibility at least as it
relates to the what your opinion of it is at trial.

A. But, if there are things that affect
my opinions, all right, such as is in my report,
cell phone usage, I believe that's a relevant issue.
All right? Yeah. Certainly. Am I gonna be the one
testifying on it? Maybe not. All right? But, I
believe that I have a right to make that
determination about truthfulness based on his -- his
statement saying he doesn't talk on his cell phone
while driving and then to turn around and look at
his cell phone records and see that he's hada
plethora of conversations before the crash.

Q. He testified that he talked on his
cell phone at his deposition, though. Did he not?

MS. RAINES: Object to the form.

A. While he is driving?

QO. Yes.

A. I -- I thought that he said in
deposition that he didn't -- he does not talk on his

cell phone while driving.

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QO. He testified that he made a phone
call to his father prior to the accident.
A. Right. But, in general, he says --

that's a different scenario because of the simple
fact of the crash.

Q. We're distinguishing between in
general and the accident now?

A. And I said a plethora of phone calls
prior to the crash.

Q. Okay.

A. Not the one that's relative to the
crash, itself.

Q. But you made a credibility
determination based on the fact that he said he
doesn't talk while he is driving. But he did say he
talks while he is driving at his deposition. Yes or
no?

MS. RAINES: Object to the form.
It's argumentative.
A, To call his father and say I've got a
problem with my truck.

Q. So yes?

A. To call his father and say I've got a
problem with my truck.

Q. So yes?

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A. Well, in addition, there's also the
fact of him stating that he could not pull his truck

off the site of the road, which clearly --

Q. With all due respect, please keep
your answers responsive. This isn't a platform for
you to stay whatever it is you want to say. I'm

asking the questions, you are giving me the answers.
I've given you a ton of latitude so far with respect
to sort of veering off the path of what's being
asked of you. If there is no question, I would
appreciate it if you wouldn't just go into some sort
of diatribe about something that we are not even
talking about yet. We will get there. You will
have your opportunity to render an opinion. I'm
asking you to, please, answer the guestions that
have been asked of you.

MS. RAINES: That's fine. But I
would ask that you allow him to answer the question
that you pose instead of a yes or no and trying to
cut short.

MR. MONTGOMERY: Fair enough. I
think yes or no guestions are totally appropriate in
every deposition I've been involved in. The witness
is refusing to give a yes or no answer.

MS. RAINES: Don't refuse to give a

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yes or no answer. Please answer the questions with
a yes or no and then give the remainder.
THE WITNESS: With explanation.
A. The other thins is, too is that --
MS. RAINES: There's no question
pending.
Q. Here we have the "Operating carrier,

Kenan Transport Company, certificate of equipment

lease." Did you review this and consider it in your
opinion?

A. I did.

Q. Then we have "Plaintiff's responses

to defendant's first set of interrogatories and
request for production of documents." Did you
review these and consider them in your opinion?

A. I did.

QO. Here we have the "Defendant's Rule
26(a) (2) (B) disclosures I believe that we have
already discussed that you have looked at these, and
reviewed them, and considered them in your opinion.

A. Yes, sir.

QO. We are almost through the documents.

This is "Advantage Tank Lines’

responses to plaintiff's request for admissions."

You reviewed and considered these in your opinion.

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A. Yes, Sir.
Q. Then here we have the bill of lading
and documents related to the load. Did you review

and consider these documents in the formulation of

your opinion?

A. I did.
Q. There is a customer service history
on the vehicle owned by Susan Rawlinitis. Did you

review and consider these documents in the
formulation of your opinions?

A. It was just a real cursory -- a
cursory review.

Q. Daily log reports from Kenan
Transport, did you review and consider these?

A. I did.

Q. We have some documents here dated
August 4, 2011, Charleston Auto Towing, to repair
the rear-end damage. Did you review and consider
these documents in formulating your opinion?

A. Yes. This is the one that I was
looking for before in this plethora of documents
laying around here. It says --

Q. I just asked if you reviewed and
considered it.

A. Okay. I sure did.

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I'll hold on to this if you don't

mind.
Q. Certainly.
A. Okay.
QO. This is the driver's qualification

file, which I believe was contained in some other

documents. You said you did review and look at
this?

A. Yes, I did.

QO. These are the cell phone records that
were provided to Tammy for Reginald and Roger. Did

you review and consider these?

A. Yes. But, there is some concerns on
that.

Q. We are going to get this "Yes" or
"No" thing down. I know it.

Finally, we have "Supplemental Rule

26(a) (2) (B) disclosures and supplemental rebuttal
Rule 26(a) (2) (B) disclosures." Did you review and

consider these in the formulation of your opinion?

A. Yes, sir.
Q. That takes us through the entirety of
your file. Are there any documents that you

reviewed and considered that are outside of the

documents that we have just looked over today?

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A. At the best of my knowledge at this

QO. Well iff there were any other
documents, what documents would those be that you
looked at, and reviewed, and considered in the

formulation of your opinions?

A. That's why I said to the best of my
knowledge. I don't believe there's anything else.
Q. If you think of anything else that

you have looked at or reviewed that was helpful to
you or that you utilized, please let counsel know.
She can let me know.
A. Sure.
Q. When were you retained by plaintiff
to do your analysis of this accident?
A. October 21, 2013.
There is one document you did miss,
which is the retainer agreement.
Q. I don't need to see that.
MS. RAINES: You didn't rely on that,
did you, in formulating your opinions?
THE WITNESS: No. No.
Q. What was the scope of what you were
retained to do with respect to this accident?

A. Make a determination as to Mr.

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Yelverton's involvement in the crash, what he could
have or could not have done in order to avoid the
crash.

QO. Were you asked, at that time, to do
any analysis with respect to the actions or
inactions of Ms. Hartung?

A. Not necessarily. No. It was here's
a crash, here's what happened, we'd like to retain
you as a commercial motor vehicle expert to make a
determination what Mr. Yelverton did or did not do.

QO. Would you agree with me, when there
is a two vehicle crash, it's often times protocol to
consider the actions or inactions of both drivers

when coming to an opinion with respect to who was at

fault?
MS. RAINES: Objection to form.
QO. I'm talking in general.
A. I do agree. That's the reason that I

put it down in my first opinion in my report, as to
Ms. Hartung's -- considering Ms. Hartung, where it
says, again, the first opinion, "Katherine Hartung
has a reasonable expectation to be able to travel
Interstate 77 in normal driving conditions and there
not being a CMV stopped in the travel lane without

any degree of warning. Failure to warn and the mere

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fact of the CMV's stopped presence were contributing
factors to the crash that occurred causing injury to
Katherine Hartung."
Q. When you say “failure to warn," what
do you specifically mean there? Emergency flashers?

A. I -- failure to warn would've been --
first off, it's hard to really explain failure to
warn when you stop your commercial motor vehicle in
the middle of a highway. If it were as a result of
an initial collision, that's a totally different
scenario. But, had he pulled his commercial motor
vehicle off to the side of the roadway on to the
improved shoulder, put out -- put his four-way
flashers on immediately and put out his triangles,
there's three triangles as reguired by the
regulation, then that would've been appropriate
warning of his vehicle being on the shoulder as a
potential hazard.

Q. Understanding how this crash
happened, do you think Mr. Yelverton would have had
time to pull off to the side of the road, put his
flashers on, and put his triangles out before Ms.
Hartung got to the scene of the accident?

A. No.

But, if you look at -- if you look at

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the ETOG data going at the point of what I have, and
you will receive a copy of this, at 9.55.15, I
believe that's where he started experiencing
problems. That's likely where the seals blew out on
his turbo. That's not necessarily gonna be --
necessarily, I emphasize, the pop sound that he
heard. I believe that's where the turbo began to
fail.

Then you can see where he decreases
in rpms and also speed, miles per hour. And it
continues then. It fluctuates up and down up until
the point of 9.59.45. Then it just deteriorates
from that point on out.

So, that 45 seconds there, from
9.59.45 to almost 10.00.45, he should have had --
it's about 45 seconds -- actually, excuse me.
10.00.30, he should have taken his commercial motor
vehicle off the highway. He had 45 seconds to do
that. So, from traveling at a speed of 50 miles an
hour -- nearly 50 miles an hour, he certainly
could've gotten his truck off to the side of the
roadway and on to the shoulder.

Q. At what point did you say that the
seals on his turbo probably blew out?

A. They probably actually blew out at

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about the mark of 9.59.45.
Q. Which would've been how many seconds?
A. 45 seconds.
But a turbo is not going to go from

full working mode to blowing out mode in a matter of

seconds. There is going to be a degree of failure
in between there. So --
Q. What knowledge are you basing that

opinion on?

A. Experience of trucks. Dealing with
trucks for 20 plus years. 25 years.
Q. Are you a mechanical expert?

MS. RAINES: Objection. Asked and

answered.
A. No. FMCSA. In dealing with turbos,
I've dealt with turbos on my own. You know. I've

dealt with blown up turbos.
QO. Did you inspect this truck?
A. No, sir.

This is all based on information that
was provided to me. "Cause the truck -- it really
would've been -- it would've been a pointless
inspection because you're talking a couple years
later. The truck had been in service after this

crash. So, any evidence that I would've ascertained

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from inspecting that truck would've been useless.

QO. So it is your belief that the turbo
-~- the pop was 45 seconds prior to the accident and
at that point in time, the tractor trailer
precipitously lost speed?

A. Possibly. Very possibly 45 seconds
prior to that.

QO. Possibly?

A. Very possibly.

But, somewhere definitely within the
five minutes. But, likely at that 45 second mark
prior to the crash is when he actually blew the
turbo out. Complete failure.

Q. In your opinion, does that comport
with Ms. Hartung's testimony as to how the accident
occurred?

A. Well, Ms. Hartung knew nothing about
the pop sound or about the turbo --

Q. IT am talking about the speed of the
tractor trailer.

A. Well, I'm basing this on -- not Ms.
Hartung's testimony. I'm not basing that on Ms.
Hartung's testimony. I'm basing it on the ETOG,
which is factual information, rather than what Ms.

Hartung, who is trailing behind the vehicle at 65

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miles an hour, a distance back -- what her testimony
is. "Cause it's perception rather than fact here.

Q. Are you saying Ms. Hartung's
testimony isn't factual information?
MS. RAINES: Object to the form of

the question.

A. No.
Ms. Hartung -- as I said, Ms.
Hartung's testimony, I'm going to take Ms. -- Mrs.

Hartung is back a thousand feet or whatever that
distance is prior to her, you know, seeing vehicles
that are up ahead of her. So, if that's a thousand
feet, 500 feet, 1500 feet, I don't have an exact
answer for you at this point in time.

But, this information here, the ETOG,
is factual. This is information that's sent to the
desktop at the corporate office of Kenan. And
they're able to monitor this. They're able to look
at this. This information is factual to me as far
as speeds are concerned.

Whatever Ms. Hartung says that the
truck was doing, 55 miles an hour, I'm gonna take
this fact here over her opinion any day.

QO. At 45 seconds, how far -- the 45

seconds when you are saying that it is possible that

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the turbo failed, how far away from the back of the
tanker would Ms. Hartung's vehicle have been?

MS. RAINES: Object to the form.

A. At 45 seconds?

QO. Yes.

A. I -- let's see. You know, I don't
have an exact -- I don't have calculations for that.

Q. Why don't we back it up?

She is going 65 miles an hour.
A. Right.
Q. How many feet per second is she
traveling?
A. 95.
Q. It is your testimony that the turbo

failed at 45 seconds prior to the crash?

A. Again, I said -- what I said is that
ato--

QO. We are doing math.

A. Excuse me.

It's somewhere in 45 seconds. It
could've been -- it could've been all the way as far
back as five minutes. But, likely, it started to
come apart. In other words, it started to fail five
minutes prior and then you have -- you have -— the
total failure was about 45 seconds prior. It

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could've been earlier than that. There's nothing --
it -- the failure is not going to happen -- it's not

going to be an absolute failure all of a sudden.
It's going to be over a period of minutes. And it
could even be up to a period of hours before this
actually fails. Total failure that is.

QO. You have testified that at 45
seconds, the speed of the tractor trailer
precipitously dropped. Yes or no?

A. It did. Down to zero miles per hour.

Q. Would it not be important to your
analysis to know where Ms. Hartung was in relation
to the tractor trailer at that point, 45 seconds

prior to the accident?

A. Again, my analysis was dealing with
the commercial motor vehicle. That was my primary
analysis.

Q. At 65 miles an hour, Ms. Hartung

would be traveling 95 feet per second?

A. At ©5 miles per hour. That's
correct.

Q. So at 45 seconds prior to the
accident, that puts her 256,500 feet behind to the
accident, according to my math. Does that sound

correct?

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MS. RAINES: Object to form.

A. I don't have a calculator with me
today.

Q. Did you bring one with you?

A, I have a cell phone calculator.

Q. Okay. Get it out.

A. Okay. What was your input?

Q. You said at 95 feet per second -- at
65 miles an hour, she is traveling 95 feet per
second. So when the tractor trailer's speed
precipitously dropped at 45 seconds, how many feet

was Ms. Hartung behind --

A. 4,275.
Q. Walk me through that equation.
A. 95 feet per second, all right, at 45

seconds is 4,275 feet.

Q. She would've been 4,275 feet from the
point of the accident when the tractor trailer's
speed precipitously dropped 45 seconds prior to the
accident as you testified. Yes or no?

MS. RAINES: Object to the form.
A. Repeat that again? I'm sorry. I was
looking for something.

QO. She would've been 4,275 feet from the

point of the accident -- when the tractor trailer's

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speed precipitously dropped 45 seconds prior to the
accident, according to your testimony?

MS. RAINES: Objection.

A. Yes.

But, she would've been also been at
that point there, too, she would've been out of
sight -- that truck would've been out of sight based
on my inspection of the site. She would not have
seen the truck at that distance. Because you do
have -- you do have some minor blinds up there, as
well as you do have some small -- slight -- as a
matter of fact, just after Exit 106, I believe it's
106, which is the exit just prior to the crash
point. Just prior to that crash point, there is a
—~ there's an elevation, and then it levels out, and
then it starts to rise again and that's where the
crash occurred. So, she would've had no more than a
quarter mile, maybe -- maybe a half a mile of visual
on that commercial motor vehicle -- on that truck.

QO. I think there was some testimony
earlier, you said 400 to 500 feet would be the
looming threshold?

A. Yes.
QO. So you were retained on October 2ist

of 2013?

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A. That's correct.

QO. When did you go and do an actual
scene inspection?

A. January 24th of 2014. On a nice,
snowy afternoon.

Q. I saw that from your photographs.

Did you take into consideration --

what time did you do your inspection?

A. It was around 4 p.m.

QO. Were the conditions that were present

at that time the same as they would have been on
June 29, 2011?

A, No. Because of the fact that you
have southbound traffic going into Charleston, which
would be likely much more considerable than what I
was seeing in all likelihood. There was still a
relatively significant amount of traffic. A lot of
tractor trailer traffic.

Q. Did you ever look into whether this
particular roadway had been altered in any way,
Shape, or form from June 29, 2011 to the point that
you did your inspection and then ultimately rendered
your opinions in this accident?

A. No. I didn't look in to it. But, it

appeared that it would've been -- it's -- I come

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from a background of highway construction many years
ago. And this looks like it has not been overlaid
or anything to that effect in some time.

Q. How about the shoulder?

A. The shoulder does not look improved
either. And also comparing that with the
photographs you have, exterior rumble strips, you
know, things of that nature, that tell me that it's
the original condition that it was at the time of
the crash, less the snow.

Q. Did anyone participate in the
inspection with you, other than yourself?

A. No. Just me.

QO. You said that there was snow on the
road that day?

A. It was -- it was plowed off. It was
not affecting my judgment in any way, shape, or
form. Iomean, there was -- it was on the shoulder
-~- beyond the improved shoulder on the soft
shoulder, if you will.

QO. What is "the soft shoulder"? Just
explain that to me.

A. That's dirt. It's also called turf
repair area, turf repair strip.

That had some snow on it. But, it's

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-- it wasn't significant.

Q. Did you take any notes at the
inspection?

A. I did.

Q. Those are the notes that you brought
with you today?

A. Yes, Sir. These two sheets here.

Q. Two take any measurements while you
were on scene?

A. I did.

Q. Are those measurements depicted in

those pages of notes that we have here?
A. They are.

They're typical of an interstate
system of the Eisenhower interstate system. The
shoulders -- the improved shoulders, 11 foot wide,
the two travel lanes southbound are both 11 foot
wide with skid marks and a yellow fog line to the
left and a white fog line to the right, and outside
the white fog line on the right was rumble strips.
Mr. Rickard had said that they're 12 feet lanes.
They're not. They're 11 foot lanes travel space.
And there was guardrail at a certain point where the
depression is where the tractor trailer came to

rest. No guardrail, earth and berm, where the

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crashed occurred.
Q. Did you take any photographs while
you were doing your inspection?
A. I did.
Q. Did you bring those with you today?
A. I sure did.

MR. MONTGOMERY: Do we have these?

MS. RAINES: I dontt have those, for
the record.

Is that a CD?

THE WITNESS: It's a ThumbDrive.

MR. MONTGOMERY: You can give those
to me.

MS. RAINES: Is this your original?

THE WITNESS: No. I've got them on

the computer.

Q. What did you photograph in
particular?

A. Essentially, I took pictures of where
the crash site would approximately have been. I

took photographs of the encroachment on to the crash
Site. Looking back at the crash site, behind -- in
other words, where the crash site is, took 180
degrees photographs of -- again, the approximate

crash site. I don't have the exact location. But,

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it's within 10, 15 feet either way.

Q. When you say you have the exact
location, why were you unable to determine the exact
location of the crash?

A. Well, with any degree of certainty, I
mean, being able to make an absolute declaration
that this is the location where the crash occurred,
it's kind of difficult because you have a rolling
crash. You don't know specifically. I cannot say
this is where the impact occurred. Now if it had
occurred and I was able to look at the scrape marks
and so forth that you see in the photographs from
the State Police, yeah. Sure you could get
accurate. But as far as any evidence that really
tells me exactly where -- I mean, I saw some gouge
marks and so forth. But, I don't know if they were
exactiy from this crash. They were minor gouge
marks.

Q. So you did see gouge marks at the
scene but you didn't use them as the location of
this crash?

A. No. Because I couldn't determine,
with any degree of certainty, that that was from
this crash.

Q. Have you ever rendered any testimony

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1 in any matter where there was a tractor trailer that
2 was parked on the side of the road that was struck
3 by another vehicle?
4 A. You know what? I -- I'm sure I have.
5 I'm just not -- I'd have to look into that for you.
6 I'm sure that I have. I just don't remember

7 specifics. But, I would have to look into that.

8 QO. Did you find fault with the tractor
9 trailer driver in those cases?
10 A. Again, if I don't recall the
Ll specifics, you know, I don't recall the specifics.
12 I -- I want to say that I have
13 rendered opinions on trucks on shoulders.
14 Specifics, I don't -- I don't recall. JI don't
15 recall the specific cases, I don't recall the
16 specifics of any event.
17 QO. Would any of those cases be listed --
18 A. Let me see the year when it started

19 actually.

20 Q. I think it goes back three years.

21 A. I think that's what Rule 26 requires
22 me to demonstrate.

23 No. This actually goes back from day
24 one. Yeah. 2009. So -- yeah.

25 But, I couldn't tell you, offhand, if

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any of them were shoulder related. Because
sometimes I get a phone call and somebody says would
you -- you know, from a defense standpoint, as I was
telling you earlier on, somebody calls and also said
that they would like -- you know, an attorney calls

and they would like me to represent them from a

defense standpoint -- oh actually, yes. Ido. I do
have -- I just recalled one. It is up in Boston.
Paul Zerola. Z-e-r-o-l-a.

I'm writing on here "Shoulder crash."
Q. Who do you represent in that case for

Paul Zerola? The plaintiff or the defendant?

A. Plaintiff.

Q. This was involving an improved
shoulder?

A. Yes.

QO. That is similar to the shoulder we

have in this case?

A. It was an interstate. So, I have not
yet gotten a chance to get up there and inspect that
shoulder and I do anticipate doing that. So, it is
-- it is an improved shoulder and there was a car
that ran in to the back of the -- in to the -- I'm
representing the passenger of the car.

Q. You are representing a plaintiff ina

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case where a tractor trailer had pulled off the road
and you are finding fault with the tractor trailer
driver that pulled off the road?

A. It was a straight job. It was a
straight job truck. Yeah.

QO. Yes?

A. Yes.

That's the first time you had to

correct me on that, too.

QO. In that case, if you don't mind, what

is the basis of your opinion?

A. Well, I -- it's an open case, it's an
open matter. So, I don't know how much I'm at
liberty to discuss without speaking to counsel. So,

I'd rather not, without speaking to counsel.

Q. It is probably better we talk about
it now than on the stand. That is your call.

MR. MONTGOMERY: Off the record.
(Discussion held off tne record.)

Q. Prior to going off the record, we
were talking about the case where you rendered an
opinion in favor of the plaintiff that resulted from
a tractor trailer accident where I believe a motor
vehicle collided with a truck that was parked on the

improved shoulder. Correct?

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A. That's correct.
QO. I don't want to know the specific
details of the case. There was some question as to

whether you have actually authored a report or not
in that matter. What exactly did the tractor
trailer driver do wrong in that situation?

First of all, was this a mechanical

breakdown situation?

A. No. It was a mechanical maintenance
Situation.

Q. What is the difference?

A. He had the reburn on his -- for the
diesel fuel particulate filter reburn. It kicks on

at a certain point and tells you you have to --
you've got to do certain things with the truck.
But, you have a period of I can't remember how many
miles it is before you have to do this quick
service. And the service essentially is pulling
over to the side of the road -- not the side of the
road. Ina safe harbor, safe refuge, and allowing
the vehicle to regen itself. Okay? This guy, who
wasn't trained properly, the light went off and he
immediately pulled his truck off the side of the
road at 2 otclock in the morning and didn't put out

any of his required warning devices. And low and

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1 behold -- and it was a straight job truck. Another
2 vehicle crashed in to the back end.
3 Q. So you found fault with the driver of

4 that truck for pulling his vehicle on the side of

5 the road in the situation you just described? Yes
6 or no?
7 A. I find fault that he did not have to

8 pull that vehicle over to the side of the road. He
9 had up to 50 miles and a multitude of exits that he
10 could have taken that vehicle off the side of the
11 road and allowed that service -- that regen service
12 to take place.
13 QO. T'il ask the question again.
14 In the situation that you just
15 described, you found fault with that driver for

16 pulling his vehicle on to the side of the road? Yes

17 or no?

18 MS. RAINES: Objection. Asked and

19 answered.

20 MR. MONTGOMERY: He didn't answer.

21 A. The answer is yes. But, there's also

22 a follow up with that, too.

23 Q. I appreciate that.
24 A. Is that the driver pulled his vehicle
25 over to the side of the road when he shouldn't have.

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He should have taken it to an exit up the road where
he could've safely gone to an area and allowed his
particulate filter to regen itself.

Q. Is that because this truck was still

moving? Still operational?

A. No. It was primarily lack of
training. That he should have been trained
accordingly. And he was not.

Q. In that situation, he should not have

pulled off the road and in this situation, Mr.
Yelverton should have?

MS. RAINES: Objection to form.

A. That's not a yes or no.
QO. Yes or no? That's the opinion?
A. This -- the particular case in

Boston, the driver should not have pulled his truck
on to the shoulder because the truck was still
operational for up to I believe it was either 45 or
95 miles. He had another -- a considerable amount
of mileage to go before his vehicle would shutdown
on him. And it's just a maintenance part. 50,
instead of finding a spot like a truck stop or
something to that effect and doing the regen
process, what he did is as soon as the light went

off on the truck, he immediately pulled his truck

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over to the roadside. All right? Which is not
correct. Because it's a breakdown lane. All right?
It's considered by some to be a breakdown lane.

It's not a place to go and set up your truck and do
maintenance on your vehicle. JI mean, who's gonna
pull over and do an oil change on your truck because
your mileage hits another 5,000 miles on a roadside?
You take it to a place where it's gonna be
appropriate. He had time to do that and he didn't
do that.
In Mr. Yelverton's case, Mr.

Yelverton had at least 45 seconds, actually up to
five minutes, to make a determination that my truck
is malfunctioning, there's something wrong with my
vehicle, I'm an experienced commercial motor vehicle
so I better get my truck off the road -- off the
highway. And he had opportunity to do that at Exit
106 and he didn't. Then after Exit 106, he had
opportunity to take it to the shoulder and he didn't
because he said he was concerned about driving off a
mountain.

QO. In the future, I'll be more careful
about giving you yes or no questions that allow a
platform on which to pontificate concerning that

case, this case. I was to get a more simple out of

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you. I'll try a different method.
A. Tt's understood. But, it's not that
simple.
MR. MONTGOMERY: Off the record.
(Discussion held off the record.)
Q. Did you make any determinations in

this matter with respect to the point of impact on
the Hartung vehicle?

A. Looking at it, I could -- I can -- I
certainly can discern that 1t appeared that you
can't just take Hartung's vehicle. You have to take
both vehicles in this situation.

Q. I'm asking about the Hartung vehicle.
Work with me here.

THE WITNESS: I hope you're recording
down the laughing part.

A. You could see that the -- on the
Hartung vehicle, it appears that the primary impact
was on the right-hand side, the passenger's side, of
her vehicle.

QO. Would that indicate that at some
point, she did perceive that a collision was
imminent?

A. In my mind, yes.

Q. Did you determine where the point of

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impact was on the Kenan Transport tanker?

A. On driver's side bumper. On the --
on his DOT bumper on the back.

O. Again, that is consistent with Ms.
Hartung, at some point, realizing that she was going
to crash in to the back and trying to steer left?

A. It is. It is.

Or I'll just say yes.

Q. Do you recall if the West Virginia
police report had any information with respect to
the point of impact?

A. IT believe it did. And it shows the
vehicles, where they -- with the -- Yelverton's
vehicle on the shoulder post crash and it shows Ms.
Hartung's vehicle straddled over the skip lines on
the southbound lanes.

QO. Let me ask you this. In your
inspection, did you see any tire marks or any
markings on the roadway that would be indicative of
an evasive maneuver on the part of Ms. Hartung?

A. I don't think -- I don't think
photographs allowed for that analysis.

Q. Was there any mention of that in the
police report?

A. No, Sir. I don't believe so.

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QO. So you have no evidence that there
were any road markings or anything like that that
showed an evasive maneuver on the part of Ms.
Hartung?

A. Well, I can only base it on the
photographs because of the fact that obviously all
that evidence would've been gone by the time I got
out there to do my inspection this past January.
But, based on the photographs, I mean, there's some
degree of tire marks where you could see where her
car -- upon impact where you could see the front
right tire kind of took a dive down and it made an
impression on the roadway. But, other than that,
there is no other pictures that are available that I
can confidently say that there was or there wasn't.
I just don't have that information.

Q. If you had seen any evidence in a
photograph or during your visit, you would have --
your scene visit, you would have noted that in your
report. And that is any evidence of an evasive
maneuver.

MS. RAINES: I am going to object to
the form. Are we still talking at the Hartung
vehicle? Just to be clear.

MR. MONTGOMERY: We're talking about

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the roadway now.

A. Well, you could see in the
photographs, there's one photograph that shows
probably the most clear point of impact where you
could see leading -- where it was actually the tire
marks from -- the tire marks from Yelverton's
commercial motor vehicle after the crash. It was
post crash. Prior to that, there was nothing that I
can point to to specifically say that it was -- that
shows Ms. Hartung's skid marks or something to that
effect.

Q. Have you personally ever spoken to
Ms. Hartung?

A. No, sir.

Q. The only information with respect to
how the crash happened is her deposition testimony
and perhaps some of her answers to the written
discovery in this matter?

A. Well, it's a plethora of things that
you put together. You put together, you know, the
ETOG data, her testimony, Yelverton's testimony,

State Police reports, and so forth to come up with a

conclusion. It's -- you know. It's not just one
document.
Q. Did you measure the improved shoulder

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-- how did you determine what part of the improved
shoulder to measure whenever you came up with the
measurement for the improved shoulder?

A. Tt would come from the turf strip,
which is the soft shoulder. So, the dirt, if you
will. Out to the -- real technical term. Out to
the right-hand fog line. The outside part of the
right-hand fog line just beyond the rumble strips.

Q. Ts that uniform on I77 South?

A. Tt's -- it's, pretty much, uniform as
far as IT know throughout the interstate system.

Q. Did you take any photographs of other
areas as you approached the scene of the accident
showing that it's uniform?

A. No. But, I've done enough work on
the interstate system over the years to Know that
it's relatively close to uniform. 11 foot wide
lanes. But, that's just travel portion. Did I

answer your guestion? I apologize.

Q. I am talking about the improved
portion. You give an opinion at some point --

A. The improved shoulder?

QO. --~ the improved shoulder is 11 feet
wide.

A. Right.

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QO. Is that uniform on I77 heading
southbound?

A. Well, I didn't get out and measure
every, you know, guarter mile or what have you.
But, observation would say that yes, it's relatively
standard.

Q. When you say “relatively standard" --

A. ll foot. It could be 11 foot, 4

inches or 10 foot, 9 inches.

And I know that under -- under
construction -- heavy highway construction
regulations, that the placement of this -- the state

and the federal government are gonna get their
money's worth. So, if it's an 11 foot section
highway, they want an 11 foot section improved
shoulder, they want 11 foot of asphalt. If it's 10
foot, they're gonna want 10 foot.

Q. Did you look at the specifications
for the dimensions as far as the design and
construction of this highway?

A. No. But, I'm very familiar with
that. Because I come from a highway building
background many years ago, as you see on my CV.

Q. Can that vary from state to state,

place to place?

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A. It's somewhat typical. If you
measure the improved shoulder in Jacksonville, you
might wind up with 11 foot. If you're in Jersey,
you're gonna wind up with 11 foot. Of course on the
New Jersey Turnpike, it's wider. You know. Getting
down on Interstate 40 in Tennessee, I believe it's
11 foot. So, it really depends.

Also, there's variables, too. You
have some areas that are wider than others. But,
the relative norm is 11 foot.

Q. I guess my question is, do you have
any evidence that the improved shoulder was 11 foot
in width in the five miles or six miles leading up
to the scene of this crash?

A. It appeared to be. Again, I did not
get out and measure, you Know, five miles' worth of
shoulder by quarter mile increments or what have

you. But, it appeared that the majority of it was

11 foot.
Q. You are basing that on your
perception --
A, That's correct.
Q. -- as you drove down the highway?
A. That's correct.

And most important I think is the

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shoulder -- the improved shoulder coming up to 106
and just beyond 106. And I believe that I'm getting
that exit correct. Bear with me one second here.
I'm pretty sure it is. Yeah. 106, which is Edens
Fork exit. So, Edens Fork exit.

So, most specifically right after
106, you have the 11 foot shoulders. And that was
the opportunity. Since he didn't take the exit,
knowing that he had a problem with his commercial
motor vehicle -- since he didn't take 106 as a place
of safe refuge, he still had a shoulder -- 11 foot
shoulder going after Edens Fork. But, there was
also --

Q. Based on your interpretation of the
five minutes of him having trouble, et cetera, et
cetera, I understand.

Did you take a measurement of the
grade at or near the point of the accident?
A. Approximate. Yes.
Q. Did you use a tool to measure the

grade or --

A. I did.

QO. What kind of tool was that?

A. A protractor.

Q. How would you go about doing that? I

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wasn't the greatest in math. How would you measure
the grade of a road?

A. It just gives -- it gives you grades
and percentages of -- you know, percentages of
grade.

Q. Is it an electronic one?
A. No. It's manual.

And then I also have a level, too,
that you set down on an angle just to confirm it and
that level that sits on an angle tells you -- that's
electronic. It tells you exactly what the
percentage of grade is.

Q. Did you just measure the grade in the
area of the accident or -- let's say for instance
what the grade of the road is a mile back?

A. No. I -- I did it starting at mile
marker 110, which is a half percent.

And then at 109 was a one and a half
percent upgrade.

108.5 was a half percent downgrade.

108 was one and a half percent
downgrade.

107, one and a half percent upgrade.

Edens Fork, no. T didn't have Edens

Fork.

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And then crash location was
approximately 2 percent.

And these are all rough dependent
upon where you take the actual measurement. It's
just so much as a simple stone getting underneath
that's sticking up out of the bituminous asphalt.
Surface can affect that slightly.

Q. I am confused. In your report, you

say that the area at or near the crash was 4

percent. You just said 2 percent.
A. No. I didn't say 4 percent.
QO. Page three, paragraph three. If you

could take a quick look at that. Would you read the

second sentence there in paragraph three?

A. Yeah. Yeah. I did say 4 percent. I
don't know -- crash location -- I had it down on my
field notes here as 2 percent. Is it a typo? I

don't know. My field notes say right here, "Crash

location, 2 percent."

So, I don't know how that -- I don't
know how -- that is a typographical error. Had to
be. Because I would've taken it right -- I don't

know where I picked this up from. But, here on my
field notes, you could see, right here, "Crash

location, 2 percent." I don't know how I made that

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error.

QO. Does the difference between 2 or 4
percent affect the conclusions that you have reached
in this matter?

A. No. No. It wouldn't affect it at
all. Especially because of the fact that he's
coming off a relative stepped up flat surface right
by Edens Fork there. Watching other tractor
trailers, too, they were consistently at, you know,
50 mile an hour, 40 mile an hour coming up that
grade?

QO. If you want to get your report out,
we are getting to the meat-and-potatoes here. We
are moving along nicely.

On page three, you make the statement
"Unable to avoid the CMV's cargo tank located in the
right lane of travel. Hartung crashed into the rear
bumper of same causing severe injury to Hartung."

Why was Hartung unable to avoid the

rear of the commercial motor vehicle?

A. I think that it just -- the closing
-~- closing. It just closed in on her so quickly.

QO. You didn't do any perception-reaction
analysis?

A. No. We covered that. No.

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Q. Would that be something that you
learned at the IPTM that you would need to do before
rendering an opinion with respect to whether

somebody had time to perceive and react and avoid

something?
MS. RAINES: Object to the form.
A. Again, my opinions are based on the
commercial motor vehicle. Predominantly the

commercial motor vehicle operator's actions of what
he did or did not do in compliance with the FMCSR.
QO. You made your statement in your

report "Unable to avoid the CMV cargo tank located
in right lane of travel. Hartung crashed into rear
bumper of same causing severe injury to Hartung."

You are saying she was "Unable to
avoid." I am saying what are you basing that on,
scientific or otherwise? The fact that the crashed
happened?

A. That's it. The fact that the crash
occurred tells me in my mind that she was unable to
avoid it. From the point at which she perceived it,
reacted to it, she was unable to avoid the crash
based on the simple fact of the crash.

Q. But you didn't doa

perception-reaction analysis. So essentially what

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you are saying is because an accident happened, it
was the truck driver's fault?

MS. RAINES: Objection to form.
Mischaracterization.

A. I think that parking a commercial
motor vehicle on a highway and somebody striking it,
would in my mind make it the fault of the commercial
motor vehicle operator.

Q. You have also given the opinion that
parking a motor vehicle on the side of the road also

is the fault of the truck driver, as well.

A. Again, that is a totally different
scenario. You can't -- it is a completely different
scenario. We are talking about a breakdown versus a
maintenance issue. So, it is totally irrelevant.

This guy drove the straight job truck. He hada
maintenance issue of up to -- and I don't recall
whether it was 95 miles or something like that, that
he could've maintained that issue very easily ata
truck stop or a safe refuge off an off ramp. He had
that opportunity. His commercial motor vehicle was
mobile. This commercial motor vehicle here, after
it passed 106, was definitely immobile after the
turbo blew up and 45 seconds prior had a total loss

of power.

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QO. And you were retained by Paul Zerola
in that case?

A. Yes, sir.

QO. Do you know who the defense attorney
1s?

A. No, I don't.

QO. Do you know where that case is filed?
Is that information in there?

A. It's -- it should be in there I would
think. I'm not sure of the venue.

Q. I will look at it later. I don't

want to belabor it right this second. Obviously, we
are going to look at that later. I think it's
pretty pertinent to the situation that we are
talking about today.

In the second -- on page three,
second paragraph from the bottom, you say "While
traveling on I77 in the right lane of travel,
Hartung came upon the cargo tank CMV essentially
stopped or near stopped in the right lane of travel
on a moderate incline."

It doesn't make any difference to
your analysis whether it was stopped or still
moving?

A. Very little. I think that it's more

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detrimental if he was stopped in my opinion. Based
on the ETOG data, it appears to me that he was
stopped. Five miles per hour, from an impact
standpoint, is -- you're running into -- if you're
running in to the back of a wall at 65 -- 55 or 50
miles per hour versus five miles per hour -- excuse
me zero miles per hour versus five miles per hour, I
think the end result is gonna be relatively the same
or very close to it.

Q. Specifically, do you have the ETOG
data that you relied on in formulating the opinion

that he was stopped?

A. Sure. Here you go right here. Right
at the bottom right there. Zero miles per hour.
This is five miles per hour here. The first

increment up above that is five miles per hour.

Q. You have that happening after 10
o'clock and 30 seconds. Correct?

A. Shortly thereafter.

O. Do you know what time this accident
occurred?

A. Exactly?

QO. Yes.

A. No. Nobody knows exactly what time
it occurred. I'm looking at this here and seeing

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what's happening with his roms and with his miles
per hour speed rate. Very clearly, it appears to me
that he's going to total failure.

Q. Did you testify earlier that after
the accident, he pulled his truck off the road?

A. He did.

QO. How was he able to do that if it was
a total failure?

A. He was on his way to total failure.

QO. Why would he take it down to five
miles an hour?

A. Because he was able to limp off the
roadway at five miles per hour. Just enough to get
it off the roadway.

Q. So your testimony is that he was on
his way to total failure but was stopped on the
roadway, but wasn't at total failure?

A. Was not completely at total failure
but well on his way.

Q. So he would have been moving?

A. He was able to move enough to limp
his truck off the roadway at five miles an hour
which took him about 15 seconds.

QO. You testified that you believe at the

point of the accident that he may've been completely

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stopped. Why would he have been completely stopped
at the point of the accident if he was able to drive
his truck off the road?

A. The same reason that he probably
didn't realize that he should have taken his truck
off the road. Because he's not thinking clearly
because he's on his cell phone, engaged ina
conversation rather than thinking what he should be
doing of getting his truck off the roadway.

QO. How do you know he was on his cell
phone at the time of the accident?

A. Tt seems logical to me that he was --
at the time of the actual collision, I don't know if
he was, but sometime in this 45 seconds prior to it,
I believe very well that he was, which took his
attention away from the task at hand, which is
getting his vehicle to a place of safe refuge.

QO. But you don't know exactly what time

the accident happened?

A. No. I -- nobody Knows exactly what
time. It's estimated.

QO. What time is noted in the police
report?

A. 10 o'clock.

QO. Was the truck, based on the ETOG data

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1 that you are looking at right now, moving at 10
2 o'clock?
3 A. It was physically moving at 10

4 o'clock. At exactly 10 o'clock, it was at 20 miles

5 per hour

6 QO. At what point now did it go actually
7 tO zero?

8 A. Went down to zero at -- it would be

9 about 10.00.47 I would say? No. Excuse me. Take

10 that back. 10.00.40 maybe?

11 Q. Don't you think that that's more
12 consistent with him stopping the truck after she
13 rear-ended him?

14 A. No. Because he took his -- he

15 immediately -- I believe that what happened is on

16 that impact, all right, that impact, obviously you

17 can see where it -- on that impact, you could see

18 the truck moving forward. He comes forward, he

19 pulls it up 15 -- at five miles an hour for 15

20 seconds to limp it off the shoulder. So even -- but
21 I guess the main point is -- that's why I left some

22 latitude in the report. Whether he was doing a

23 total of five miles per hour or zero miles per hour,
24 five miles per hour is a speed that he should have
25 removed his vehicle from the roadway. He should

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1 have started coming off the roadway at 45 seconds --

2 actually prior to that. Within that five minutes,

3 he should've been looking for an exit.

4 Q. At that point, he would've been past
5 any exits?

6 A. Not within the five minutes. At the
7 45 seconds, he possibly would've been past Edens

8 Fork. But, if he was thinking clearly, rather than
9 being engaged in cell phone conversations, he
10 would've been thinking at getting off at Exit 106

11 rather than talking on his phone.

12 QO. Let's talk about that.
13 In the 45 seconds when the speed
14 precipitously drops, that's the term we coined

15 today, where the speed drops, you think that's when

16 he heard the pop.

17 A. I believe that it may have been.

18 QO. How far would he have traveled in

19 those 45 seconds?

20 A. T have that broken down. Page six I
21 think it is. Or seven. Here we go.

22 Page eight. Calculating the average
23 speed for approximate 15 second increment is the

24 following: The first 15 second increment is 42.5
25 because you could see that slide is consistent.

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Q. My question was about the 45 seconds.
A. Right. That's what I'm talking about

here.

You could see, in that 45 seconds on
the ETOG, that his speed slide is consistent.
There's no fluctuations in that last 45 seconds.
So, it's fair enough to be able to come up with an
average for each 45 seconds in 15 second increments
as to what that speed was. So, the average speed
for the first 15 seconds of that 45 seconds is 62

feet per second. All right? The second increment

is 40 feet per second. Third increment is 7.5 feet
per second. Okay?

Q. How many feet is that?

A. 540 yards.

Q. How many feet is that?

A. Which you take in five anda half

football fields or convert it to 1,620 feet.
Q. He traveled 1,620 feet in that 45

seconds?

A. Yes.

©. How far away was the Edens Fork exit?

A. Edens Fork is sitting at 106. Exit
106. Crash occurred at 105. -- 105.2.

O. Four-fifths of a mile?

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A. Hold on one second.
Okay. What was that?
QO. How far away was the Edens Fork exit
from the -- how far away was Edens Fork exit from
when he started experiencing the 45 seconds?
A. Well, it's -- an exact, you're not

gonna have because the mile markers don't give
exact. And I couldn't shut the highway down to
measure all this.

Q. How far away was the Edens Fork exit
as you have stated in your report?

A. I would say probably a quarter mile.
Approximately.

Q. I have to go back to your report.
You do say it was four-fifths of a mile away.

A. Four-fifths. All right. 95.5
football fields was -- yeah. Four-fifths of a mile
if we're looking at the -- and that's based on mile
stickers -- mile markers.

Q. Tt is four-fifths of a mile from the
accident scene. We did the calculation he traveled
1,620 feet after he heard the pop in that 45
seconds. Yes?

A. Right.

QO. So he would've been past the Edens

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Fork exit, based on the math that you just gave me--

A. That's correct.

Q. -- when he heard the pop?

A. T'm not saying that he would not have
been past it. The pop occurred after -- if the pop

occurred at that 45 second mark, it would've been
past Edens Fork.

Q. You render opinions in your report
about pulling off at Edens Fork?

A. But, that's within that five minute
period. It's not within that 45 second period.
Within that five minutes, he knew that he had a
problem. And he did not act on that problem.

Q. But he testified that he didn't know
that he had a problem?

A. I'm an experienced truck driver.
When you're driving that truck and you live in that
truck every single day and you're driving over the
road, you know when you have a problem. You know
when the turbo's failing. You know when you have a
flat tire. If you're driving along, you know you
have the flat tire on the trailer.

Q. You weren't in this particular truck
obviously.

A. No.

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Q. Do you know whether this is the truck
that Mr. Yelverton drove on a consistent basis?

A. I believe that was his first day in
at, if I'm not mistaken.

But, the point is that you understand
trucks. When you're driving a truck and you have
been driving that truck for a day or what have you,
you understand that vehicle. You get the feel of
the vehicle.

Q. Once you drive a particular truck for
a while, you start to get a feel for it?

A. Yeah. But, even still, if you're
driving a truck for an eight hour shift --

Q. I just want to understand how it is
that you are able to just conclude that he knew that
there was a problem for five minutes based on --
what are you basing that on?

A. Power. I mean, it's a power failure.
You know if your truck is not responding. When
you're stepping down on your throttle, you know your
truck's not responding, there's something wrong.
Whether it's water in the fuel or -- you know, or
air filter situation. Whether it's -- it could be a
whole host of different things. But, you get your

truck off the road.

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Q. This particular area in the five
minutes, would he have been going up and down hills
in West Virginia?

A. Sure. But, they -- the distance that
I traveled, they were not real aggressive hills.
They were moderate.

Q. Would those hills be of a significant
enough incline to affect the speed of a tractor
trailer?

A. Oh, sure. But, again, you would feel
-~- you would still feel your truck.

Q. What basis are you rendering the
opinion that five minutes and 15 seconds before the
accident, he should have known that he was having
trouble with his tractor trailer? You said power.
What is it that you are looking to that says this is

definitive, this is how I can make this opinion?

A. Experience. Experience. And plenty
of it. Experience of driving trucks, experience of
owning trucks. You know when you're having a power

failure in your vehicle.

Q. But that is your experience. You
weren't driving this truck.

A. But, I have been retained as an

expert -- as a commercial motor vehicle expert. So,

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I think that I should be permitted to express my

experience. I think that's what I'm retained for,
in part.
Q. IT am asking you, out of the

information that you reviewed, that you were able to
apply your experience as a truck driver to in order
to formulate that opinion.

A. Right here. ETOG. The ETOG
demonstrates to me that he -- he was feeling some
degree of loss of power. And he should have felt
it.

Q. The ETOG, does it not have
fluctuations in speed from 45 miles an hour to 60
miles an hour in this time period that you're

talking about he should have known there is a

problem?
A. Yeah.
Q. Tt does?
A. It does.
Q. You testified earlier that going up

and down hills would affect the speed of this
tractor trailer. How could you say there has to be
a power problem?

A. Look at the time period before he

started experiencing these problems. He maintained

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the speed at 65 miles an hour in these hills. Okay?
Then he gets to the point at 9.54.45 and starts
seeing a decline in his power. So, in my mind, he
was to have known.

Q. Are you equating a decline in speed
with a decline in power?

A. Yeah.

Tf you also look at rpms, too.
QO. What is it about the roms that
indicates that there is a decline in power?

A. Right in here. You can see the
fluctuation of the rpms. If you look here, on rpms
-- where are the time frames here? Roughly 9.56.00,
he has spikes in his roms. I mean, it just shoots
straight up. It goes from 1300 rpms, up to 1800
rpms for no rhyme or reason, while at the same time,
his power is declining going down. In other words,
he's losing power.

Q. Would his rpms go up as he was
climbing the hill or would they go down?

A. It depends. It all depends on what
he was doing with his throttle. And it all depends
on his load.

Tf you look at -- his rpm s are all

the over the place. That 1s not normal. His rpms

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are all over the chart. If you look at it -- look
at his rpms prior to 9.54.45, his rpms are
consistent all the way through. He's running at

1500 rpms.

Now where I would say he hit a little
bit of a hill or mountain is if you look at the time
distance here of 9.50.00. He has a little dip
there. That would say yeah. He was probably
climbing a hill at that point -- a small hill and
lost some roms. Then he gets back on a consistency
with 1500 rpms. And then here, at 9.55.30 roughly,
he has all kinds of spikes, which is telling me that
there is a significant power failure. And he
would've felt that, too. All of a sudden, he feels
his rpms go right through the roof on his truck
which tells me that somewhere in there is where he
was beginning to get failure on his turbo.

Q. What is the likely period of time
that we are looking at here?

A. It would be about -- it would be
about maybe 11 minutes. Half of that time in that
11 minutes, he's running along all clean, no
problems at all. And then all of a sudden, he has
these spikes in roms and he has the decline in power

or fluctuation in power. And that's when his turbo

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1 began to fail. I don't know exactly where the pop
2 began or occurred. But, I would believe it would
3 probably have happened just before total failure,

4 which is at that 45. 45 seconds prior.

5 Q. If you look at page four of your

6 report, down into the section here involving

7 italics --

8 A. Page four where?

9 Q. Just in the section where you have
10 started to write in italics.

11 A. Okay. Yep.
12 Q. You rendered some opinions under the
13 Federal Motor Carrier Safety regulations.

14 Specifically subsection "383.11 required knowledge."
15 I think my first question is, if a
16 commercial motor vehicle has a CDL, have they passed

17 an exam that basically states that they have the

18 required knowledge of the regulations to operate a
19 commercial motor vehicle?

20 Yes?

21 A. Yes.

22, Q. You are saying that he doesn't have

23 this knowledge but he is a CDL driver?
24 A. There is a part under the Federal

25 Motor Carrier Safety regulations which is 390.3,

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which is general requirements. Under general
requirements, it requires both the motor carrier and
the driver -- I think it's one -- two and three
under 393.3 -- excuse me. 390.3 that requires both
the motor carrier to have knowledge of the Federal
Motor Carrier Safety regulations and also that the
motor carrier will cause the driver to have
knowledge of the Federal Motor Carrier Safety
regulations. That's what points me back on to
393.111, where he is required, as driver required
knowledge. So, yes. He is entitled to drive a
commercial motor vehicle with a CDL A. With a CDLA
for an 80,000 pound articulating vehicle. But, he
also needs to have the knowledge of the FMCSR.
That's why you have -- motor carriers will issue a
driver a small version copy of this Federal Motor

Carrier Safety regulation that I have right here,

the green one. They'll give him a small copy of it
and say here, read this. Some of them will train on
it. But, he's required to understand what pertains

to him as a commercial motor vehicle operator in
here.

Q. Do you know whether he had a copy of
the FMCSA regulations?

A. FMCSR.

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1 I have no idea.

2 Q. Did you read his deposition?

3 A. I did.

4 Perhaps it was issued to him. But, I
5 just dontt -- I don't recall.

6 Q. Would it make a difference, in your

7 opinion, whether he had one or not?

8 A. Well, it would if he had taken the

9 time to read it. It doesn't make a difference if he
10 just put it in his glove compartment and got on the
il job and started driving.
12 Q. Subparagraph nine, you said that

13 these were parts that were not applied by Yelverton

14 at the time of the crash. You say "Speed

15 management. The importance of understanding the

16 affects of speed including speed and traffic flow."

17 There was some testimony earlier that

18 you really didn't know what the traffic flow was, at

19 least with respect to Ms. Hartung's deposition

20 testimony. Does that -- having heard that

21 deposition testimony change the opinions you are
22 rendering with regard to speed and traffic flow?
23 A. No.

24 If you look at the fact that he

25 claims to have been traveling at 5 to 10 miles per

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hour, that, in my mind, tells me that he violated

that section .9 out of 111 -- part 383.111, where he
didn't manage his speed correctly and recognize that
his speed was becoming a danger to the free flow of
traffic. And by traveling five miles -- allegedly 5
miles an hour in the right lane, which I think he

was at zero. But, you know, just given the fact of

him saying 5 to 10 miles per hour.

Q. Under paragraph 12, "Extreme driving
conditions." You have subparagraph, 111i where it
says "Extreme driving conditions. The basic

information on operating in extreme driving
conditions and the hazards encountered in such
conditions including mountain driving."
You just said that this was a 2

percent grade where the accident happened.

A. Yeah. I believe it was 2 percent.

Q. So this wasn't particular -- exactly
where the accident happened. This wasn't what you
would consider mountain driving. His inability to
understand mountain driving wouldn't have caused
this accident?

A. Well, if he understood mountain
driving, then he would understand going up a grade,

regardless of what that grade is. Because you are

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going to always have a transition from a one, to
two, to three, to four, to five on a 5 percent
grade.

If he were trained on mountain
driving, he would have understood he was going to
have a deceleration issue that's going to be more
quick with a turbo failure or a power failure than

if he was on a flat run say out in Utah.

Q. How do you make that -- how does that
-- you make that -- draw that conclusion and then in
15 -- paragraph 15 on page 18, say that this

specific area of I77 is not considered a mountain as

a personal assessment?

A. Okay.
QO. So how do those two mesh? The two
opinions. This isn't a mountain, but his lack of

training in mountain driving was one of the
contributing factors that you said throughout your
report to this accident.

A. State of West Virginia -- the State
of West Virginia is notorious for mountain driving.

They've got runaway truck ramps from West Virginia

down into Tennessee. A driver -- more particularly
on the east side. A driver has got to be cognizant
of driving in those conditions. Motor carrier has

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an obligation to make sure that that driver is
trained under those conditions, as it is -- as
stated in 383.111 reflecting back on, again, 390.3.
All right? Where the motor carrier has to have that
requirement to train their people.

Now if they had trained him on that
correctly -- this is a mountainous region. Don't
get me wrong. This is a mountainous region. Was
this particular spot where this crash occurred a
mountainous region? No. It was mountainous region.
But, was it a mountain at that point in time? No.
But, if he was properly trained under mountainous
conditions how to operate a commercial motor
vehicle, he would've realized that -- once he
started getting this power failure five minutes
prior, it should have registered in his mind that I
could be coming up on a mountain, upon ona hill
that I need to make sure that I get this truck off
the roadway quickly instead of riding it out.

Q. The accident, itself, did not happen
on a mountain? Yes or no?

A. At -- it happened on the foot of a
hill.

Q. IT am going to go back to your

paragraph 15 again.

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A. Sure. It's a hill.

QO. "The undersigned's assessment of the
specific area of I77 not being considered a mountain
is a personal assessment." So this wasn't ona
mountain. Right?

A. Again, I referred to it as a hill.
It's a slope going up into a hill. The region was a
mountainous region and if he were trained under
mountainous driving, he would've realized -- again,
he would've realized that I'm having a power
problem. I don't know what's up ahead of me here,
whether I'm going to be coming up into an incline
where I'm gonna have a problem so maybe I should
think about getting off at the next exit to figure
out why my truck is losing power. Instead, he gets
on a cell phone and calls daddy.

Q. Again, you are expounding on that
which has been asked of you. Again, I am doing my
best not to give you a platform to do that. But you
seem to enjoy --

A. Pontification.

Q. -- pontification and going back to
the same points, which honestly, when I ask you a
yes or no question as to whether your opinion is

that this doesn't happen on a mountain --

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A. It's a mountainous region.
Q. Where the accident happened.
A. This is a hill.
QO. I'm gonna read number 15. Are these
your words? "The undersigned's assessment of the

specific area of I77 not being considered a mountain

is a personal assessment"? Are those your words?

A. Yes. I consider the area a region.
QO. It's a yes or no question. You can't
do that.
MS. RAINES: It's been asked and
answered. I think we can move past that.
MR. MONTGOMERY: We are moving right
along.
Q. On page five, it says "Each of the

afore listed points of required knowledge that are
addressed below respectively as listed." Under
number one, you offered a solution to this problem.
You say they should -- the problem of ensuring that
Yelverton knew exactly what he was to do in the
event of a catastrophic breakdown of the CMV.
Correct?

A. That's correct.

Q. You state that "They should have

properly trained him in the proper driving

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techniques when and if he ever suffered a
catastrophic failure whereby in this event, he
suffered a significant and not near complete power
loss."

I am just trying to understand what
exactly your opinion is. Did he suffer a complete
power loss, a significant power loss, or a near

complete power loss?

A. Substantial near complete power loss.

Q. Again, you said before that he was
stopped.

A. And I still stick to that.

I mean, looking at the ETOG, it
appears that he had stopped -- he was stopped on the
roadway for a brief second -- brief few seconds and
then was struck and then pulled his truck forward to
the shoulder.

QO. Wouldn't you describe it, if he was
stopped, as being a complete power loss, not a near
complete power loss?

A. Not necessarily. I mean, he's coming
down to the point where -- he's slowing down to the
extent that he can't figure out what's going on.
Likely on his cell phone, suffers a crash where he

brings his truck down to zero miles an hour and then

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takes his truck off the side of the road.
QO. When a tractor trailer suffers a
power loss, what happens? Can it be driven?

A. Well, it depends on -- water in the
fuel. I mean, you -- it depends on what the
Situation is. You may be able to get it limped off
the highway. There are certain mechanical
situations where you can limp a truck off the
highway. There's other ones that you can't. You
know? You have a total failure of your -- of
electronics in your truck and you have a meltdown
for whatever reason. I'm just speculating.

QO. Did you mention water in the fuel?

A. Water in the fuel. That would be --

Q. What does that have to do with this
accident?

A. There's -- you drain the water in
your fuel lines every so often. If you have an
automatic -- there's automatic devices that will
also relieve water from your system. If you don't
have -- if you don't physically drain some of the
older trucks -- drain that water out, it's gonna
clog up your system. It's gonna clog up your fuel
lines and it's going to wind up causing your truck

to hesitate. That could be a similar type of

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Situation.
Q. That's not what happened here?
A. No. But, I'm using that as an
example. I'm saying there are other type
Situations.
Q. If you Look at your last sentence

here, you say they didn't train it. They should
have properly trained it. At the bottom, you say
"T£ they opted not to train this, they must ensure
his knowledge and ability to apply the regulation."

A. I'm sorry. Which one are you on?

Q. That first paragraph under
subparagraph one.
Do you know whether they trained him
in this or not?

A. I'm basing that on I saw no evidence
of that. All right? That they trained him on
anything of that -- to that effect. They trained
him on Smith System, which is a good training
program. But, I saw nothing from a syllabus
standpoint that said that, you know, Yelverton was
trained and the other drivers were trained in the
event you suffer a catastrophic failure, your truck
breaks down, what have you, get it off the highway.

Q. Did you look at the testing materials

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that he was given?

A. I did.

Q. Did you see any training for that in
there?

A. I don't recall seeing anything like
that.

Q. Just by virtue of the fact that he is

a CDL driver, should he not have this knowledge?

A. You would think. I mean, he's
trained that he's not permitted to drive a tractor
trailer with a flat tire, for example. He's got to
get his truck off the road immediately to the safest
place of refuge and get it repaired. So, you know,
you would think that that would also translate into
other mechanical issues if you have a malfunction.

Now is there anything specifically in
the CDL guidance as far as the driver's manual or
test, itself that says if you suffer mechanical
malfunction, do not park your truck on the highway?
I never saw anything like that and I doubt it.

QO. I did it again. Didn't I? I opened

that door. I don't have to open it very far. Do I?
That is a yes or no question.

A. Yes.

Q. "Speed management" here you have in

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subsection nine. You say that "The importance of
understanding the effects of speed including speed
and traffic flow." Then you say "They failed in
their very basic duty and requirement of ensuring

they understood the paramount importance of speed

management while operating a CMV." Correct?
A. Yes.
Q. What information are you relying on,

specifically, as specifically as you can be, that

ATL/KTC failed to train him on this?

A. They employed him and he applied his
truck to come to a -- with respect to speed, allowed
his truck to come down to -- that we know of, 5

miles per hour that he testified to 5 to 10 miles
per hour, that right there in my mind is telling me
that he does not understand speed management as it

relates to creating a hazard on the roadway.

Q. My question is, it has to do with
training?

A. It has to do with training.

QO. What information do you have that he

wasn't trained on that?
A. T've seen no document that would
indicate as such.

QO. So it is not necessarily his

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behavior. You just don't have any information
concerning -- there's no information in his training
that indicates that?

A. It's a combination of both. His
actions and seeing no documents that indicate --
QO. You will agree with me ina

hypothetical situation --
MR. MONTGOMERY: Tammy, you can
certainly object.
QO. -- someone could be trained on
something and then failed to do it. Correct?
MS. RAINES: Object to the
hypothetical form.

You can answer.

A. Oh. Sure.
Q. That could happen?
A. Sure they could.

I would like to see some backup
documentation that shows me that he was trained on
that particular item.

Q. Do you have any information either
way as to whether he had his four-way hazards on at
the time of this accident?

A. I believe he testified that he did,

although, you know, I don't know -- I don't know if

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I really choose to -- I believe that Hartung said
that he didn't.

So, I really don't choose -- I don't
know if I choose to believe Yelverton based on,
again, him stating that he was -- that he does not
talk on his cell phone when, before the crash, he
was obviously on his cell phone prior to the crash
and before his emergency call to his dad. And then
also him stating that the only reason that I didn't
drive off on to the shoulder was because I didn't
want to drive off the mountain. So all we have here
now is two travel lanes, that's it, no shoulder.

QO. Didn't you testify earlier that Ms.
Hartung might not remember exactly what happened
prior to the accident --

A. Yeah.

QO. -- 'cause she was in a crash, et
cetera?

A. Sure. That's why I'm putting more
weight on to Yelverton's credibility.

Q. By "putting more weight," do you mean
you choose to believe him or not believe him?

A. No. More weight as far as him saying
that he had his four-ways on. I think he would've

said anything at that point after he had time to

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think about it. Because he's on his cell phone.
He's not even thinking about getting off the
highway. I think the last thing he's thinking
about, okay, let me put my four-way flashers on and
come to a complete stop here on the interstate. I
don't think he was even considering that.

Q. Is there any indication in the police
report whether he was cited for not having his
four-way flashers on?

A. No.
But, then again, when they pulled up

on-site, he had time to put his four-ways on.

Q. You talk about the word "safe harbor"
in your report. Right?

A. Yes.

Q. Under the Federal Motor Carrier

Safety regulations, what is the definition of a safe
harbor?

A. I don't believe there is one that I'm
aware of.

Q. What is your understanding, as an
expert in the field of Federal Motor Carrier Safety,
as to what a safe harbor is?

A. It's more of just a -- an artful term

Saying that, you know, it's a place where, you

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know -- comparatively where a ship would go in the
event of a storm. That's where I -- I've taken that

terminology from, that phraseology is, in the event
of a storm, a hurricane, that ship, you know, is
gonna try to find safe harbor. So, it's just an
artful term that I use in saying that I believe
Yelverton should have exited from the roadway, taken
his commercial motor vehicle off the roadway to
protect others and find a place of safe harbor.

Now whether that's the very first
exit that he sees, that would be the most optimal
place to go once he realizes that he has a
mechanical issue.

Q. But you will agree with me that he
testified that he didn't know he had a mechanical
issue until he heard the pop?

MS. RAINES: Object to form.

A. And again, based on the ETOG data I'm
looking at here, if he did not --

Q. My question was about his testimony.
Not the ETOG data. Stick with me.

A. But, I can't use those independently.
I can't --
Q. I can ask you -- did you read Mr.

Yelverton's testimony?

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A. I did.

Q. Yes or no?

A. Yes.

O. Did he testify that he didn't know he
was having a mechanical problem? Yes or no?

A. Yes. But --

QO. There is no but.

A. There is a but.

Q. It is a yes or no question.

A. With respect, Counselor, I have a

right to respond to that.
The answer is yes --
Q. When I ask a yes or no question --
MS. RAINES: He gave you an answer.
MR. MONTGOMERY: That's it. Now he
wants to expound on that. I didn't ask him a
question. That's not productive.
©. I understand the desire to want to do
that. You have to sort of work within the confines
of the system that we have to operate in. Okay?
When I ask a question, you can answer it. If it's
an open-ended question, you can give an open-ended
answer. When I say yes no, you have to answer yes
or no. Quite Frankly, it's getting to be somewhat

detrimental to the taking of the deposition. You

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keep repeating the same, same, same things again. I
don't know that that's necessarily helping.

MS. RAINES: What we are going to do
is try to move forward. I would respectfully ask iff
you ask him a question, he be allowed to explain his
answer. You can certainly say a yes or no question.
In all due fairness, he should be allowed to give
you the response to which your question was geared.
If you believe he is not being responsive, then you
just let us know. I don't feel like there's been
anything he's not answered here today.

MR. MONTGOMERY: If IT ask a yes or no
question, that's all I want to know. It's fair and
we all do it. You ask yes or no questions, as do I.
A yes or no question is simply answered by a yes or
no. Not a but and then a ten minute explanation.
Agreed?

MS. RAINES: No. I disagree because
I don't want his testimony to be cut off by counsel.
I don't think that's fair.

MR. MONTGOMERY: I haven't cut him
off yet.

MS. RAINES: Okay.

Q. Anyway, back to -- Mr. Yelverton, you

read his testimony. Right?

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A. I did.

QO. He said he didn't know that he was
having a problem with his tractor trailer in the 5
minutes and 15 seconds that you said he was?

A. His testimony was that he -- yes.
His testimony was that he said that he did not

believe that he was having a problem with his

commercial truck -- with his truck.
Q. So he wouldn't have had any reason to
pull off the road -- pull off the exit. Your

testimony is that he would have passed an exit.
Right?

A. He -- within five minutes, no. I'm
sorry. Within the five minutes, he would've gotten
to the Edens Fork exit and he would've seen that
opportunity. He would've had that opportunity to
exit the highway.

Q. But if he didn't know he was having a
problem with his tractor trailer, he wouldn't have

any obligation to get off the roadway?

A. If he didn't know?

QO. Yes.

A. I would agree with that. Yes.

Q. On page five, when you talk about
"Extreme driving conditions," did you testify

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1 earlier that the grade of the road in the area where
2 the accident occurred is at 2 percent?

3 A. I did.

4 Q. Would you consider that to be an

5 extreme driving condition?

6 A. No.

7 But --

8 Q. I'll give you the but on this one.

9 A, Okay.
10 The area of the region is extreme
11 driving with respect to a mountainous driving.
12 Therefore, the driver should be aware that if he's
13 experiencing mechanical malfunction five minutes

14 prior, which I believe that he did, all right, that
15 he should have known that he's going to potentially
16 be coming up on another incline somewhere along the
17 way. And it could be a mountain that's gonna

18 completely shut him down. All right? In this case
19 here, it was a 2 percent grade that shut him down

20 and he should have known that.

21 Q. But this particular grade that he was
22 on was not an extreme grade. Correct?
23 A. No. This particular grade here, no.

24 Tt wasn't.

25 Q. Yet you are still rendering an

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opinion that he wasn't properly trained under
extreme driving conditions?

A. Based on the region of expectations
of the area.

MS. RAINES: Is that a yes?

Q. Yes?

A. Yes.

QO. Number 13, you talk about "Hazard
perceptions." What I specifically want to focus in

on was the last sentence where you say "ATL/KTC
should have ensured his understanding as to what to
do when he began to unintentionally and
uncontrollably slow and vehicles around him were
passing him, reasonably assuming vehicles passed him
at 10 a.m., Charleston, West Virginia bound."

What I'm focusing on here is, first
of all, you are making an assumption that other
vehicles passed him in order to apply this
particular part of the regulations?

A. Yes. It's an assumption over a five
-- five minute period.

QO. There was no information that you
reviewed in the record that supports -- necessarily
supports that?

A. No. There's --~ no. There's nothing

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in the record that says that -- no. There's nothing
that says that.

QO. The first sentence, "When Yelverton

recognized his truck slowing due to a mechanical
malfunction, he should have reacted to the perceived
hazard." Then you say "ATL/KTC should have ensured
his understanding as to what to do when he began to
unintentionally and uncontrollably slow."

I take that to mean that he was not
intentionally slowing his tractor trailer down and
he couldn't necessarily control the fact that the
tractor trailer was slowing down. Is that an
accurate assessment of what you have written?

A. That's correct.

QO. In number 14, we kind of touched on
this earlier, you use the terms "place of safe
refuge" -- the term "A place of safe refuge." Is
that the same as what you mean when you say "safe
harbor"?

A. Yes.

Q. Would that be the same as what you
would mean when you would say "safe haven" or does
safe haven have a different definition?

A. No. They would all be within the

same context.

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O. Would that be -- place of safe
refuge, would that be a place off of an exit ramp
perhaps?

A. A rest area. You know. Anywhere
where you're out of the potential of a vehicle
striking you.

QO. I've dealt with this term quite a bit
in my experience. Would a place of safe refuge be

on an 11 foot improved shoulder?

A. If you had no choice, then I would
say yes. It would be as safe as you're gonna
possibly get under the given circumstances. But,

it's not nearly as safe as getting off at Edens Fork
and there's a gas station that's right there at
Edens Fork on the right-hand side. Pulling your
truck in to there and calling a mechanic out to

service your vehicle.

QO. How wide is this tractor trailer?
A. 102 inches.

Q. I think you say 106 in your report.
A. No. It should be 102.

Q. Did you measure it?

A. No. It's just -- it's not a city

truck. So, it would be 102.

Q. You do say 102.

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A. Tt's not a city truck. So, it would
be 102.

QO. Did you look up the specifications
for the trailer or the tractor?

A. No. I know -- I'm very familiar with
them. With that type of vehicle.

QO. Again, in number 19, we talk about
mountain driving again. We already discussed, ad

nauseam, that this particular area wasn't a
mountain. I'm just asking, explain to me what
particularly Mr. Yelverton did or what in the
materials you looked at allowed you to come to the

conclusion that you reach in number 19.

A. Well, let me just read it real quick
first.

Q. That always helps.

A. Well, I didn't see any documents that

trained him on mountain driving and the motor
carrier sent him in to that region. Again, the
region which was -- iS a mountainous region. West
Virginia is probably the most notorious state on the
Bast Coast -- eastern part of the country for
mountain driving.

QO. I think they wrote a song about it.

A. So, it's -- there's many songs

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1 written on bluegrass about mountains in West
2 Virginia. Believe me.
3 So, it's a region of the country that
4 he should have been well familiar with the potential
5 of coming into another mountain knowing that he
6 had -- in my opinion, knowing that -- he knew that
7 he was having mechanical failures because based on
8 his ETOG, no reasonable driver would be able to
9 dismiss by saying I had no idea that I was having a

10 problem until the pop. Based on that, he should

il have known, based on the region that he was driving
12 in, that there is a pretty good likelihood that he
13 is going to approach other mountain. With a

14 mechanical failure, a power loss, he should have

15 recognized that, got his truck off at the very first
16 opportunity that he had.

17 QO. Let's move on to "5.2. "Unsafe

18 operations forbidden." In the first paragraph, you

19 say "The FMCSR strictly prohibits a CMV to be

20 operated in a condition such that a mechanical

21 breakdown may occur. Therefore, as soon as a driver
22 detects a breakdown potential or suspects a concern
23 that may lead to a breakdown on any roadways, he/she
24 must seek a place of refuge."

25 Are you saying they should get off

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the road on an exit ramp there?

A. Exit ramo or rest area. Whatever's
available to get them off the travel portion of the
highway -- especially the travel portion of the
highway. Secondarily, the improved shoulder.

QO. The improved shoulder is sort of a
last resort?

A, Yes.

Q. You talk about an exemption to this
particular regulation.

A. Well, motor carrier -- I mean, if the
driver knows that there's a place where he can get
his vehicle to that's -- and he can get it there
safely, then he has -- and this is more -- this is
often used in motor carriers dealing with motor
coaches, buses, to get the vehicle to a safe area.
So, if they know that they can get that vehicle to
exit -- if there were, hypothetically, Exit 105 and
105 had a bus repair facility at it, and he's
passing 106 but he's confident that he can get it to
there, then he can move -- he can travel on to that
point. A good example of that would be is if the
driver has a flat tire on the back of his tanker --
on the back of his cargo tank and he's at exit --

where this crash point is right here, he looks back,

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the crash never happened hypothetically. Looks back
and sees that he has a flat tire, he does not have
to pull over immediately to the roadside -- to the
improved shoulder, the breakdown lane. He can take
it off to the next exit and get the tire repaired at
that location. So, that's the exception.

QO. Let me ask you this. Where is the
cutoff? What would be considered too far away as
far as the garage?

A. Well, I would look at it -- if you're
unfamiliar with the roadway -- I know that he was
familiar with the roadway because he's traveled it
before. But, don't know if he's familiar with it to
the extent that he can sit here and name for you and
number all the exits. Very few drivers can do that
unless you live on that highway. So, it's somewhat
-- it's not foreign to him, but it's somewhat
foreign to him that he's not on that highway every
single day, traveling that same route every single
day. Then I would say that he probably knows those
exits very well.

But, that not being the fact that he
saw Exit 106. He knew that he had problems well
before that. He should have taken the opportunity

to come off Exit 106.

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O. Again, he testified that he didn't
know he had problems before Exit 106. I understand

that that's your conclusion that is based on the

ETOG data. I don't know that you can necessarily --
A. And experience.
Q. -- conclude what the driver knew or

didn't know when he testified that he didn't know.

A. And experience as a former truck
driver, too.

QO. But that is an important distinction.
It's his judgment call, whether or not to get off
the road. Right?

A. Well, it's also his judgment call to
take the truck off to the shoulder, where he says is
a mountainous drop-off and he's gonna crash and he
tried to park it on the shoulder.

MR. MONTGOMERY: I am going to object
to that as not being responsive.

QO. What is the definition of a
mechanical breakdown under the Federal Motor Carrier
Safety regulations?

A. It's a failure of the vehicle to be
able to operate safely.

Q. Is that defined under a particular

subsection?

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A. It's under definitions under 390.5?
No. 390.5 doesn't define a mechanical breakdown.
But, it does -- you can, pretty much, draw the

conclusion that a mechanical breakdown would refer
to anything that would cause the truck to not be

able to function properly in an unsafe fashion.

Q. Did you review the testimony of Mark
Follett?

A. I did.

Q. Did you, in your review of that

testimony, read the testimony where he stated that
the Kenan drivers are trained to seek a place of
safe refuge in the event of a mechanical breakdown
or failure?

A. I don't specifically recall that.
But, if he did, I didn't see anything from a
syllabus standpoint, any kind of minutes from a
meeting or anything to that effect that trained the
drivers to do that. And obviously based on the fact
that Yelverton just sat on the highway and parked
his truck on the roadway or stopped --

QO. We are talking, again, about
training.

A. I didn't see anything to support

that.

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Q. Let's go to page seven. Five
paragraphs down in the first sentence, you state “in
all likelihood, Yelverton was aware that he was
having problems with his CMV well before the crash."

Is that not inconsistent with the
testimony you have given today where you have stated
that he did know that he was having problems with
his CMV five minutes and 15 seconds before the
crash?

A. T think I pretty much have alluded to

all likelihood.

Q. We are going to go back and look at
the testimony here. You have consistently --
A. Well, I believe that he did. I

believe that he did. But, you know, giving him a
little bit of latitude for his testimony, I'm saying
in all likelihood. So, in my opinion, he did. He
did know that he had a problem.

Q. But we stated earlier that whether
the driver had an obligation or duty to pull off the
road was dependent on whether he was able to

perceive whether he had a mechanical breakdown or a

mechanical issue or not. Correct?
A. I'm sorry? I drifted on that one.
QO. We discussed earlier that the driver

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-- it is a judgment call on the part of the driver.
Whether he knew he was having a mechanical issue or
not would affect your opinion as to whether he made
the right call. Correct?

A. That is correct. Yes.

Q. Does it make a difference whether you
can testify unequivocally that he knew he was having
a mechanical problem or whether you can testify in
all likelihood, that he had a mechanical problem?
Does that make a difference?

A. I truly believe that he knew that he
was having a problem.

Q. Then why give him the latitude that
you gave him in this sentence by saying "In all
likelihood"? If that is what you know, why would
you ever egquivocate, as an expert rendering an
opinion, as to fault in an accident like this?

A. I recognize that words have meaning.
But, you know, the simple fact is that by using the
term "In all likelihood," I guess in hindsight if I
were to look back, I would say that he knew. But, I
can't sit here and specifically, without question,
say that Yelverton knew that he -- you know, because
there has to be some room for this saying in all

likelihood because he testified opposite of this.

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QO. That 1s why I am belaboring this
point a little bit. You testified today -- you said
that he knew. I have asked you time and time again
how you know. You have answered me on that
question. Now are you or are you not sort of
equivocating as to whether you can sit here today
and say what he did or did not know?

MS. RAINES: I am going to object to

that form. Asked and answered.

A. My opinion is that yeah, he did know.
All right? In the report, I put "In all likelihood"
based on the fact of his testimony. I'm saying
"In all likelihood" in my report. But, I'm telling
you here in the deposition, that it is my opinion
that he did know that there was something going on
with his truck five minutes prior. Roughly five
minutes prior.

Q. A minute and a half ago, you just
testified -- when explaining the words "In all
likelihood," you said I can't know exactly what he
knew at the time of the accident. Did you not?

A. Right. But, again, I'm going off
ETOG. And that's where I was trying to go before
with the deposition where you had asked me about

Yelverton's deposition. I said yes. But, you have

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to give me the opportunity to answer with respect to
the ETOG data.

The ETOG data demonstrates to me that
any reasonable truck driver of experience would feel
that truck failing, would know that he was having a
power failure. And based on that power failure
approximately five minutes prior to the crash, he
should have reacted accordingly as a professional
truck driver, removed his commercial motor vehicle
from the travel portion of the roadway at a minimum,
if not the exit.

Q. Moving along to page eight, again,
you a "Summation of this issue is as follows:
Yelverton knew his CMV was experiencing some degree
of engine difficulty well prior to the point of the
crash, evidence indicates as such and only a totally
disconnected driver would have no awareness of the
gravity of his situation.”

In this paragraph, you are making the
statement definitively that he did know. Correct?

A. Correct.

Q. Again, I am going to ask you what
information are you relying on to know what was
going on inside the head of Mr. Yelverton on the day

of the accident.

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MS. RAINES: Object to the form.
Asked and answered.
A. If he understands driving commercial

motor vehicles as presumably a professional driver,
there is -- even if he's only got eight hours
experience in his truck or two or three days

experience in this particular truck, he would know

that he's losing -- he is losing power. Not only is
he losing power, but the rpms. His truck, all of a
sudden -- when he's not even stepping on his

accelerator and all of a sudden the roms go shooting
through the roof just doesn't make sense. It Jumps
up 500 rpms. It spikes up -- you would know
instantly that you have a problem with your truck.
There's no question in my mind about it. So, given
the latitude of his testimony saying "In all
likelihood" prior to this, that's where I -- you
know. That's why I said "In all likelihood," based
on his testimony.

But my opinion is that he absolutely
knew. And I think that if we even go back to my
opinions, it might reflect that he knew.

I guess we'll get to that in a little
while, though.

QO. God willing.

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A. Tomorrow morning some time.
Q. In this, you have made commentary

concerning the actions and inactions and what Mr.

Yelverton knew. Correct?
A. Yes.
QO. Again, you have made no comment,

whatsoever, with respect to the actions or inactions
with respect to Ms. Hartung's operation of her
private motor vehicle.

A. Well, if I had information like an
ETOG on hers -- on her vehicle, it would be much
easier to be able to make -- you know, make an
Opinion or come up with opinions on that. But, I
don't have that. So, I'm basing it on testimony.

But, the answer is no.

Q. But you have gone to IPTM school.
Right?

A. I did.

Q. They have taught you how to make
those sort of -- do that sort of analysis?

A. They did.

QO. But you didn't in this case?

A. Well, it was -- IPTM is more of
dealing with trucks. It's dealing with trucks, not

cars.

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Q. But they teach you about perception-
reaction?
A. Yes.
Q. And they teach you about after -- let

me ask you this.

Do you know the average amount of
time it would take a private motor vehicle to make a
lane change at the speed that Ms. Hartung was going?

A. Tt's about 300 feet roughly.
Approximately 300 feet. If I'm not mistaken, I
believe it's about 300 feet. And I'm just
estimating that.

O. Did you look at -- is that consistent
with what's in the expert reports of defendants?

A. Oh. I don't know. I -- I would have
to -- let me take a look at it real guick. Under
Edwards I believe. Right?

QO. Yes.

A. 369 feet to move laterally 12 feet at
65 miles per hour.

Q. It would actually take longer than

what you said?

A. Right.
Q. More distance?
A. Yes.

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QO. SO you agree with the number Mr.
Edwards -- Dr. Edwards used in his report --
A. Approximately.
Q. Let's turn to page nine of your
report

MS. RAINES: Let's take a quick
break.
(Recess. )
Q. We are on page nine. If you look at
the top of page nine in your report, you have added

sort of a demonstrative picture here of a Ford F-250

parked on the improved shoulder. Is that correct?
A. Yes, sir.
Q. Do you remember exactly where you
parked this -- your F-250 on the highway when you

took this picture?

A. It was an approximate area of the
crash.

Q. When you say "approximate," do you
know how close it was or how far it was?

A. As I said earlier, I believe it was
maybe 10 to 15 feet either way, give or take. Just
my best estimates.

Q. You note that the F-250 is 6 feet, 4

inches in width. Correct?

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A. Yes, sir.

Q. Where you parked your F-250, is that
about where -- if a tractor trailer were to pull off
the road, where it would be parked?

A. Well, no. Because you don't -- it's
not -- it's not recommended, although you can
sometimes. But, it's not recommended to pull a

tractor trailer off on to the soft shoulder because
of a roll factor. You don't know how soft that soft
shoulder may be. If you know that it's been aired
out for a long period of time, then you might be
able to get away from it. In this particular case
here, you know the ground is frozen, so he might be
able to get away with it. Especially a cargo tank
truck you don't want to have on a soft shoulder.

Q. According to your report, if the
tractor trailer pulled off the road, you would have
wanted that tractor trailer to be to the left of the
snow area here in the picture that is in your report
on page nine?

A. Where the asphalt starts. That's
correct.

Q. What is the width of where the
asphalt starts to the fog line?

A. Approximately 11 feet.

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Q. So that is where you have done your
measurement. You haven't done it from the
embankment or the soft shoulder?

A. Right. When I measure, I do not
measure the lines. Okay? I only measure between
the lines. Because that's actually technically the
traveled portion of the roadway or the shoulder,
itself.

Q. Moving along, 5.3, again, just for

the record, the standard CMV is 102 inches in

length.
A. 102. Yes, sir.
QO. Do you know what that converts to in
feet?
A. It would be 10 feet, 12 inches.
QO. 10 feet, 12 inches would be 11 feet.
A. 12 feet is -- 102 inches divided by

12 would be 10 feet.
Q. 10 feet?
A. Right. 10 times 12 would be 120.
No. No. No. No.
That's -- I'm sorry. That's wrong.
I'm thinking 120. Actually, it's -- I usually just
go by 102.

As soon as I do this, I'm gonna say I

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knew that.

©. That's all right.

A. 8.5.

QO. The width of the tractor trailer is 8
and a half feet?

A. Right.

Q. Let's move on to "5.3. Cell phone
usage/distraction."

A. Yes, sir.

Q. First off, you make some commentary

in your report about when the Federal Motor Carrier
Safety Administration outlawed the use of cell
phones for commercial drivers. Do you know when
that date was?

A. It was January 3rd I want to say 2000
~~ hold on one second.

I believe it was January 3, 2012.

Q. It would have been after this
accident?

A. Yes, sir.

Q. Do you know if that regulation that

was passed applies to hands free cell phones?

A. It's -- it is -- it's applicable to
hands free cell phones. That's correct.
Q. So now it is illegal to operate a

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commercial motor vehicle and use any type of cell
phone at all?
A. No. You can use -- you can use a

hands free.

QO. Oh. You can?

A. Yes.

QO. Is there any reason why that is?
AY You can't dial the phone. So,

basically, essentially would be like a speed dial,
press one button, that type of operation.

Q. Is usage, in your opinion, of a hands
free cell phone less distracting than if you are
using a handheld cell phone?

A. Well, that depends. Obviously,
you're not going to have one hand on the wheel
unless you have a headset. Okay? Which headsets is
considered -- some of them would be considered hands
free provided that you're not having to dial the
number while you're driving. There's certain

provisions that fall under the cell phone law,

itself.
MR. MONTGOMERY: Off the record.
(Discussion held off the record.)
Q. We were talking about your report on

pages nine and ten basically where you have rendered

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some opinions with respect to Mr. Yelverton's cell
phone use. We were kind of talking in general
before about the difference between handheld and
hands free. I think your testimony was that in
2012, at some point after the accident, the Federal
Motor Carrier Safety Administration outlawed the use
of handheld cell phones. Is that correct?

A. Yes. I believe it was January 3,

2012 if I'm not mistaken.

QO. But you are still able to use a hands
free device. Correct?

A. That's correct.

Q. Why would the FMCSA make that

distinction in your opinion?

A. Based on research and studies done by
National Transportation Safety Board of crashes that
have occurred that were resulting from inattentive
driving as a result of cell phone usage.

Q. Would that mean that the majority of
those crashes were from handheld cell phones?

A. Well, I think that there's also a
lobby factor involved here, too, you know, with the
cell phone industry. But, you know, to completely
outlaw cell phones was not going to happen. But,

the cell phone -- the cell phone restrictions came

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in from a hands free standpoint around -- I believe
-- again, I believe it was January 3, 2012.

Q. It is your opinion, in this case,
that Mr. Yelverton's use of the phone was a
contributing factor to this accident. Correct?

A. I believe it was.

QO. Did you review Mr. Yelverton's
deposition testimony?

A. I did.

Q. Did you make a distinction as to

whether he was using a hands free or a handheld cell
phone?

A. To the best of my knowledge, he was
using a hands free.

Q. Despite knowing that he was using a
hands free, you are still of the opinion that
somehow the use of his -- him using a cell phone
contributed to this rear-end accident?

A. I do in addition to it's company
policy, as well, to not use a cell phone while
driving.

Q. Is it your testimony that if Mr.
Yelverton had not used his phone at some point --
let me ask you this question actually.

Do you know if he was on his phone at

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the time of the crash?

A. I believe that it was just -- he was
on the phone just prior to the crash. So, in other
words, in that 45 second window, some time in that
span of time I believe that he was on his cell
phone.

QO. Based on your review of the documents
in this case, do you know where he would have been
on the roadway at that point in time?

A. Coming to a coast. Coming to a coast
coming up that slight incline past 106. Just before
the impact.

Q. So he would have been past 106 at
that point in time, when he was on his cell phone?

A. Let me just take a look at his cell
phone records. Let me hunt those down.

Yes. He was on his cell phone at the
time of -- prior to what -- I would believe he was
on his cell phone prior to the exit for 106. Reason
being is that you have a phone call at 9:56 A.
Charleston, West Virginia. And he was on the phone
for three minutes. Then you have a phone call here
at 9:59 A and he was on the -- with the same phone
number. He was on the phone for another two

minutes. And then at 10:02, he was on the phone for

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one minute.
Q. What information are you using as to
where his tractor trailer was on the roadway that
allows you to draw the conclusion that he would have

been before Edens Fork exit?

A. Well, looking at the ETOG -- if you
look at the ETOG, you can see 9:59 -- 9:59. He's --
he is just seconds away from the crash, itself. So,

at that point, at the 9:59 call, he would've been
past Edens Fork. At the phone call that ensued at
9:56, that took place at 9:56, that would place him
likely very well before the exit of Edens Fork. And
he was on the phone at that point for three minutes.

Q. You didn't do any mathematical
calculations on that?

A. No. No, sir.

Logic. Looking at it from a logical

standpoint.

Q. We did an analysis earlier with 1,260
feet. Correct?

A. Correct.

Q. In that 45 minutes. That's what he

traveled. We were able to calculate that at that
point in time he was past the Edens Fork exit.

Correct?

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A. Yes.

Q. Do you think it would've been helpful
in rendering an opinion with respect to whether he
was on the phone or not contributed to this accident
as to where he was in relation to the crash when he
was on the phone?

A. I don't think that it can be -- [I
don't think that there is any mathematical formula
that can narrow that down to specifically where he
was on I77 at a given point in time of his
particular time that he was on his cell phone. I
cannot definitively say and I don't believe that
anybody can say that he was at milepost 110.2 when
that phone call -- original phone call -- for
example, that original phone call ensued and he was
on that phone conversation until milepost 108.5. I
don't think there's any mathematical formula that
you can apply to that encompassed with the ETOG and
the cell phone records. I think it's impossible.

Q. You did just that. On page 16,
paragraph 6, you state "Reginald Yelverton's cell
phone usage during critical moments caused him to
miss observation of Exit 106 likely due to
inattention blindness." You just told me you can't

do it.

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A. No. I'm just talking about specifics
as breaking it down from milepost A to milepost B,
that he was on a telephone conversation for that two
minute period. Because his cell phone records,
likewise, don't break it down into seconds. So what
I'm saying in my report is that he had -- obviously
if you take a look at three minutes, three minutes
leading up to this crash at the time of 9:56. So

that puts him on a three minute phone conversation

from 9:56 and how many ever seconds. We don't know.
All right?

QO. sure.

A. 9:56, 9:57, 9:58. All right? Then
it goes to 9:59. So he has a one minute block in

between there. And we don't know whether he picked
up that phone at 9:59:01 a.m. and hung up that phone

at 9:58 and 59 seconds.

QO. We also don't know where his tractor
trailer was on the road either. Do we?
A. As far as -- no. Specific mileage

point? No. That's what I said to you. I said we
can't do that.

But, I can make an educated look and
say that before Exit 106, he was definitely on his

cell phone. There's no question in my mind about

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that. That period in time, he was he experiencing
engine trouble. Those correlate. If you look at,

again, 9:56, for three minutes, 9:56, 9:57, 9:58,
that gives us three minutes there. So, starting at
9:15 at 15 seconds, 9:55, 45 seconds, he's
definitely experiencing engine trouble. He's
getting massive strikes with his rpms. So, he's
getting large blips in the screens on his rpms. So,
he knew there was an engine problem. So, he's now
talking to dad or somebody and saying I've got a
problem here. He comes up on Exit 106, goes past
it, on the phone again for two minutes, and then
winds up with the crash.

Q. You have to commit to a position.
You can't say that we can't tell where on the road
he was when he was on the phone but say when he was
going past 106 he was on the phone. That's what you
just did.

Can you tell where he is on the
roadway when he is on his phone? Yes or no?
MS. RAINES: Object to the form.

Asked and answered.

A. You cannot -- you cannot narrow it
down with specificity exactly where he was located.

But, we can make an educated assumption here that

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three minutes prior to the crash, we're looking at
now two minutes -- a two minute phone conversation
and a three minute phone conversation which is five
minutes. That five minutes occurred within this
span of time here. We know that about four-fifths
of a mile before the crash point was the location of
Exit 106. So, obviously, it didn't take him five
minutes to go from 106 to -- based on the speed,
from 106 to the crash location, four-fifths of a
mile. So, we know that he was much further back.
So, he's just engaged in conversation, passes by 106
and says in deposition that he never even saw the
exit. Inattention blindness.

Q. Your testimony is you can't tell
where he was on the roadway when he was on the
phone?

A. Again, with specificity, I cannot sit
here and tell you with absolute certainty that at

milepost 110.2 he made a phone call.

Q. You can say that he passed 106 then?

A. He was on the phone before he got to
106.

QO. But was he on the phone when he drove

past 106? That is the question I am asking you.

You are telling me that you can't tell with

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specificity. Therefore, I don't think you can
answer that question in the affirmative.

A. Iocan. I can.

Because if you're looking at the
phone call at 9:59, which was for two minutes, 9:59,
10, 10:01. Now the phone company, they break these
down in rounded off minutes. We don't know where
that phone conversation ended and how many seconds
such as the ETOG breaks it down for us in detail of
increments of seconds.

So, if you're looking at 9:59 A, here
we have ~~ 9:59 is right here. He's experiencing
engine trouble. He is at least well before the Exit
106.

Q. At 9:59?

A. Because at this point, he's doing 65
miles per hour. He's doing 65 miles per hour at
this particular time, at 9:58:30.

QO. How far in front of Fxit 106 was he?

A. Oh. Coming -- approaching 106.
Approaching 106. He said in testimony that he never
each saw the exit. Now a professional commercial
motor vehicle operator would be looking for
something like that if he had been focused on the

task at hand. And that's getting his truck to a

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safe refuge.
Q. Was it possible he just didn't

remember seeing the exit? This happened June 29th

of 2011. He was deposed over three years later.
A. Is it possible that --
QO. Is it possible? That is a hard

question to answer, but I am asking it.
MS. RAINES: I will object.
You can answer.
A. If -- you know, is it impossible to
recognize that if the young lady's computer is on

fire and the fire extinguisher is on the wall there?

Q. Now you are asking questions with
questions. That's completely unfair.
Let me ask you this. I really want

to be straight about this. I'm very confused by
your testimony with respect to where you can tell he
was on the road when he was on his cell phone. You
have told me that you can't say where he was
specifically but yet you have come up with an
explanation which makes no sense to me as to why you
can say he drove past 106 when he was on the phone.

A. Let me try to explain it again.

MS. RAINES: Objection to the

question. I believe it's been asked and answered,

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thoroughly explained, and a little bit of
mischaracterization.

But have at it.
A. I will try to explain it again to

you.

I will break it down into finite
detail here.

At 9:54 and 45 seconds was just prior
to him experiencing some degree of engine trouble.
Within seconds. Okay? That's 9:54 and 45 seconds.

All right?

Q. Okay.
A. Then somewhere in the time of 9:56, a
phone call occurred. Either it was inbound or

outbound. I'm not guite certain. All right? Hold
on one second here.

I don't know who he was speaking to
at this point. I think that Mr. Yelverton, Senior

had to have a different cell phone number because he

was speaking to his dad at this point -- at a later
point -- at this point, as well. But, we weren't
provided with that phone number. We were provided

with another phone number that belonged to a Chris
Adams, which really kind of confused the issue a

little bit. That call is not recorded on there.

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Tt's recorded to the (910) 514-5780.

So, again, at 9:56 a.m. was within
the threshold of time that he was experiencing
engine trouble. Okay? Because again, the engine

trouble began just shortly after 9:54 and 45

seconds. Okay?

QO. Yes.

A. Now at 9:56, he was at -- he was
traveling at approximately 50 miles per hour. His

roms were all over the place at this point in time
and they had been for a minute prior.
Q. How fast was he going?
A. He, at that point, was doing 50 miles
an hour. At 9:50. All right?
His rpms are all over the place.
Excuse me. At 9:56. 9:56.
His rpms are all the over the place.
So, he's had now -- oh, boy. Maybe about a minute
and a half, two minutes of engine problems that he
determined that obviously there was something going
on here.
Q. My question relates --
A. Let me finish. I would like to
finish with this response because I don't want to

confuse you again.

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Then at 9:59 a.m., again, we don't
have a definitive number as to seconds from that
phone call. That's from the cell phone service. At
9:59 a.m., that puts him on to his second phone
call. Whether it was inbound or outbound, I'm not
guite certain. I believe that one would be outbound
because he's making a call as testified to by him
and his dad. His dad made the original phone call
at that 9:56 or believed it was his father.

Then at 9:59, his speed 1s -- again,
after fluctuating substantially throughout that
period of time, his speed is at 55 miles an hour
and, again, his rpms are all over the chart, which
is not normal for a commercial motor vehicle. And
an experienced driver would feel that, whether he
was driving his truck or driving a substitute truck
for only a day. He would he feel that. He would
know it. All right? That's at 9:59. Now that

phone call takes place for two minutes.

The crash occurred -- we can agree
that the crash occurred at approximately 10 -- it
would be about 10 -- bear with me a second. About

10:40. 10.00.40. That puts him in to that phone
call. At 9:59, that would put him in to that phone

call. Because that phone call now is for two

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minutes. So, it's 9:59, 10, 10:01. So if you take
that time and you look at that compared to the ETOG,
that puts him right in the crash. So, in all
likelihood, he was actually on his phone at the time
of the crash.

Q. That's not the question.

A. That definitely -- the question is
would that put him past the exit of Edens Fork. By
example of everything I just laid out, it certainly
would put him past the exit because it occurred
after Edens Fork.

Q. He had already past Edens Fork when
he was on his phone?

A. Yes.

But, no. He was -- he was on his
phone prior to that with his first conversation that
began at 9:56, which lasted three minutes.

Q. Okay. Again, how can you determine,
with specificity, that he was on his phone when he
drove past the exit? That is one of the opinions
that you rendered in your report. JI don't think you
can.

A. 9:56 -- again, 9:56, 9:57, 9:58. The
next call is 9:59, 10 o'clock. That's five minutes

of almost solid conversation here because you have

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9:56 for the first call is three minutes. Second
call is 9:59 with two minutes. That's a total of
five minutes. So, he loses the call -- you lose the
call with somebody. I'm not gonna ask the question
but I'll say that if I lose a call with my wife, I
hit resend immediately. "Hey, I lost the call."
It's not let's wait two, three minutes. That's
demonstrated by this report right here from the
phone company.

Q. You did an analysis of the ETOG data.

You have relied on that analysis to determine

certain distances that he traveled. Correct?

A. Yes.

Q. Did you ever determine how far, based
on the ETOG -- how long from the ETOG data -- how

much time elapsed from the point he passed 106 to
the accident location? Did you ever do that
calculation?

A. I'm sorry. Repeat that one more
time.

O. Did you ever calculate how much time
elapsed between when Mr. Yelverton passed 106 to
when the accident happened?

A. No.

Q. Let's go to page nine. If I'm

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1 looking at the last paragraph, which spills on to

2 the next page, it says "Perhaps Yelverton was not

3 properly trained with respect to cell phone usage."
4 I am just trying to -- what is your
5 opinion in this matter? To me, that sort of seems
6 like you are equivocating there.

7 MS. RAINES: Object to the form. I

8 think I am confused by it.

9 Go ahead.
10 A. Not a -- I don't believe so. I mean,
11 it's -- I'm saying that Yelverton, you know, perhaps
12 he was -- he's not clear on the cell phone policy.

13 And he should've been taught as such by his father

14 slash coach about the cell phone policy.

15 Q. Perhaps. What does the word
16 "nerhaps” mean to you?
17 MS. RAINES: Object to the form.

18 It's argumentative. Hypothetical.

19 A. I -- it's -- in my opinion, his

20 father did lead him down the wrong road. So, it's
21 not a perhaps. It's an actual. His father taught
22 him incorrectly.

23 Q. That is not what you put in the

24 report. That's why I'm asking the questions.

25 A. Okay. Fair enough.

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Q. Moving along. 5.5. We have already
kind of covered the comments with respect to Mr.
Yelverton's credibility. We can move past that.

Look at page 14. I found this
particular excerpt to be interesting. You note here
that "Based on the plethora of CMV crashes
investigated by the NTSB, then NTSB Chairwoman
Hersman stated the following regarding "professional
drivers" on July 12, 2010."

I will read the italics. "Truck
drivers are held to a higher standard than the
average driver and need to address issues
accordingly. In addition, they are professional
drivers and the standard of care and the level of

expectations for them and their performance are

higher."
First of all, who is Chairwoman
Hersman?
A. Then Chairwoman of the NTSB.
QO. Where did she make this statement?
A. It was National -- excuse me.

Transport Topics Magazine, which you may be familiar
with from American Trucking Association. It was in
a conference and they printed it.

QO. So this was a statement that she made

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during a speech?
A. That's correct.
Q. To your knowledge, has this been
codified into law in any way, shape, or form?
A. No. No.
Q. To your knowledge, you have rendered

Opinions with respect to Mr. Yelverton's driving in
the State of West Virginia, is there any case law or
any legislation in the State of West Virginia that
holds commercial motor vehicle drivers to a higher
standard of care than someone driving a private
motor vehicle?

MS. RAINES: Object to the form and
to the point that it is a legal conclusion.

A. No. Well, I think that based on the
fact that a commercial motor vehicle driver has to
go for an additional driver's license, CDL, and so
forth, is required to understand, under 390.3, the
entire Federal Motor Carrier Safety regulations,
that they need to have a better understanding of the
fact that they're driving an 80,000 pound -- now
that's whether on plaintiff or defense. I recognize
that a commercial motor vehicle operator does have a
higher degree of standard of care.

Q. Can you point to any case law or any

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statute that says -- we are talking specifically
about standard of care. That they are held to a
higher standard of care?
MS. RAINES: Object to the form.
Asked and answered.
A. I'm just -- I am reciting Secretary

Hersman's --

QO. But that is not a law.

A. No. Of course it's not a law.
Q. Do you know of any Law?

A. No.

But, again, it as a standard of care
that I see as a standard that is out there based on
the fact of driver training that's required, et
cetera. A car -- person driving a car can come in
from the country of India and have a driver's
license in about a week. You take that same person
and he's gonna have to go through a much more
in-depth training program in order to be able to

drive a commercial motor vehicle.

Q. I did it again. Didn't I?
"7,0. Nexus of Kenan Advantage Group
companies." Why did you render an opinion with

regard to the interrelationship between Kenan and

Advantage Tank Lines?

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A. It was just something I saw on some
documents that I felt were kind of -- they were --
some of the training documents and so forth. I
believe they're training. Where above on the driver
qualification, they have various companies rather
than individual, independent.

Now, I'm a former CEO of a nationwide
company and I would make sure that we kept
separation of the companies -- they're two companies
actually. We kept separations of our corporations.
So, it was HMHTTC Response Incorporated and SL
Turner & Son Waste Transport. We kept them
independent of each other where we had employees for
the trucking operation, we had employees for the
response company. And we tried at our best, not to
comingle training or anything like that because
there are two separate entities and we don't want to
have any kind of bleed over in the event of a
problem.

So, I noticed in the documents
provided by -- through discovery that there were --
almost seemed to me to be inseparable in addition
to, you know -- it didn't seem like a real extensive
lease agreement either.

Q. Did you look at any information,

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outside of what was provided to you by counsel, in
rendering your opinion with regard to the nexus in
7.0?

MS. RAINES: Your question is other
than what is listed?

MR. MONTGOMERY: Yes.

A. Other than what's been provided? No.

I haven't looked outside of that.

Q. We are now on 8.0. We may be able to
fast track through this. We probably talked about
most of it --

A. Most of it.
Q. -- as we went through the report.
Paragraph one, again, the words
"contributing factors to the crash." Contributing
factors. It is your opinion that there was a number
of different contributing factors to this crash.
A. No.
I always use terminology
"contributing factors." A contributing factor would
be things like Yelverton failing to pull his vehicle
to the roadside. You know. Yelverton failing to
pull his vehicle off Exit 106. So, there is a
number of them.

But, to answer your question, yes.

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1 Q. Again, Ms. Hartung's inability to
2 perceive and react to the tractor trailer in front
3 of her, in your opinion, is not a contributing
4 factor to the crash?
5 A. I believe that there is a -- it is a
6 much lesser contributing factor than the factors of
7 Yelverton parking his truck, for all intent and
8 purposes, on Interstate 77.
9 Q. So her actions were a contributing
10 factor, but a lesser contributing factor?
11 A. To a much, much lesser extent.
12 MS. RAINES: Object to the form.
13 Q. So you are admitting that she did
14 something wrong?
15 MS. RAINES: Object to the form.
16 Mischaracterization of testimony.
17 A. I don't know for a fact that she did.
18 She had a collision with the vehicle.
19 Right? She had a collision with the vehicle. So --
20 with the vehicle that was parked in front of her.
21 Now looking at it from that standpoint, I don't
22 think that she was -- that she was contributing -- a
23 contributing factor. The -- as she's approaching
24 that vehicle, could she have cut off to the left a
25 little bit quicker? I don't know for certain. But,

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that, in my mind, may have been a slight
contributing factor.
Q. I will just take that.

Number two, second paragraph,
"Yelverton's failure to comply with FMCSR and the
standard of care were contributing factors to the
crash that occurred."

What do you mean when you say
"standards of care"? That is kind of a legal term.
I am asking what you mean when you put that in that
report.

A. Well, parking a truck on a highway --
an interstate highway. There's -- I don't think
that there's anything out there that specifically
says that because nobody can imagine that somebody
would actually park their truck on a highway. A

professional truck driver would take the truck off

the road surface. Off the travel portion of the
highway.

Q. Again, the words "contributing
factors." So there is more than one factor?

A. Yes.

Q. What is your understanding of what

inattention blindness is? Let me back it up.

You have attached, as an exhibit to

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your report, the "National Safety Council
understanding the distracted brain." What was the
purpose of attaching this to your report?

A. Well, it's -- I relied on it pretty

heavily in that Yelverton, in spite of his company
policy of not using his cell phone while operating
his truck and him testifying that he doesn't use his
cell phone while driving his truck, uses his cell
phone regardless. The distracted brain white paper
is discussing not necessarily phone usage, but hands
free cell phone usage and why it's so dangerous.
And it causes a state of inattention blindness.

oO. I am asking, what is inattention
blindness?

A. Where you get focused on one thing.
You're focusing on -- you can't multitask. The old
multitasking thing. All right? Where you're --
inattention blindness is where you're paying

attention to one thing and missing the other things

around you. It's the most simplistic way of
explaining it. So, you're focusing -- you can only
really focus on one thing. But, you're focusing

your attention on that, where you're missing other
things that may be going on that are important to

that environment. That's the reason that you have

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~~ drivers are supposed to scan the road and things

like that.
Q. All drivers are supposed to scan the
road?
Yes?
A. Commercial motor vehicle drivers are

trained in the Smith System to make sure that they
scan the road.

Q. Does a driver of a private motor
vehicle also have an obligation to scan the road and
pay attention?

A. Right. All drivers.
O. Right. That is what I was asking.
You have no information or haven't
formed any opinion that Mr. Yelverton knew that this
accident was going to happen. Correct?
MS. RAINES: Object to the form of

the question.

A. At what point in time?
Q. Does it make a difference?
A. I mean, did he wake up in the morning

and say I'm gonna get into a crash today? I don't
think that happened.
QO. When he was driving his tractor

trailer.

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A. Well, just seconds before, he had
said to his father, apparently on the cell phone,
that I'm about to get hit, or this lady's gonna plow
into me, or something to that effect. So, in terms

of him knowing he was going to be involved ina

crash, yes. That's why I asked for a definition of
time.

QO. How long, before he was struck in the
rear, to your recollection, was it before -- when he

said that to when he was actually struck?
A. I believe it was just seconds.
MR. MONTGOMERY: Let's take a break.
(Recess.)

QO. Have you ever reviewed or, in your
Capacity as an expert, looked at the passenger
vehicle driver's manual?

A. I have. But, not, you know, with any
-- I've never really opined on it in any way.

Q. You talk about logic and commonsense
when coming to certain conclusions and opinions you
have rendered in this case. Whether or not you
have, you know, verbatim memory of it I don't think
matters for this next series of questions. You are
familiar with it and you are familiar with the

obligations and duties of a driver of a passenger of

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a motor vehicle. Yes or no?

A. Yes.

Q. Is it your understanding that a
driver of a passenger motor vehicle has a duty to
control themselves and their vehicles?

MS. RAINES: Object to the form and
legal conclusion.

A. They do.

Q. And they have a duty to be alert and
be ready to respond to traffic around them?

A. They do.

Q. Is it your opinion in this case that
Ms. Hartung was alert and ready to respond to the
traffic around her?

MS. RAINES: Object to the form.

A. Well, I know that she attempted an
evasive maneuver. Whether she had enough time to
get around that vehicle, obviously that didn't
occur. But, she attempted an evasive maneuver,
which tells me that she was at least somewhat aware
of what was going on. She was aware of what was
going on. Other than that, it would've been just a
dead-on rear impact.

oO. When she would have reacted, it

would've been too late. Correct?

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MS. RAINES: Object to the form.

O. Or she would have avoided the
accident.

A. Yeah. Well, you're closing speed at
65 miles an hour then seeing that -- observing that
at 500 -- roughly 400 to 500 feet and needing 300 --

about 300 feet to make the lane change, that's where
I think that -- you know. Did she get her lane
change quick enough? Apparently not. Did she
attempt that lane change? You know, maybe she's not
as quick and as confident in making that quick
emergency maneuver lane change as other folks might
be, like myself.

QO. Again, when you use 500 feet, that is
an accepted numerical figure with respect to when

she should have perceived that there was a problem.

Right?
MS. RAINES: Object to form.
A. At the testified to speeds.
Q. 1.5 perception-reaction time, that's

also an accepted numerical figure with respect to
perception-reaction time, also. Correct?
MS. RAINES: Same objection.
A. One says 1.5, one says 1.6. But, I

go by 1.5.

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QO. What is that based on? Is that the
average response time?
A. It is.
Q. Does the driver of a private motor

vehicle have an obligation to look ahead and scan?
MS. RAINES: Object to the form.
A. Yes.

Q. Do they have an obligation or duty to
look ahead and scan the road for vehicles that may
be in the road by the time you reach them?

MS. RAINES: Same objection.
A. Yes.

Q. Do they have an obligation to look

ahead for signs warning of danger?
A. They do.

Q. Do they have an obligation to look
ahead for traffic conditions that may require speed
reduction, breaking, or stopping?

MS. RAINES: Same objection.
A. They do.

Q. Does a driver of a private motor
vehicle have an obligation to keep a cushion of
space around the vehicle?

A. They're not trained as such. I mean,

there's no training, to the best of my knowledge,

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like a commercial motor vehicle driver is about -- I
don't believe that there's any space cushion
training, if you will.
Q. But does the manual say that they
should?
A. Yes.
MS. RAINES: Object to the form.
When you say "manual," so I'm clear,

are you referring specifically to Ms. Hartung's
manual or --

MR. MONTGOMERY: No. Driver's

manual. He knows what I'm talking about.

A. State of West Virginia Driver's
Manual.

QO. Does that also state to the driver of

a private motor vehicle that the only way to be sure
that they will have enough time to react is to leave
plenty of space between your vehicle and the

vehicles around you?

A. Yes.
QO. And that the key to anticipate what
could -- the key is to anticipate what could happen

and to be able to stop in time?
A. Yeah. But, this is not a tailgating

issue. That's referring to tailgating somebody.

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Q. Have you ever heard of the four
second rule?
A. I have.
Q. What does the four second rule say?
A. Following distance from a fixed
object.
QO. Does that rule also say that a driver

should constantly try and maintain their vehicle's
position so that no matter what may occur while
driving, a four second interval with respect to time
and distance would give the driver an opportunity to
avoid a potentially dangerous situation?

A. If she had a vehicle that was
traveling 65 miles in front of her or 55 miles an
hour or something to that effect, I would agree.
Yes.

MR. MONTGOMERY: Off the record.
(Recess. )

Q. Mr. Turner, have you ever been
certified to testify as an expert in any Federal
Court in the United States?

A. I know that State Court and Federal.
I'm not sure which was which. But, I'm not a
hundred percent certain.

QO. Have you ever been certified to

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1 testify as an expert in state court?

2 A. Yes.

3 QO. When I say "certified," I mean

4 somebody challenged your qualifications and

5 credentials and a judge ruled that you were

6 certified to testify as an expert.

7 A. Yes. Yes.

8 QO. You have?

9 A. Yes.
10 Q. How many times?

11 A. My reports have a tendency to keep me

12 out of trial. So, I think it's only been three

13 times if I'm not mistaken.

14 QO. So you have been certified as an

15 expert in three separate courts and you are not sure
16 whether that was in state or federal?

17 A. Yeah. I know that one was out in

18 Allegheny County. I believe it was Allegheny

19 County, itself.

20 Q. That would be in Pittsburgh?

21 A. Yes, Sir.

22 But, that was -- there was a truck
23 explosion in a terminal. Loading rack.

24 The other two, I'm not certain if

25 they were federal or state. I just don't recall. I

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can find out, though.
Q. Who did you testify for in Allegheny
County? Do you remember the lawyer?

A. Sure. It was -- do you have that

list by chance? That's easy enough.
QO. Here it is.
A. Yeah. It was completely nonrelevant,
though, to this type matter here.
Wendy O'Connor.
Q. Do you know what law firm she is
with?

A. No, I don't. She's -- the firm that
she was with at that point, she's trans -- she's
moved on to another firm now.

Q. In what capacity were you certified
as an expert?

A. At a loading rack. There was a
explosion. A tank explosion. And a guy got
injured. So, essentially, it was a loading rack
explosion on a cargo tank truck.

Q. You obviously weren't testifying as
an accident reconstructionist.

A. No. No. It's commercial motor
vehicie slash hazmat expert.

Q. On the other two occasions, do you

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1 remember what, specifically, you testified about?

2 A. I -- no. I -- I don't remember

3 specifically what they were. I could find out.

4 QO. Have you ever been certified to

5 testify in any court as an accident

6 reconstructionist?

7 MS. RAINES: Object to the form. It
8 is a legal term.

9 You can answer if you know.
10 A. No. I don't believe so.
11 Q. Other than this commercial motor
12 vehicle/hazmat expert testimony that you have given,
13 you don't remember in what capacity you were

14 certified in the other two courts?

15 A. No.
16 But, you know -- oh. There was one
17 up in Boston, too as a matter of fact. There's one
18 up in Boston. Again, I'm not sure if that was

19 federal or not. I just don't recall. And that was
20 dealing with off tracking. An off tracking related
21 matter.
22 O. Did you do a reconstruction?
23 A. No.
24 Q. You didn't testify in that case as an
25 accident reconstructionist?

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1 A. No.

2 Q. Just so I am clear, none of those

3 three occasions wherein you were certified to

4 testify in court were you -- did you do a

5 reconstruction in any of those cases?

6 A. No, sir.

7 QO. You didn't testify as an accident

8 reconstructionist in any of those cases?

9 A. No.
10 Q. Looking at your report, I apologize

11 if you put it away, page 14, you note that you
12 inspected the site extensively at the point of the

13 crash to the point of Exit 111, approximately six

14 miles preceding the approximate crash location. You
15 state that you observed in excess of 20 commercial
16 motor vehicles traveling in the southbound

17 direction. Then you gave some sort of commentary on

18 the speed of those motor vehicles. What was the

19 purpose of doing that?

20 A. It was at the point of the estimated
21 crash -- the approximate crash area. And just

22 watching these commercial motor vehicles going up

23 that hill, none of them were going down where

24 Yelverton was trying to say that the reason that his
25 truck was cutting back to 5 to 10 mile an hour was

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because of lagging and as well as the experts. I
think it was Rickard said the same thing. It was
because of climbing a mountain.
QO. This was a six mile area. Correct?
A. Yes.
Q. And in the six miles prior to the

accident, based on the ETOG data, you testified

today that Mr. Yelverton was going 45 miles per hour

at some point in time. Correct?
A. Right. Yep.
Q. And you use 50 miles per hour as the

cut off with regard to your perception or your best
guess as to how fast those vehicles were going.
Correct?

A. It was plus or minus 50 miles per
hour.

QO. But you do admit that you didn't use
radar. Right?

A. No, sir. I mean, it's just from, you
know, however many years I've been driving. It's
been considerable -- I'm 52 years old. I've been
driving since I was 17. So --

Q. And you also note that you have no
training in determining a CMV speed by visual

observation?

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A. No.

Q. When you use 50 miles an hour as a
cut off, is that what you would consider to be a
safe speed in that area?

MS. RAINES: Object to form.

A. No. It wasn't for that purpose. I
wasn't demonstrating the 50 miles per hour for that
purpose. I was demonstrating that 50 miles per hour
in showing that the commercial motor vehicle
involved in this crash, Yelverton's truck, was not
hindered by a mountain, the reason that he was doing
only 5 to 10 miles per hour, as he stated.

Q. You specifically refer to 20 motor
vehicles. Did you record any data or take any notes
with regard to those 20 commercial motor vehicles
you observed?

A. What? Like, license plate numbers

and stuff like that?

QO. The type of truck.

A. No. No.

Q. What they were hauling?

A. They were 80,000 -- looking at them

as they're going by, they all look to be 80,000
GBWR, gross vehicle weight rating, registered as

80,000. They're all 18 wheelers that I included

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into this count. This approximate 20.
Q. Do you know if they were loaded?
Empty?
A. No. I would -- I would think --

knowing the driving industry, very few trucks going
down a road are driving around empty because
deadhead miles don't get you any revenue. So,
you're looking at out of those 20 trucks, I'll
guarantee you that 15 of them -- at least 15 of them
were loaded.

Now if you're in an industrial area,
you may have trucks that are empty going from one
location to the other. But, you're out on an
interstate heading into Charleston. Highly unlikely
somebody's gonna send a truck 150, 200 miles empty.

QO. There's no hard data or information
upon which you are relying to state, as we are
sitting here today, that those were all loaded
vehicles?

A. No. No. I would doubt very, very
highly that they were all empty, though.

Q. Upon that, you are basing Mr.
Yelverton's tractor trailer should have been able to
travel 50 miles per hour up that hill?

A. Oh. Easy. Yes, sir.

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At that point, as he goes further up
that hill, though, he might lag down a little bit
more. But, at that point where the crash occurred,
he should've been able to accomplish at least 50

miles per hour.

Q. Based on your visual observation --

A. That's correct.

QO. ~- of those 20 commercial motor
vehicles?

A. And experience.

©. Did you look at the documents when

you were formulating your opinions as to what Mr.
Yelverton was loaded with at the time of the
accident?

A. I -- if I'm not mistaken, it was
liquid asphalt, which is an HOT load. Hot load.
Elevated temperature material.

Q. Do you know how many pounds or did it
matter in your analysis?

A. No. Of course it would -- it would
-- if it were empty, it would certainly be a factor.
But, they -- they run these tanks full. They're not
going to run them half full or something like that
on a long trip that he's taking with this liquid

asphalt. So, if I'm not mistaken, he would have a

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1 full load on, which would put him close to that
2 80,000 mark.
3 Q. That is all the questions that I

4 have.

6 BY MS. RAINES:

7 Q. Just very briefly, you have given the
8 opinions that you hold in this case based upon the
9 information that you have been provided presently.

10 Ts that correct?

il A. That's correct.

12 Q. If, after your deposition today, you
13 formulate any additional opinions, I do ask that you
14 would provide them to me and thus I can provide them
15 to defense counsel. Is that fair?

16 A. Of course.

17 (Deposition concluded at 4:14 p.m.)
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CERTIFICATE

I HEREBY CERTIFY that the witness
was duly sworn by me and that the deposition is a

true record of the testimony given by the witness.

GINA A. FAROLDI, CCR
CCR License No. 30X1I00179800

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